 Fill in this information to identify the case:

 Debtor name            Pleasanton Fitness, LLC

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)               19-41949
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $        6,629,812.95

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        6,629,812.95


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $        4,335,546.14


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $          401,458.75

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$      11,836,404.38


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        16,573,409.27




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                                           Best Case Bankruptcy
               Case: 19-41949                             Doc# 54                  Filed: 09/19/19 Entered: 09/19/19 21:33:53                                                           Page 1 of
                                                                                               194
 Fill in this information to identify the case:

 Debtor name          Pleasanton Fitness, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)         19-41949
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest
 2.         Cash on hand                                                                                                                                    $0.00



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number
                     Bridge Bank, a division of Western
                     Alliance Bank
                     1951 Webster Street
                     Oakland, CA 94612
            3.1.     ($125,064.21)                                          Operating Account                1842                                           $0.00


                     Bridge Bank, a division of Western
                     Alliance Bank
                     1951 Webster Street
            3.2.     Oakland, CA 94612                                      Payroll Account                  7602                                  $17,672.49



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                    $17,672.49
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
              Case: 19-41949                    Doc# 54              Filed: 09/19/19 Entered: 09/19/19 21:33:53                         Page 2 of
                                                                                 194
 Debtor            Pleasanton Fitness, LLC                                                     Case number (If known) 19-41949
                   Name




            7.1.     Deposit - Sheila Ortloff                                                                                              $12,830.00




            7.2.     Security Deposits                                                                                                    $252,113.92



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


 9.         Total of Part 2.                                                                                                          $264,943.92
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                           116,015.27   -                          11,516.03 = ....                  $104,499.24
                                              face amount                        doubtful or uncollectible accounts




            11b. Over 90 days old:                              356,661.96   -                       174,598.98 =....                     $182,062.98
                                              face amount                        doubtful or uncollectible accounts



 12.        Total of Part 3.                                                                                                          $286,562.22
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:           Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.
                                                                                                        Valuation method used    Current value of
                                                                                                        for current value        debtor's interest

 14.        Mutual funds or publicly traded stocks not included in Part 1
            Name of fund or stock:

 15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
            partnership, or joint venture
            Name of entity:                                               % of ownership


            15.1.     OM Fitness LLC                                                100         %       N/A                                  Unknown



 16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
            Describe:

 17.        Total of Part 4.                                                                                                                  $0.00
            Add lines 14 through 16. Copy the total to line 83.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
              Case: 19-41949                    Doc# 54              Filed: 09/19/19 Entered: 09/19/19 21:33:53                  Page 3 of
                                                                                 194
 Debtor         Pleasanton Fitness, LLC                                                       Case number (If known) 19-41949
                Name

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Furniture and Fitness Equipment (Owned and
           Leased)
           Atwater Furniture and Equipment
           See Exhibit "A" attached hereto for reference.                            $200,000.00                                         $200,000.00


           Fitness Equipment (Owned and Leased)
           Brentwood Equipment                                                        $65,000.00                                          $65,000.00


           Fitness Equipment (Owned and Leased)
           Dale Road Equipment                                                       $167,732.95                                         $167,732.95


           Fitness Equipment (Owned and Leased)
           Dinuba Equipment                                                          $200,000.00                                         $200,000.00


           Furniture and Fitness Equipment (Owned and
           Leased)
           Dixon                                                                      $48,000.00                                          $48,000.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
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                                                                                 194
 Debtor         Pleasanton Fitness, LLC                                                      Case number (If known) 19-41949
                Name



           Furniture and Fitness Equipment (Owned and
           Leased)
           Fairfield                                                                  $75,000.00                                       $75,000.00


           Furniture and Fitness Equipment (Owned and
           Leased)
           Herndon                                                                   $200,000.00                                     $200,000.00


           Fitness Equipment (Owned and Leased)
           Hex Tanning Beds                                                             $1,500.00                                        $1,500.00


           Fitness Equipment (Owned and Leased)
           Hydromassage                                                               $35,000.00                                       $35,000.00


           Fitness Equipment (Owned and Leased)
           Johnson Healthtech                                                         $55,000.00                                       $55,000.00


           Fitness Equipment (Owned and Leased)
           Manteca Equipment                                                         $200,000.00                                     $200,000.00


           Fitness Equipment (Owned and Leased)
           McHenry Equipment                                                          $42,000.00                                       $42,000.00


           Fitness Equipment (Owned and Leased)
           Salinas Equipment                                                          $47,106.50                                       $47,106.50


           Furniture and Fitness Equipment (Owned and
           Leased)
           San Jose - Hamilton (Willow)                                              $120,000.00                                     $120,000.00


           Furniture and Fitness Equipment (Owned and
           Leased)
           San Jose (Meridian)                                                       $200,000.00                                     $200,000.00


           Fitness Equipment (Owned and Leased)
           Selma Equipment                                                           $150,000.00                                     $150,000.00


           Furniture and Fitness Equipment (Owned and
           Leased)
           Tracy Furniture and Equipment                                             $150,000.00                                     $150,000.00


           Furniture and Fitness Equipment (Owned and
           Leased)
           Tulare                                                                     $35,000.00                                       $35,000.00


           Furniture and Fitness Equipment (Owned and
           Leased)
           Watsonville Furniture and Equipment                                       $100,000.00                                     $100,000.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
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 Debtor         Pleasanton Fitness, LLC                                                       Case number (If known) 19-41949
                Name



 51.        Total of Part 8.                                                                                                       $2,091,339.45
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes
 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            www.fitrepublic.com; www.citizenoffit.com                                       $0.00    N/A                                    Unknown



 62.        Licenses, franchises, and royalties
            City of Atwater, CA - Business License
            Business Name: Pleasanton Fitness, LLC; Fit
            Republic
            Account No. 418408
            Expiration: June 30, 2019                                                       $0.00                                           Unknown


            City of Brentwood CA - Business License
            Business Name: Pleasanton Fitness LLC dba
            Fit Republic
            License No. 031477
            Description: Health Club
            Expiration: September 30, 2019                                                  $0.00                                           Unknown


            City of Dinuba, California - Business License
            Business Name: Fit Republic
            License No. 1532
            Description: Health Club
            Expiration: June 30, 2020                                                       $0.00                                           Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
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 Debtor         Pleasanton Fitness, LLC                                                      Case number (If known) 19-41949
                Name

           City of Dixon, California - Business License
           Business Name: Pleasanton Fitness LLC
           License No. 5224
           Description: Health Club
           Expiration: December 31, 2019                                                    $0.00                                        Unknown


           City of Fairfield, California - Business License
           Business Name: Fit Republic
           License No. 16000031
           Description: Health Club
           Expiration: December 31, 2019                                                    $0.00                                        Unknown


           City of Fresno, California - Business License
           Business Name: Fit Republic; Pleasanton
           Fitness LLC
           License No. 423511
           Description: Health Club
           Expiration: September 30, 2019                                                   $0.00                                        Unknown


           City of Manteca, California - Business License
           Business Name: Pleasanton Fitness dba
           Fitness Evolution
           License No. 300571
           Description: Health Club
           Expiration: June 30, 2019                                                        $0.00                                        Unknown


           City of Modesto, California - Business License
           Business Name: Pleasanton Fitness LLC
           License No. 1291784
           Description: Health Studio/Gym
           Expiration: June 30, 2020                                                        $0.00                                        Unknown


           City of San Jose, California - Business License
           Business Name: Pleasanton Fitness LLC; Fit
           Republic
           License No. 9048292060
           Description: Fitness/Recreational Sports
           Centers
           Expiration: January 15, 2020                                                     $0.00                                        Unknown


           City of San Jose, California - Business License
           Business Name: Pleasanton Fitness LLC;
           Fitness Evolution
           License No. 0139532901
           Description: All Other Personal Services
           Expiration: April 15, 2019                                                       $0.00                                        Unknown


           City of Selma, California - Business License
           Issued to: Pleasanton Fitness LLC dba Fit
           Republic
           License No. 6727
           Description: Health/Fitness Club
           Expiration: December 31, 2019                                                    $0.00                                        Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
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 Debtor         Pleasanton Fitness, LLC                                                      Case number (If known) 19-41949
                Name

           City of Tracy, California - Business License
           Business Name: Fit Republic
           License No. 06013200
           Description: Fitness Facility
           Expiration: June 30, 2020                                                        $0.00                                        Unknown


           City of Tulare, California - Business License
           Business Name: Pleasanton Fitness, LLC
           License No. BL 24040
           Expiration: December 31, 2019                                                    $0.00                                        Unknown


           City of Watsonville, California - Business
           License
           Business Name: Fit Republic
           NAICS Code: 713940
           Expiration: June 30, 2020                                                        $0.00                                        Unknown


           California Department of Tax and Fee
           Administration
           Seller's Permit
           Account No. 101693488-ending as designated
           below
           Fit Republic, Pleasanton Fitness, LLC
           (1. 2012 McHenry Ave., Modesto, CA (00021);
           2. 180 E. Cross Ave., Tulare, CA (00017); 3.
           1335 Gateway Blvd., Fairfield, CA (00033); 4.
           2490 Sand Creek Rd., Brentwood, CA (00007);
           5. 6735 N. 1st St., Fresno, CA (00019); 6. 25
           Penny Lane, Watsonville, CA (00026); 7. 101 E.
           Vineyard Ave., Ste. 201, Livermore, CA
           (00048); 8. 3055 Meridian Ave., San Jose, CA
           (00032); 9. 1025 N. Adams, Dixon, CA (00036);
           10. 1570 Hamilton Ave., San Jose, CA (00052);
           11. 2851 Whitson St., Selma, CA (00054); 12.
           4120 Dale Rd., Ste. G, Modesto, CA (00060); 13.
           3150 Naglee Rd., Tracy, CA (00059); 14. 934
           Perimeter Dr., Manteca, CA (00050); 15. 2270 E.
           El Monte Way, Dinuba, CA (00061).                                                $0.00                                        Unknown



 63.       Customer lists, mailing lists, or other compilations

 64.       Other intangibles, or intellectual property
           Bally Club Purchase                                                              $0.00                                              $0.00



 65.       Goodwill

 66.       Total of Part 10.                                                                                                                $0.00
           Add lines 60 through 65. Copy the total to line 89.

 67.       Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
 68.       Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
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                                                                                 194
 Debtor         Pleasanton Fitness, LLC                                                        Case number (If known) 19-41949
                Name



 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                                     Current value of
                                                                                                                                     debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
            Thrive Business Development                                       425,000.00 -                                  0.00 =
            Note Receivable - Asset Purchase                            Total face amount    doubtful or uncollectible amount
            (Original Principal Amount:
            $425,000.00) Total Balance Owed:
            $425,000.00
            Co-Owner: Christopher Montoya                                                                                                     $425,000.00


            Thrive Business Development                                       350,000.00 -                                  0.00 =
            Note Receivable - Asset Purchase                            Total face amount    doubtful or uncollectible amount
            (Original Principal Amount:
            $350,000.00) Total Balance Owed:
            $350,000.00
            Co-Owner: Christopher Montoya                                                                                                     $350,000.00


            Jeffrey and April Helm                                            623,567.25 -                                  0.00 =
            Note Receivable - Asset Purchase                            Total face amount    doubtful or uncollectible amount
            (Original Principal Amount:
            $950,000.00) Total Balance Owed:
            $623,567.25                                                                                                                       $623,567.25


            Paul and Vanessa Rubio                                            549,511.13 -                                  0.00 =
            Note Receivable - Asset Purchase                            Total face amount    doubtful or uncollectible amount
            (Original Principal Amount:
            $635,350.00) Total Balance Owed:
            $549,511.13                                                                                                                       $549,511.13


            Notes Receivable - Club Sales                                   2,016,216.49 -                                  0.00 =
            Martinez-Rubio Purchase Loan                                Total face amount    doubtful or uncollectible amount
            ($549,511.13); Montoya - 4 Stores
            ($423,000.00); RedBluff/Wood-Helm
            Purch Loan ($694,705.36);
            Thrive(Montoya); Gilroy ($349,000.00)                                                                                           $2,016,216.49



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 8
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
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                                                                                 194
 Debtor         Pleasanton Fitness, LLC                                                      Case number (If known) 19-41949
                Name

           Commercial General Liability
           Policy No. ZHFD46104501
           Effective: 12/29/2018 - 12/29/2019
           Each Occurrence $1,000,000; Damage to Rented
           Premises (Each Occurrence) $1,000,000; MED EXP (Any
           One Person) $1,000; Personal & Adv Injury $1,000,000;
           General Aggregate $2,000,000; Products - Comp/Op Agg
           $2,000,000; Ebl Aggregate $2,000,000

           Automobile Liability
           Policy No. ZHFD46104501
           Effective: 12/29/2018 - 12/29/2019
           Combined Single Limit (each accident) $1,000,000

           Umbrella Liability
           Policy No. UHFD46104701
           Effective: 12/29/2018 - 12/29/2019
           Each Occurrence: $9,000,000; Aggregate $9,000,000

           Workers Compensation and Employers' Liability
           Policy No. WSA503614902
           Effective: 3/15/2019 - 3/15/2020
           E.L. Each Accident: $1,000,000; E.L. Disease - Ea
           Employee $1,000,000; E.L. Disease - Policy Limit
           $1,000,000

           Directors & Officers and Employment Practices
           Policy No.: PHF1800256
           Effective: 9/23/2018 - 9/23/2019
           Each Occurrence: $1,000,000

           Producer: HUB International Insurance Services Inc.
           548 W Cromwell Avenue, Suite 101
           Fresno, CA 93711

           Insurer A: Hanover Insurance Company
           Insurer B: Insurance Company of the West
           Insurer C: Freedom Specialty Insurance Company                                                                             Unknown



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims
           Pleasanton Fitness v. Global Capital Management Corp.
           in the Superior Court of California, County of Solano,
           Case No. FCS 052516                                                                                                        Unknown
           Nature of claim          Breach of K and Convenant to
                                    Repair and Maintain,
                                    declaratory relief, rescission
           Amount requested                                $0.00


           Pleasanton Fitness, LLC v. Sean D. Lively, Katie Lively,
           Evan Iverson, Michael Beile, Steve Lefevre, Marisa
           Leferve.                                                                                                                   Unknown
           Nature of claim        Breach of Lease, Breach of
                                  Guaranty
           Amount requested                    $1,613,492.15


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
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                                                                                  194
 Debtor         Pleasanton Fitness, LLC                                                      Case number (If known) 19-41949
                Name



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Leasehold Improvements [Brentwood; Dixon; Fairfield;
           Atwater; Dinuba; Manteca; Salinas; Tracy;
           Modesto-Dale; Modesto - McHenry; San Jose- Hamilton
           (Willow); San Jose Meridian; Selma; Tulare;
           Watsonville]                                                                                                               Unknown



           Intangibles - SJ Hamilton (Willow)                                                                                         $5,000.00


           Health Insurance
           California Choice
           Policy No. 49339                                                                                                           Unknown


           Health Insurance
           Choicebuilder
           Policy No. B07806                                                                                                          Unknown




 78.       Total of Part 11.                                                                                                   $3,969,294.87
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 10
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
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                                                                                  194
 Debtor          Pleasanton Fitness, LLC                                                                             Case number (If known) 19-41949
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $17,672.49

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $264,943.92

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $286,562.22

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $2,091,339.45

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +              $3,969,294.87

 91. Total. Add lines 80 through 90 for each column                                                         $6,629,812.95            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $6,629,812.95




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 11
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
             Case: 19-41949                       Doc# 54               Filed: 09/19/19 Entered: 09/19/19 21:33:53                                        Page 12 of
                                                                                     194
 Fill in this information to identify the case:

 Debtor name          Pleasanton Fitness, LLC

 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)              19-41949
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Axis Capital Inc.                             Describe debtor's property that is subject to a lien                    $4,571.23                       $0.00
        Creditor's Name                               Leases
        308 North Locust Street
        Grand Island, NE 68801
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    Axis Capital Inc.                             Describe debtor's property that is subject to a lien                    $5,787.87                       $0.00
        Creditor's Name                               Leases
        308 North Locust Street
        Grand Island, NE 68801
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply




Official Form 206D                                  Schedule D: Creditors Who Have Claims Secured by Property                                             page 1 of 33
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             Case: 19-41949                        Doc# 54           Filed: 09/19/19 Entered: 09/19/19 21:33:53                              Page 13 of
                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)     19-41949
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3   Axis Capital Inc.                              Describe debtor's property that is subject to a lien                     $14,027.24               $0.00
       Creditor's Name                                Leases
       308 North Locust Street
       Grand Island, NE 68801
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.4   Axis Capital Inc.                              Describe debtor's property that is subject to a lien                      $9,478.80               $0.00
       Creditor's Name                                Leases
       308 North Locust Street
       Grand Island, NE 68801
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.5   Axis Capital Inc.                              Describe debtor's property that is subject to a lien                      $9,439.69               $0.00
       Creditor's Name                                Leases
       308 North Locust Street
       Grand Island, NE 68801
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 33
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
            Case: 19-41949                        Doc# 54            Filed: 09/19/19 Entered: 09/19/19 21:33:53                             Page 14 of
                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)     19-41949
              Name

       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.6   Axis Capital Inc.                              Describe debtor's property that is subject to a lien                     $16,657.77               $0.00
       Creditor's Name                                Leases
       308 North Locust Street
       Grand Island, NE 68801
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.7   Axis Capital Inc.                              Describe debtor's property that is subject to a lien                     $16,312.46               $0.00
       Creditor's Name                                Leases
       308 North Locust Street
       Grand Island, NE 68801
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.8   Axis Capital Inc.                              Describe debtor's property that is subject to a lien                     $42,284.04               $0.00
       Creditor's Name                                Leases
       308 North Locust Street
       Grand Island, NE 68801

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 3 of 33
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
            Case: 19-41949                        Doc# 54            Filed: 09/19/19 Entered: 09/19/19 21:33:53                             Page 15 of
                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)     19-41949
              Name

       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



       County of
 2.9   Fresno-Treasurer-Tax
       Collectio                                      Describe debtor's property that is subject to a lien                     $11,752.85               $0.00
       Creditor's Name                                Secured Property Tax
       P.O. Box 1192
       Fresno,, CA 93715-1192
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       12/31/17                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3006
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1
 0     Ella Financial, LLC                            Describe debtor's property that is subject to a lien                     $17,317.30               $0.00
       Creditor's Name                                Equipment Lease
       Turquoise Flag Bldg,
       104 S. Freya, Ste. 125
       Spokane,, WA 99202
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       10/31/16                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       330
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 4 of 33
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                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)      19-41949
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1   Hitachi Capital America
 1     Corp                                           Describe debtor's property that is subject to a lien                     $255,763.67               $0.00
       Creditor's Name                                Equipment Leases
       7808 Creekridge Circle, Ste
       250
       Edina, MN 55439
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       9/19/17-3/1/18                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       008
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1   Hitachi Capital America
 2     Corp                                           Describe debtor's property that is subject to a lien                     $276,850.42               $0.00
       Creditor's Name                                Equipment Leases
       7808 Creekridge Circle, Ste
       250
       Edina, MN 55439
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       9/19/17-3/1/18                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       006
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1   Hitachi Capital America
 3     Corp                                           Describe debtor's property that is subject to a lien                      $49,112.83               $0.00
       Creditor's Name                                Equipment Leases
       7808 Creekridge Circle, Ste
       250
       Edina, MN 55439
       Creditor's mailing address                     Describe the lien



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 5 of 33
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                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)      19-41949
              Name

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       9/19/17-3/1/18                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       005
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1   Hitachi Capital America
 4     Corp                                           Describe debtor's property that is subject to a lien                      $49,112.83               $0.00
       Creditor's Name                                Equipment Leases
       7808 Creekridge Circle, Ste
       250
       Edina, MN 55439
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       9/19/17-3/1/18                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       004
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1   Hitachi Capital America
 5     Corp                                           Describe debtor's property that is subject to a lien                     $285,730.25               $0.00
       Creditor's Name                                Equipment Leases
       7808 Creekridge Circle, Ste
       250
       Edina, MN 55439
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       9/19/17-3/1/18                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       003
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 6 of 33
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 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)      19-41949
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1   Hitachi Capital America
 6     Corp                                           Describe debtor's property that is subject to a lien                     $261,004.18               $0.00
       Creditor's Name                                Equipment Leases
       7808 Creekridge Circle, Ste
       250
       Edina, MN 55439
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       9/19/17-3/1/18                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       002
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1
 7     JTL Enterprises                                Describe debtor's property that is subject to a lien                       $7,304.60               $0.00
       Creditor's Name                                Equipment Lease
       650 Henderson Drive PMB
       771
       Cartersville, GA 30120
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       1/1/16-4/15/18                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2621
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1
 8     JTL Enterprises                                Describe debtor's property that is subject to a lien                       $7,304.60               $0.00
       Creditor's Name                                Equipment Lease
       650 Henderson Drive PMB
       771
       Cartersville, GA 30120
       Creditor's mailing address                     Describe the lien




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 7 of 33
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                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)     19-41949
              Name

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       1/1/16-4/15/18                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2620
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.1
 9     JTL Enterprises                                Describe debtor's property that is subject to a lien                     $10,938.31               $0.00
       Creditor's Name                                Equipment Lease
       650 Henderson Drive PMB
       771
       Cartersville, GA 30120
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       1/1/16-4/15/18                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2619
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.2
 0     JTL Enterprises                                Describe debtor's property that is subject to a lien                      $7,304.60               $0.00
       Creditor's Name                                Equipment Lease
       650 Henderson Drive PMB
       771
       Cartersville, GA 30120
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       1/1/16-4/15/18                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2613
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 8 of 33
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
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 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)     19-41949
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.2
 1     JTL Enterprises                                Describe debtor's property that is subject to a lien                     $16,022.13               $0.00
       Creditor's Name                                Equipment Lease
       650 Henderson Drive PMB
       771
       Cartersville, GA 30120
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       1/1/16-4/15/18                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2927
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.2
 2     JTL Enterprises                                Describe debtor's property that is subject to a lien                     $17,890.84               $0.00
       Creditor's Name                                Equipment Lease
       650 Henderson Drive PMB
       771
       Cartersville, GA 30120
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       1/1/16-4/15/18                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3217
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.2
 3     JTL Enterprises                                Describe debtor's property that is subject to a lien                     $11,360.18               $0.00
       Creditor's Name                                Equipment Lease
       650 Henderson Drive PMB
       771
       Cartersville, GA 30120
       Creditor's mailing address                     Describe the lien




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 9 of 33
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
            Case: 19-41949                        Doc# 54            Filed: 09/19/19 Entered: 09/19/19 21:33:53                             Page 21 of
                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)     19-41949
              Name

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       1/1/16-4/15/18                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2984
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.2
 4     JTL Enterprises                                Describe debtor's property that is subject to a lien                     $13,279.51               $0.00
       Creditor's Name                                Equipment Lease
       650 Henderson Drive PMB
       771
       Cartersville, GA 30120
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       1/1/16-4/15/18                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3445
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.2
 5     JTL Enterprises                                Describe debtor's property that is subject to a lien                     $23,430.30               $0.00
       Creditor's Name                                Equipment Lease
       650 Henderson Drive PMB
       771
       Cartersville, GA 30120
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       1/1/16-4/15/18                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3684
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 10 of 33
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 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)     19-41949
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.2
 6     JTL Enterprises                                Describe debtor's property that is subject to a lien                     $17,777.03               $0.00
       Creditor's Name                                Equipment Lease
       650 Henderson Drive PMB
       771
       Cartersville, GA 30120
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       1/1/16-4/15/18                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3792
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.2
 7     JTL Enterprises                                Describe debtor's property that is subject to a lien                      $9,360.14               $0.00
       Creditor's Name                                Equipment Lease
       650 Henderson Drive PMB
       771
       Cartersville, GA 30120
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       1/1/16-4/15/18                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2729
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.2
 8     Macrolease Corporation                         Describe debtor's property that is subject to a lien                     $73,969.92               $0.00
       Creditor's Name                                Equipment Lease
       185 Express Street, Suite
       100
       Plainview, NY 11803
       Creditor's mailing address                     Describe the lien




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                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)    19-41949
              Name

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7412
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.2
 9     Macrolease Corporation                         Describe debtor's property that is subject to a lien                     $3,602.47               $0.00
       Creditor's Name                                Equipment Lease
       185 Express Street, Suite
       100
       Plainview, NY 11803
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7429
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3
 0     Macrolease Corporation                         Describe debtor's property that is subject to a lien                     $3,810.48               $0.00
       Creditor's Name                                Equipment Lease
       185 Express Street, Suite
       100
       Plainview, NY 11803
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7371
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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            Case: 19-41949                        Doc# 54            Filed: 09/19/19 Entered: 09/19/19 21:33:53                            Page 24 of
                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)     19-41949
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3
 1     Macrolease Corporation                         Describe debtor's property that is subject to a lien                     $82,302.14               $0.00
       Creditor's Name                                Equipment Lease
       185 Express Street, Suite
       100
       Plainview, NY 11803
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7350
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3
 2     Macrolease Corporation                         Describe debtor's property that is subject to a lien                     $41,477.93               $0.00
       Creditor's Name                                Equipment Lease
       185 Express Street, Suite
       100
       Plainview, NY 11803
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7675
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3
 3     Macrolease Corporation                         Describe debtor's property that is subject to a lien                     $30,274.65               $0.00
       Creditor's Name                                Equipment Lease
       185 Express Street, Suite
       100
       Plainview, NY 11803
       Creditor's mailing address                     Describe the lien




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                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)     19-41949
              Name

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7762
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3
 4     Macrolease Corporation                         Describe debtor's property that is subject to a lien                     $36,750.57               $0.00
       Creditor's Name                                Equipment Lease
       185 Express Street, Suite
       100
       Plainview, NY 11803
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9311
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3
 5     Macrolease Corporation                         Describe debtor's property that is subject to a lien                     $95,661.65               $0.00
       Creditor's Name                                Equipment Lease
       185 Express Street, Suite
       100
       Plainview, NY 11803
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7566
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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            Case: 19-41949                        Doc# 54            Filed: 09/19/19 Entered: 09/19/19 21:33:53                             Page 26 of
                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)      19-41949
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3
 6     Macrolease Corporation                         Describe debtor's property that is subject to a lien                       $5,993.90               $0.00
       Creditor's Name                                Equipment Lease
       185 Express Street, Suite
       100
       Plainview, NY 11803
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7590
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3
 7     Macrolease Corporation                         Describe debtor's property that is subject to a lien                     $164,107.90               $0.00
       Creditor's Name                                Equipment Lease
       185 Express Street, Suite
       100
       Plainview, NY 11803
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9312
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3
 8     Oscar J. Garcia, CPA                           Describe debtor's property that is subject to a lien                      $11,752.85               $0.00
       Creditor's Name                                Secured Property Taxes
       Fresno County Tax
       Collector
       P. O. Box 1192
       Fresno,, CA 93715
       Creditor's mailing address                     Describe the lien


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                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)     19-41949
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                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       12/31/17                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.3
 9     Solano County Treasury                         Describe debtor's property that is subject to a lien                     $20,933.98               $0.00
       Creditor's Name                                Secured Property Taxes
       PO Box 7407
       San Francisco,, CA
       94120-7407
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       10/30/17-2/15/19                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.4
 0     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                     $96,136.93               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       334
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)      19-41949
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.4
 1     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                     $100,544.87               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       335
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.4
 2     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                     $100,827.98               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       332
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.4
 3     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                      $11,082.65               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien




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            Case: 19-41949                        Doc# 54            Filed: 09/19/19 Entered: 09/19/19 21:33:53                              Page 29 of
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 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)     19-41949
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                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       330
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.4
 4     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                      $4,178.25               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       333
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.4
 5     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                     $62,370.68               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       331
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



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                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)     19-41949
              Name



 2.4
 6     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                     $16,257.74               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       325
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.4
 7     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                      $7,580.64               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       326
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.4
 8     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                     $13,082.28               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No

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Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
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 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)      19-41949
              Name

                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       324
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.4
 9     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                     $195,634.00               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       322
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.5
 0     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                       $6,354.85               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       317
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.5
 1     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                       $6,359.69               $0.00




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Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
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 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)     19-41949
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       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       318
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.5
 2     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                     $45,358.24               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       316
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.5
 3     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                     $36,565.49               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       312


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                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)      19-41949
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.5
 4     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                      $14,494.17               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       310
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.5
 5     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                      $17,582.68               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       315
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.5
 6     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                     $143,939.00               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien


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                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)      19-41949
              Name


                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       314
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.5
 7     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                     $179,555.77               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       313
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.5
 8     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                     $175,305.45               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       308
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)      19-41949
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        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.5
 9     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                     $114,138.69               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       309
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.6
 0     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                     $287,425.91               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       307
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.6
 1     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                      $25,711.68               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien




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                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)     19-41949
              Name

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       302
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.6
 2     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                     $26,859.86               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       301
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.6
 3     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                     $18,032.76               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       303
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



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 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)     19-41949
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 2.6
 4     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                     $23,245.28               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       311
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.6
 5     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                     $22,755.21               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       300
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.6
 6     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                     $45,555.68               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No

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                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)     19-41949
              Name

                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       319
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.6
 7     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                     $26,859.86               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       321
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.6
 8     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                     $12,211.74               $0.00
       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       320
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.6
 9     TCF Equipment Finance                          Describe debtor's property that is subject to a lien                     $68,581.53               $0.00




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 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)    19-41949
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       Creditor's Name                                Equipment Lease
       11100 Wayzata Blvd., #801
       Minnetonka, MN 55305
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       323
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.7
 0     Time Payment Corporation                       Describe debtor's property that is subject to a lien                     $5,676.41               $0.00
       Creditor's Name                                Equipment Lease
       1600 District Avenue, Suite
       200
       Burlington, MA 01803
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.7
 1     Time Payment Corporation                       Describe debtor's property that is subject to a lien                     $6,172.58               $0.00
       Creditor's Name                                Equipment Lease
       1600 District Avenue, Suite
       200
       Burlington, MA 01803
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number




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 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)     19-41949
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       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.7
 2     United Leasing, Inc.                           Describe debtor's property that is subject to a lien                     $45,616.53               $0.00
       Creditor's Name                                Equipment Lease
       3700 Morgan Avenue
       Evansville, IN 47715
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.7
 3     United Leasing, Inc.                           Describe debtor's property that is subject to a lien                     $63,218.99               $0.00
       Creditor's Name                                Equipment Lease
       3700 Morgan Avenue
       Evansville, IN 47715
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.7
 4     United Leasing, Inc.                           Describe debtor's property that is subject to a lien                      $7,961.01               $0.00
       Creditor's Name                                Equipment Lease
       3700 Morgan Avenue
       Evansville, IN 47715
       Creditor's mailing address                     Describe the lien


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 29 of 33
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
            Case: 19-41949                        Doc# 54            Filed: 09/19/19 Entered: 09/19/19 21:33:53                             Page 41 of
                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)     19-41949
              Name

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.7
 5     United Leasing, Inc.                           Describe debtor's property that is subject to a lien                     $38,576.50               $0.00
       Creditor's Name                                Equipment Lease
       3700 Morgan Avenue
       Evansville, IN 47715
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.7
 6     United Leasing, Inc.                           Describe debtor's property that is subject to a lien                     $11,584.45               $0.00
       Creditor's Name                                Equipment Lease
       3700 Morgan Avenue
       Evansville, IN 47715
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 30 of 33
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
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                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)     19-41949
              Name



 2.7
 7     United Leasing, Inc.                           Describe debtor's property that is subject to a lien                     $74,034.22               $0.00
       Creditor's Name                                Equipment Lease
       3700 Morgan Avenue
       Evansville, IN 47715
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.7
 8     United Leasing, Inc.                           Describe debtor's property that is subject to a lien                     $72,822.93               $0.00
       Creditor's Name                                Equipment Lease
       3700 Morgan Avenue
       Evansville, IN 47715
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.7
 9     United Leasing, Inc.                           Describe debtor's property that is subject to a lien                      $8,241.35               $0.00
       Creditor's Name                                Equipment Lease
       3700 Morgan Avenue
       Evansville, IN 47715
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 31 of 33
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
            Case: 19-41949                        Doc# 54            Filed: 09/19/19 Entered: 09/19/19 21:33:53                             Page 43 of
                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                                  Case number (if know)       19-41949
              Name

        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.8
 0      United Leasing, Inc.                          Describe debtor's property that is subject to a lien                      $59,237.50                  $0.00
        Creditor's Name                               Equipment Lease
        3700 Morgan Avenue
        Evansville, IN 47715
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




                                                                                                                               $4,335,546.1
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         4

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity
         Hitachi Capital America Corp.
         800 Connecticut Avenue                                                                                Line   2.11
         Norwalk, CT 06854

         Hitachi Capital America Corp.
         800 Connecticut Avenue                                                                                Line   2.12
         Norwalk, CT 06854

         Hitachi Capital America Corp.
         800 Connecticut Avenue                                                                                Line   2.13
         Norwalk, CT 06854

         Hitachi Capital America Corp.
         800 Connecticut Avenue                                                                                Line   2.14
         Norwalk, CT 06854

         Hitachi Capital America Corp.
         800 Connecticut Avenue                                                                                Line   2.15
         Norwalk, CT 06854


Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 32 of 33
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
             Case: 19-41949                        Doc# 54           Filed: 09/19/19 Entered: 09/19/19 21:33:53                               Page 44 of
                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                     Case number (if know)   19-41949
              Name

        Hitachi Capital America Corp.
        800 Connecticut Avenue                                                                   Line   2.16
        Norwalk, CT 06854

        JTL Enterprises Inc., dba HydroMassage
        15395 Roosevelt Blvd.                                                                    Line   2.17
        Clearwater, FL 33760

        JTL Enterprises Inc., dba HydroMassage
        15395 Roosevelt Blvd.                                                                    Line   2.18
        Clearwater, FL 33760

        JTL Enterprises Inc., dba HydroMassage
        15395 Roosevelt Blvd.                                                                    Line   2.19
        Clearwater, FL 33760

        JTL Enterprises Inc., dba HydroMassage
        15395 Roosevelt Blvd.                                                                    Line   2.20
        Clearwater, FL 33760

        JTL Enterprises Inc., dba HydroMassage
        15395 Roosevelt Blvd.                                                                    Line   2.21
        Clearwater, FL 33760

        JTL Enterprises Inc., dba HydroMassage
        15395 Roosevelt Blvd.                                                                    Line   2.22
        Clearwater, FL 33760

        JTL Enterprises Inc., dba HydroMassage
        15395 Roosevelt Blvd.                                                                    Line   2.23
        Clearwater, FL 33760

        JTL Enterprises Inc., dba HydroMassage
        15395 Roosevelt Blvd.                                                                    Line   2.24
        Clearwater, FL 33760

        JTL Enterprises Inc., dba HydroMassage
        15395 Roosevelt Blvd.                                                                    Line   2.25
        Clearwater, FL 33760

        JTL Enterprises Inc., dba HydroMassage
        15395 Roosevelt Blvd.                                                                    Line   2.26
        Clearwater, FL 33760

        JTL Enterprises Inc., dba HydroMassage
        15395 Roosevelt Blvd.                                                                    Line   2.27
        Clearwater, FL 33760




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                  page 33 of 33
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
            Case: 19-41949                     Doc# 54               Filed: 09/19/19 Entered: 09/19/19 21:33:53          Page 45 of
                                                                                  194
 Fill in this information to identify the case:

 Debtor name         Pleasanton Fitness, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)          19-41949
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00     $0.00
           California Department of Tax and                          Check all that apply.
           Fee                                                        Contingent
           Administration                                             Unliquidated
           Special Operations Bankr. Team                             Disputed
           MIC: 74
           P.O. Box 942879
           Sacramento, CA 94279-0074
           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Notice Purpose Only.
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $25,428.18         $0.00
           Contra Costa County Tax                                   Check all that apply.
           Collector-                                                 Contingent
           Compliance Division                                        Unliquidated
           PO Box 631                                                 Disputed
           Martinez, CA 94553-0096
           Date or dates debt was incurred                           Basis for the claim:
           2017-2019                                                 Unsecured Property Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           0001,0000,2806                                             No
           Specify Code subsection of PRIORITY
           unsecured claim: 11 U.S.C. § 507(a) (8)                    Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 69
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                   32168                               Best Case Bankruptcy
             Case: 19-41949                    Doc# 54               Filed: 09/19/19 Entered: 09/19/19 21:33:53                              Page 46 of
                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                                         Case number (if known)   19-41949
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $15,181.18    $0.00
          County of Santa Barbara-                                   Check all that apply.
          Treasurer-Tax Collector                                     Contingent
          P.O Box 579                                                 Unliquidated
          Santa Barbara, CA 93102                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
          2016-2017                                                  Unsecured Property Tax
          Last 4 digits of account number 0495                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $23,535.42    $0.00
          County of Santa Clara                                      Check all that apply.
          Department of Tax and Collections                           Contingent
          70 West Hedding St., East Wing,                             Unliquidated
          6th Fl.                                                     Disputed
          San Jose,, CA 95110-1767
          Date or dates debt was incurred                            Basis for the claim:
          2017-2019                                                  Unsecured Property Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,737.92    $0.00
          El Dorado County Treasurer, Tax                            Check all that apply.
          Collecto                                                    Contingent
          360 Fair Lane                                               Unliquidated
          Placerville,, CA 95667                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          2018                                                       Unsecured Property Taxes
          Last 4 digits of account number 2000                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $187,446.40    $0.00
          Employment Development                                     Check all that apply.
          Department                                                  Contingent
          State of California                                         Unliquidated
          Bankruptcy Unit - MIC 92E                                   Disputed
          P.O. Box 826880
          Sacramento, CA 95812-2952
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employment Audit
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 69
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
            Case: 19-41949                     Doc# 54               Filed: 09/19/19 Entered: 09/19/19 21:33:53                               Page 47 of
                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                                         Case number (if known)   19-41949
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,511.40       $0.00
          Franchise Tax Board                                        Check all that apply.
          Bankruptcy Section, MS A-340                                Contingent
          P.O. Box 2952                                               Unliquidated
          Sacramento, CA 95812                                        Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purpose Only.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Internal Revenue Service                                   Check all that apply.
          P.O. Box 7346                                               Contingent
          Philadelphia, PA 19101                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Notice Purpose Only.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $114,035.42       $0.00
          Merced County Tax Collector                                Check all that apply.
          2222 M Street                                               Contingent
          Merced,, CA 95340                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          2015-2018                                                  Unsecured Property Taxes
          Last 4 digits of account number 8000,8810                  Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Placer County Tax Collector                                Check all that apply.
          2976 Richardson Drive                                       Contingent
          Auburn,, CA 95603                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Unsecured Taxes. For Notice Purpose Only.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 69
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
            Case: 19-41949                     Doc# 54               Filed: 09/19/19 Entered: 09/19/19 21:33:53                               Page 48 of
                                                                                  194
 Debtor        Pleasanton Fitness, LLC                                                                        Case number (if known)   19-41949
               Name

 2.11       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $5,291.15         $0.00
            Solano County Tax Collector                              Check all that apply.
            675 Texas Street, Suite 1900                              Contingent
            Fairfield,, CA 94533                                      Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
            5/1/18                                                   Unsecured Property Taxes
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.12       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         $18,069.51         $0.00
            Stanislaus County Tax Collector                          Check all that apply.
            PO Box 1003                                               Contingent
            Modesto,, CA 95353                                        Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Unsecured Property Tax. For Notice Purpose
                                                                     Only.
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.13       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                $0.00       $0.00
            State Board of Equalization                              Check all that apply.
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.14       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $7,222.17         $0.00
            Yolo County - Tax Collection                             Check all that apply.
            625 Court St. Room #102                                   Contingent
            Woodland, CA 95695                                        Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
            2017-2018                                                Unsecured Property Tax
            Last 4 digits of account number 0000                     Is the claim subject to offset?

            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 4 of 69
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
              Case: 19-41949                   Doc# 54               Filed: 09/19/19 Entered: 09/19/19 21:33:53                                  Page 49 of
                                                                                  194
 Debtor       Pleasanton Fitness, LLC                                                                 Case number (if known)            19-41949
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          312 Sunrise, LLC                                                    Contingent
          4980 Hillsdale Circle, Ste. A                                       Unliquidated
          El Dorado Hills, CA 95762                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent Arrears
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,750.00
          A 1 Landscape and Maintenance                                       Contingent
          941 W A Street                                                      Unliquidated
          Dixon, CA 95620                                                     Disputed
          Date(s) debt was incurred 7/25/2017 - 11/30/2017
                                                                             Basis for the claim:    Landscaping
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $220.00
          A. Ramirez Heating & Plumbing, Inc                                  Contingent
          1867 San Miguel Cayon Road                                          Unliquidated
          Prunedale, CA 93907                                                 Disputed
          Date(s) debt was incurred 6/2/2017
                                                                             Basis for the claim:    Plumbing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          A1 Lock & Key                                                       Contingent
          515 4th Street                                                      Unliquidated
          Clovis, CA 93612                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Lock Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          AARON Plumbing                                                      Contingent
          P.O. Box 2657                                                       Unliquidated
          Vacaville, CA 95696-2657                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Plumbing Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $337.35
          ABC Fire and Cylinder Service                                       Contingent
          1025 Telegraph St.                                                  Unliquidated
          Reno, NV 89502                                                      Disputed
          Date(s) debt was incurred 6/17/2018
                                                                             Basis for the claim:    Fire Maintenance.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,827.94
          Accountemps                                                         Contingent
          P.O. Box 743295                                                     Unliquidated
          Los Angeles, CA 90074                                               Disputed
          Date(s) debt was incurred 6/5/2018 - 6/18/2018
                                                                             Basis for the claim:    Temporary Employment Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,180.00
          Acme Boiler & Water Heating Co.                                     Contingent
          1058 Elm Street                                                     Unliquidated
          San Jose, CA 95126                                                  Disputed
          Date(s) debt was incurred 9/6/2018
                                                                             Basis for the claim:    Plumbing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,028.00
          ADP LLC                                                             Contingent
          1851 N Resler Drive MS-100                                          Unliquidated
          El Paso, TX 79912                                                   Disputed
          Date(s) debt was incurred 2/3/2019 - 6/16/2019
                                                                             Basis for the claim:    Payroll Services
          Last 4 digits of account number 3533
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,100.00
          Advance Carpet & Upholstery Cleaning                                Contingent
          P.O. Box 2797                                                       Unliquidated
          Orangevale, CA 95662                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Facility Repairs
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,087.00
          Advanced Cleaning & Restoration                                     Contingent
          1241 Johnson Avenue, Suite 140                                      Unliquidated
          San Luis Obispo, CA 93401                                           Disputed
          Date(s) debt was incurred 7/10/2018 - 9/2/2018
                                                                             Basis for the claim:    Janitorial Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Advanced Plumbing Heating and Air                                   Contingent
          38 Commerce Place, Suite A                                          Unliquidated
          Vacaville, CA 95687                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Plumbing Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ahern Rentals                                                       Contingent
          P.O. Box 271390                                                     Unliquidated
          Las Vegas, NV 89127-1390                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment Rental
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $51,611.93
          Airborne Security Patrol, Inc.                                      Contingent
          6885 Luther Drive, Suite G                                          Unliquidated
          Sacramento, CA 95823                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fire Monitoring
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $64.15
          Alameda County - Henry C Levy, Treasurer                            Contingent
          Tax Collector                                                       Unliquidated
          1221 Oak Street, Room 131                                           Disputed
          Oakland, CA 94612
                                                                             Basis for the claim:    Unsecured Property Taxes
          Date(s) debt was incurred 7/1/2019
          Last 4 digits of account number 5681                               Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,400.00
          Alfredo Vidrio                                                      Contingent
          3521 E Platt                                                        Unliquidated
          Fresno, CA 93702                                                    Disputed
          Date(s) debt was incurred      7/3/17-2/1/18                       Basis for the claim:    Landscaping
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $333.25
          Alhambra & Sierra Springs                                           Contingent
          P.O. Box 660579                                                     Unliquidated
          Dallas, TX 75266-0579                                               Disputed
          Date(s) debt was incurred 8/10-8/12/2019
                                                                             Basis for the claim:    Water Service. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Alhambra Plaza                                                      Contingent
          101 Ellinwood Drive                                                 Unliquidated
          Pleasant Hill, CA 94523                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $791.00
          All American Plumbing                                               Contingent
          P.O. Box 364                                                        Unliquidated
          Los Banos, CA 93635                                                 Disputed
          Date(s) debt was incurred 8/21/2018
                                                                             Basis for the claim:    Plumbing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Always Affordable Plumbing Co.                                      Contingent
          P.O. Box 417441                                                     Unliquidated
          Sacramento, CA 95841                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Plumbing Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          American Arbitration Association                                    Contingent
          One Sansome Street, 16th Floor                                      Unliquidated
          San Francisco, CA 94104                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $615.00
          American Sheet Metal                                                Contingent
          1930 West Whitebridge Avenue                                        Unliquidated
          Fresno, CA 93706                                                    Disputed
          Date(s) debt was incurred 4/30/2018
                                                                             Basis for the claim:    HVAC Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $450.98
          AmeriPride                                                          Contingent
          1050 W. Whitesbridge Ave                                            Unliquidated
          Fresno, CA 93706                                                    Disputed
          Date(s) debt was incurred 8/16/17-9/27/17
                                                                             Basis for the claim:    Mat Service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $470.00
          Anderson Environmental Consulting Group                             Contingent
          (AEC Group)                                                         Unliquidated
          3308 El Camino Avenue, Suite 300-111                                Disputed
          Sacramento, CA 95821-6328
                                                                             Basis for the claim:    Inspections
          Date(s) debt was incurred 7/28/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,075.49
          Apex Mechanical, Inc                                                Contingent
          4175 Business Center Drive                                          Unliquidated
          Fremont, CA 94538                                                   Disputed
          Date(s) debt was incurred 11/3/2017
                                                                             Basis for the claim:    Plumbing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $376.34
          Apple Financial Services                                            Contingent
          P.O. Box 30310                                                      Unliquidated
          Los Angeles, CA 90030-0310                                          Disputed
          Date(s) debt was incurred 8/14/2019
                                                                             Basis for the claim:    iPad Lease
          Last 4 digits of account number 7933
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $189.00
          Aquatek Plumbing                                                    Contingent
          P.O. Box 23271                                                      Unliquidated
          San Jose, CA 95153                                                  Disputed
          Date(s) debt was incurred      1/1/18                              Basis for the claim:    Plumbing Services.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Aquatic Solutions                                                   Contingent
          1187 Vanderbilt Circle, #7                                          Unliquidated
          Manteca, CA 95337                                                   Disputed
          Date(s) debt was incurred 1/1/2018
                                                                             Basis for the claim:    Pool Maintenance. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Armoured Plumbing                                                   Contingent
          228 Church Street                                                   Unliquidated
          Roseville, CA 95678                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Plumbing. For Notice Purposes Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,850.00
          Art Douglas Plumbing Inc.                                           Contingent
          P.O. Box 25520                                                      Unliquidated
          Fresno, CA 93729-5520                                               Disputed
          Date(s) debt was incurred 5/31/2017
                                                                             Basis for the claim:    Plumbing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,566.00
          Asphalt Sealing & Repair                                            Contingent
          4044 West Woodside Court                                            Unliquidated
          Visalia, CA 93291                                                   Disputed
          Date(s) debt was incurred 5/24/2018
                                                                             Basis for the claim:    Parking Lot Work
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Assurance Fire Protection                                           Contingent
          P.O. Box 26861                                                      Unliquidated
          Fresno, CA 93729                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fire Maintenance. For Notice Purposes Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Assured Fire Extinguisher Service                                   Contingent
          P.O. Box 20524                                                      Unliquidated
          Castro Valley, CA 94546                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fire Maintenance. For Notice Purposes Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          AT&T                                                                Contingent
          P.O. Box 5025                                                       Unliquidated
          Carol Stream, IL 60197-5025                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Phone/Internet Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $833.75
          Atomic Apparel USA                                                  Contingent
          3848 McHenry Ave, Suite 135, Box #145                               Unliquidated
          Modesto, CA 95356                                                   Disputed
          Date(s) debt was incurred 2/19/2019
                                                                             Basis for the claim:    Promotional Materials
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Azarnia, LLC
          Madison Oaks Shopping Cent                                          Contingent
          c/o Management Consulting Group                                     Unliquidated
          4360 Marconi Avenue                                                 Disputed
          Sacramento, CA 95821
                                                                             Basis for the claim:    Rent Arrears
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          B&F Snider Enterprises                                              Contingent
          c/o Brekke Real Estate                                              Unliquidated
          1500 Standiford Ave., Bldg. D                                       Disputed
          Modesto, CA 95355
                                                                             Basis for the claim:    Rent Arrears
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,219.90
          BARE Associates International, Inc.                                 Contingent
          3702 Pender Drive, Suite 305                                        Unliquidated
          Fairfax, VA 22030                                                   Disputed
          Date(s) debt was incurred 4/6/17-10/7/17
                                                                             Basis for the claim:    Audit Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,285.00
          Barrier Specialty Roofing                                           Contingent
          4620 N Blythe Avenue                                                Unliquidated
          Fresno, CA 93722                                                    Disputed
          Date(s) debt was incurred 12/5/18-3/7/19
                                                                             Basis for the claim:    Roof Repair
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Barry Bonas Pest Control, Inc.                                      Contingent
          1625 Howard Rd., PMB #216                                           Unliquidated
          Madera, CA 93637-5128                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Pest Control. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,084.16
          Bay Alarm Company                                                   Contingent
          P.O. Box 7137                                                       Unliquidated
          San Francisco, CA 94120-7137                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Alarm. Account Nos. 2714842, 3514544, 3825324,
          Last 4 digits of account                                           2714842, 4697624
          number 4842,4544,5324,271
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bay Area Backflow Inc.                                              Contingent
          290 Nagareda Dr, Unit 5                                             Unliquidated
          Gilroy, CA 95020                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Plumbing. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bay Quality Roofing                                                 Contingent
          399 Airport Blvd                                                    Unliquidated
          Freedom, CA 95019                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Roof Maintenance. For Notice Purposes Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $742.50
          Bay Tech Access & Security Solutions                                Contingent
          12820 Cienga Road                                                   Unliquidated
          Hollister, CA 95023                                                 Disputed
          Date(s) debt was incurred 2/8/2019
                                                                             Basis for the claim:    Security
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bear Downtown Postal                                                Contingent
          2625 F Coffee Road                                                  Unliquidated
          Modesto, CA 95355                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Mail Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bell's Plumbing Repair, Inc.                                        Contingent
          P.O. Box 851                                                        Unliquidated
          Atascadero, CA 93423                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord. For Notice Purposes Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Belle Mill Retail Partners, LLC                                     Contingent
          5743 Corsa Ave, Ste 215                                             Unliquidated
          Thousand Oaks, CA 91362                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord. For Notice Purposes Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bellows Plumbing, Heating & Air                                     Contingent
          2652 Research Park Drive                                            Unliquidated
          Soquel, CA 95073                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Plumbing. For Notice Purposes Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $959.00
          Benjamin Franklin Plumbing                                          Contingent
          8860 Palomar Avenue                                                 Unliquidated
          Atascadero, CA 93422                                                Disputed
          Date(s) debt was incurred 4/1/2017
                                                                             Basis for the claim:    Plumbing. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bereman Carpets, Inc.                                               Contingent
          1070 Del Monte Avenue                                               Unliquidated
          Monterey, CA 93940                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Carpet Install. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $88.84
          Best Locksmith of Tahoe                                             Contingent
          942 Lodi Ave                                                        Unliquidated
          South Lake Tahoe, CA 96150                                          Disputed
          Date(s) debt was incurred 11/1/2017
                                                                             Basis for the claim:    Locksmith Service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $100.50
          Bicsec Security, Inc.                                               Contingent
          1656 Herndon Road                                                   Unliquidated
          Ceres, CA 95307                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fire Monitoring. For Notice Purposes Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,697.00
          BirdEye                                                             Contingent
          2479 E Bayshore Road, Suite 100                                     Unliquidated
          Palo Alto, CA 94303                                                 Disputed
          Date(s) debt was incurred 10/1/17-12/1/17
                                                                             Basis for the claim:    Marketing Service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          BJs Consumers Choice Pest Control                                   Contingent
          PO Box 1026                                                         Unliquidated
          Turlock, CA 95381                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Pest Control. For Notice Purposes Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Board of Equalization                                               Contingent
          P.O. Box 942879                                                     Unliquidated
          Sacramento, CA 94279-0001                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Sales Tax. For Notice Purposes Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Boulder Exterminators, Inc                                          Contingent
          P.O. Box 17000                                                      Unliquidated
          South Lake Tahoe, CA 96151                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Pest Control. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Brekke Real Estate                                                  Contingent
          1500 Standiford Ave, Bldg D                                         Unliquidated
          Modesto, CA 95350                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Broker Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          Bridge Bank                                                         Contingent
          55 Almadden Blvd., Suite 100                                        Unliquidated
          San Jose, CA 95113                                                  Disputed
          Date(s) debt was incurred 8/27/2019
                                                                             Basis for the claim:    Overdraft Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,379.82
          Bridge Bank                                                         Contingent
          Western Alliance Bank                                               Unliquidated
          P.O. Box 31021                                                      Disputed
          Tampa, FL 33631-3021
                                                                             Basis for the claim:    Visa Credit Card
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Broadway Pavilion Station LLC                                       Contingent
          33340 Collection Center Drive                                       Unliquidated
          Chicago, IL 60693-0333                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent Arrears
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $74,838.89
          Buxton                                                              Contingent
          2651 South Polaris Drive                                            Unliquidated
          Fort Worth, TX 76137                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Marketing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $631,000.00
          CA State District Attorney,                                         Contingent
          Santa Cruz County                                                   Unliquidated
          701 Ocean St., Room 200                                             Disputed
          Santa Cruz, CA 95060
                                                                             Basis for the claim:    Lawsuit Settlement
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Cal State Termite and Pest                                          Contingent
          P.O. Box 956                                                        Unliquidated
          Selma, CA 93662                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Pest Control. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $227.27
          California American Water                                           Contingent
          P.O. Box 7150                                                       Unliquidated
          Pasadena, CA 91109-7150                                             Disputed
          Date(s) debt was incurred 8/1/2019
                                                                             Basis for the claim:    Utility.
          Last 4 digits of account number 9023,0020
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          California Choice Benefit Administrators                            Contingent
          P.O. Box 7088                                                       Unliquidated
          Orange, CA 92863-7088                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Health Insurance. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $500.00
          California Paving Construction                                      Contingent
          P.O. Box 53210                                                      Unliquidated
          San Jose, CA 95123                                                  Disputed
          Date(s) debt was incurred 4/17/2017
                                                                             Basis for the claim:    Parking Lot Repair
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          California State Disbursement Unit                                  Contingent
          P.O. Box 989067                                                     Unliquidated
          West Sacramento, CA 95798-9067                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Filing Fees. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          California Water Service Company                                    Contingent
          P.O. Box 940001                                                     Unliquidated
          San Jose, CA 95194-0001                                             Disputed
          Date(s) debt was incurred 8/19-8/22/19
                                                                             Basis for the claim:    Utility
          Last 4 digits of account number 0972,3839,2807
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $738.00
          Caltrans                                                            Contingent
          P.O Box 942874, MS27                                                Unliquidated
          Sacramento, CA 94274                                                Disputed
          Date(s) debt was incurred 10/31/2017
                                                                             Basis for the claim:    Permit Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $465.00
          Capital Billing Services - Police                                   Contingent
          Fresno Police Dept.                                                 Unliquidated
          PO. .Box 93708                                                      Disputed
          Fresno, CA 93708
                                                                             Basis for the claim:    Police Services
          Date(s) debt was incurred 7/12/2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Capital Valley Investors                                            Contingent
          Attn: Doug Bayless                                                  Unliquidated
          2410 Fair Oaks Blvd, Ste 110                                        Disputed
          Sacramento, CA 95825
                                                                             Basis for the claim:    Landlord. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,464.00
          Capitol Elevator                                                    Contingent
          4513 Harlin Drive                                                   Unliquidated
          Sacramento, CA 95826                                                Disputed
          Date(s) debt was incurred 8/30/17-4/30/18
                                                                             Basis for the claim:    Elevator Repairs
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $550.91
          Carmichael Water District                                           Contingent
          P.O. Box 919006                                                     Unliquidated
          West Sacramento, CA 95691-9006                                      Disputed
          Date(s) debt was incurred 8/2/2019
                                                                             Basis for the claim:    Utility
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Carrera Backflow Specialist                                         Contingent
          P.O. Box 1561                                                       Unliquidated
          Gilroy, CA 95021                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Plumbing. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $609.00
          Central Electric Company                                            Contingent
          430 Walker Street                                                   Unliquidated
          Watsonville, CA 95076                                               Disputed
          Date(s) debt was incurred 3/31/2018
                                                                             Basis for the claim:    Electrician
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,195.11
          Central Valley Pool & Tile                                          Contingent
          P.O. Box 26946                                                      Unliquidated
          Fresno, CA 93729                                                    Disputed
          Date(s) debt was incurred 6/21/17-12/15/17
                                                                             Basis for the claim:    Pool Repair
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Chabad Lubavitch Russian Synagogue                                  Contingent
          Pritam S. Grewal                                                    Unliquidated
          4219 Chaboya Hills Ct.                                              Disputed
          San Jose, CA 95148
                                                                             Basis for the claim:    Rent Arrears
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $327.71
          Charter Business                                                    Contingent
          PO Box 60229                                                        Unliquidated
          Los Angeles, CA 90060-0229                                          Disputed
          Date(s) debt was incurred 8/13/2019
                                                                             Basis for the claim:    Phone Services
          Last 4 digits of account number 4690
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,743.44
          Choice Builder                                                      Contingent
          Attn: Accounts Receivable                                           Unliquidated
          P.O. Box 7405                                                       Disputed
          Orange, CA 92863-7405
                                                                             Basis for the claim:    Health Insurance. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,343.65
          Cintas                                                              Contingent
          FAS Lockbox 636525                                                  Unliquidated
          P.O. Box 636525                                                     Disputed
          Cincinnati, OH 45263-6525
                                                                             Basis for the claim:    Fire Maintenance
          Date(s) debt was incurred 7/11/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $55.42
          City of Antioch                                                     Contingent
          PO Box 6015                                                         Unliquidated
          Artesia, CA 90702-6015                                              Disputed
          Date(s) debt was incurred 8/8/2019
                                                                             Basis for the claim:    Utility
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $400.72
          City of Atwater                                                     Contingent
          750 Bellevue Road                                                   Unliquidated
          Atwater, CA 95301                                                   Disputed
          Date(s) debt was incurred      8/1/19                              Basis for the claim:    Utility
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          City of Clovis Utility                                              Contingent
          P.O. Box 3007                                                       Unliquidated
          Clovis, CA 93613-3007                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          City of Dinuba                                                      Contingent
          1088 E Kamm Avenue                                                  Unliquidated
          Dinuba, CA 93618                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          City of Dixon Utility                                               Contingent
          P. O. Box 668                                                       Unliquidated
          Dixon, CA 95620                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          City of Fresno Utilities Billing                                    Contingent
          P.O. Box 2069                                                       Unliquidated
          Fresno, CA 93718-2069                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          City of Gilroy Utility                                              Contingent
          License Division                                                    Unliquidated
          7351 Rosanna Street                                                 Disputed
          Gilroy, CA 95020-6197
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          City of Hanford Utility Service                                     Contingent
          315 N Douty Street                                                  Unliquidated
          Hanford, CA 93230                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          City of Madera Utility Billing Dept                                 Contingent
          P.O. Box 45806                                                      Unliquidated
          San Francisco, CA 94145-0806                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $130.00
          City of Merced - Finance Office                                     Contingent
          678 West 18th Street, Dept BL                                       Unliquidated
          Merced, CA 95340                                                    Disputed
          Date(s) debt was incurred 6/1/19
                                                                             Basis for the claim:    Inspection Fee
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          City of Milpitas Utilities                                          Contingent
          P.O. Box 7006                                                       Unliquidated
          San Francisco, CA 94120                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          City of Modesto                                                     Contingent
          P.O. Box 3441                                                       Unliquidated
          1010 Tenth Street                                                   Disputed
          Modesto, CA 95353-3442
                                                                             Basis for the claim:    City Penalty. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          City of Modesto Utilites                                            Contingent
          P.O. Box 767                                                        Unliquidated
          Modesto, CA 95353-0767                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          City of Red Bluff                                                   Contingent
          555 Washington Street                                               Unliquidated
          Red Bluff,, CA 96080                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          City of Ripon                                                       Contingent
          259 N Wilma Ave                                                     Unliquidated
          Ripon,, CA 95366-3028                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          City of Roseville                                                   Contingent
          P.O. Box 45807                                                      Unliquidated
          San Francisco,, CA 94145-0807                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          City of Sacramento                                                  Contingent
          9151 I St, RM 1214                                                  Unliquidated
          Sacramento, CA 95814-2604                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Inspection Fees. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,553.54
          City of San Jose                                                    Contingent
          Business Tax & Reg Permit Dept #34370                               Unliquidated
          PO Box 39000                                                        Disputed
          San Francisco, CA 94139-0001
                                                                             Basis for the claim:    Business Tax Certificate
          Date(s) debt was incurred 5/29/19
          Last 4 digits of account number 2901                               Is the claim subject to offset?    No  Yes




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 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $536.80
          City of San Jose                                                    Contingent
          Fire Department Bureau of Fire Preventio                            Unliquidated
          Dept 34347, P.O. Box 39000                                          Disputed
          San Francisco,, CA 94139
                                                                             Basis for the claim:    Fire Permit
          Date(s) debt was incurred 5/8/17
          Last 4 digits of account number 2353                               Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          City of Sanger                                                      Contingent
          1700 7th Street                                                     Unliquidated
          Sanger,, CA 93657                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          City of Sanger Fire Department                                      Contingent
          1700 7th Street                                                     Unliquidated
          Sanger,, CA 93657                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Inspection Fees. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          City of Santa Maria                                                 Contingent
          Fire Department                                                     Unliquidated
          314 West Cook Street #8                                             Disputed
          Santa Maria,, CA 93458-5557
                                                                             Basis for the claim:    Inspection Fees. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          City of Selma Fire Department                                       Contingent
          C/O Fire Recovery USA, LLC                                          Unliquidated
          P.O Box 548                                                         Disputed
          Roseville,, CA 95678
                                                                             Basis for the claim:    Inspection Fees. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          City of South Lake Tahoe                                            Contingent
          Citation Processing Center                                          Unliquidated
          PO Box 7275                                                         Disputed
          Newport Beach, CA 92658
                                                                             Basis for the claim:    City Penalty. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          City of Tulare                                                      Contingent
          411 Kern Avenue                                                     Unliquidated
          Tulare,, CA 93274                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $37.62
          City of Vallejo                                                     Contingent
          P.O BOX 398766                                                      Unliquidated
          San Francisco, CA 94139-8766                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          City of Watsonville Utilities                                       Contingent
          PO Box 149                                                          Unliquidated
          Watsonville, CA 95077-0149                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number       6089
                                                                             Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $516.00
          City Wide Property Services, Inc.                                   Contingent
          3054 Gold Canal Drive                                               Unliquidated
          Rancho Cordova,, CA 95670                                           Disputed
          Date(s) debt was incurred 8/1/19
                                                                             Basis for the claim:    Landscaping Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,507.46
          Clark Pest Control                                                  Contingent
          Accounting Office                                                   Unliquidated
          P.O. Box 1480                                                       Disputed
          Lodi, CA 95241-1480
                                                                             Basis for the claim:    Pest Control
          Date(s) debt was incurred  6/6/17-3/31/18
          Last 4 digits of account number 3778,9323,8136,                    Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Classic Parking, Inc.                                               Contingent
          818 West 7th Street Ste 860                                         Unliquidated
          Los Angeles,, CA 90017                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Parking Garage. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Clovis 1, LLC                                                       Contingent
          c/o Property Management Advisors                                    Unliquidated
          P.O. Box 3329                                                       Disputed
          Seal Beach, CA 90740
                                                                             Basis for the claim:    Landlord. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $713.50
          Cold Craft                                                          Contingent
          181 Lost Lake Lane                                                  Unliquidated
          Campbell,, CA 95008-6615                                            Disputed
          Date(s) debt was incurred 4/24/19
                                                                             Basis for the claim:    HVAC Maintenance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,250.89
          Comcast                                                             Contingent
          P.O. Box 37601                                                      Unliquidated
          Philadelphia,, PA 19101-0601                                        Disputed
          Date(s) debt was incurred 8/2/19-8/15/19
                                                                             Basis for the claim:    Voice Services
          Last 4 digits of account number 4052,0742,91
                                                                             Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Competitive Plumbing & Mechanical                                   Contingent
          227 Fair Lane                                                       Unliquidated
          Placerville,, CA 95667                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Plumbing Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Concrete Landscape Services                                         Contingent
          1151 Trade Center Dr. Ste #204                                      Unliquidated
          Rancho Cardova,, CA 95670                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landscaping Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,017.21
          Consolidated Utilities Billing & Service                            Contingent
          PO Box 1804                                                         Unliquidated
          Sacramento, CA 95812                                                Disputed
          Date(s) debt was incurred 12/31/16
                                                                             Basis for the claim:    Utility
          Last 4 digits of account number 1217
                                                                             Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Consumer's Choice Pest Control                                      Contingent
          PO Box 1626                                                         Unliquidated
          Oakdale,, CA 95361                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Pest Control. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $464.61
          Contra Costa Climate Control, INC                                   Contingent
          5053 Calyton Road                                                   Unliquidated
          Concord,, CA 94520                                                  Disputed
          Date(s) debt was incurred 7/31/17
                                                                             Basis for the claim:    HVAC Maintenance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $239.77
          Contra Costa Fire Equipment                                         Contingent
          PO Box 571                                                          Unliquidated
          Concord, CA 94522                                                   Disputed
          Date(s) debt was incurred 3/2-3/3/18
                                                                             Basis for the claim:    Fire Maintenance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $861.30
          Contra Costa Health Services                                        Contingent
          50 Douglas Dr., Suite 320C                                          Unliquidated
          Martinez, CA 94553                                                  Disputed
          Date(s) debt was incurred 3/1/19-5/17/19
                                                                             Basis for the claim:    Health Penalties
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Contra Costa Water District                                         Contingent
          1331 Concord Ave.                                                   Unliquidated
          Concord, CA 94524                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $675.00
          Control Fire Protection                                             Contingent
          1347 Ogden Street                                                   Unliquidated
          Bakersfield, CA 93305                                               Disputed
          Date(s) debt was incurred 9/30/17
                                                                             Basis for the claim:    Fire Maintenance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $232,500.00
          Corinthian Event Center LLC                                         Contingent
          P.O. Box 224                                                        Unliquidated
          Clayton,, CA 94517                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent Arrears
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,665.60
          County of Fresno-Revenue Collections Uni                            Contingent
          P.O Box 226                                                         Unliquidated
          Fresno,, CA 93708-0226                                              Disputed
          Date(s) debt was incurred 3/7-6/10/19
                                                                             Basis for the claim:    Business Tax Certificate
          Last 4 digits of account number 2538
                                                                             Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          County of Sacramento                                                Contingent
          Department of Revenue Recovery                                      Unliquidated
          P. O. Box 1086                                                      Disputed
          Sacramento,, CA 95812-1086
                                                                             Basis for the claim:    City Penalties. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $275.00
          County of Sacramento                                                Contingent
          Environmental Dept                                                  Unliquidated
          10590 Armstrong Ave Suite C                                         Disputed
          Mather, CA 95655-4153
                                                                             Basis for the claim:    Health Permit
          Date(s) debt was incurred 3/20/19-5/20/19
          Last 4 digits of account number 4558                               Is the claim subject to offset?    No  Yes




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 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,087.50
          County of Santa Clara                                               Contingent
          1555 Berger Dr Ste 300                                              Unliquidated
          San Jose, CA 95112                                                  Disputed
          Date(s) debt was incurred 7/1/19
                                                                             Basis for the claim:    Permit Fees
          Last 4 digits of account number 5984
                                                                             Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $199,914.48
          Coverall North America, Inc.                                        Contingent
          2955 Momentum Place                                                 Unliquidated
          Chicago,, IL 60689                                                  Disputed
          Date(s) debt was incurred 11/1/17-12/1/17
                                                                             Basis for the claim:    Janitorial Services
          Last 4 digits of account number 0644
                                                                             Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Crosspoint Realty Services                                          Contingent
          20211 Patio Drive, Suite 145                                        Unliquidated
          Castro Valley,, CA 94546                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Culligan Santa Clara                                                Contingent
          1785 Russell Ave                                                    Unliquidated
          Santa Clara,, CA 95054-2032                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Culligan Water of Modesto                                           Contingent
          900 Reno Ave.                                                       Unliquidated
          Modesto,, CA 95351-1117                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Culligan/Quality Water Enterprises                                  Contingent
          625 W Market Street                                                 Unliquidated
          Salinas,, CA 93901-1424                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Cumulus Fresno                                                      Contingent
          3603 Momentum Place                                                 Unliquidated
          Chicago,, IL 60689-5336                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Radio Advertising. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Definitive Edge Construction                                        Contingent
          PO Box 13894                                                        Unliquidated
          South Lake Tahoe, CA 96151-3894                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Construction Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $675.00
          Department of Industrial Relations                                  Contingent
          P.O. Box 511232                                                     Unliquidated
          Los Angeles,, CA 90051-3030                                         Disputed
          Date(s) debt was incurred 3/11/19-5/12/19
                                                                             Basis for the claim:    Elevator Permits
          Last 4 digits of account number 6886
                                                                             Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Department of Industrial Relations                                  Contingent
          Cashier, Accounting Office                                          Unliquidated
          PO BOX 420603                                                       Disputed
          San Francisco,, CA 94142-0603
                                                                             Basis for the claim:    Penalties. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,396.20
          Department of Public Health Enviromental                            Contingent
          P.O. Box 11800                                                      Unliquidated
          Fresno,, CA 93775-1800                                              Disputed
          Date(s) debt was incurred 4/5/19-7/2/19
                                                                             Basis for the claim:    Pool Permit
          Last 4 digits of account number 7289
                                                                             Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Der Manouel Insurance Group                                         Contingent
          548 W. Cromwell Ave, Ste 101                                        Unliquidated
          Fresno,, CA 93711                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance Broker. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,000.00
          Derek Sawyer's Heating & Air                                        Contingent
          1001 Carver                                                         Unliquidated
          Modesto,, CA 95350                                                  Disputed
          Date(s) debt was incurred 2/28/18
                                                                             Basis for the claim:    HVAC Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Diamond Electric                                                    Contingent
          1859 Hidden View Ln                                                 Unliquidated
          Roseville,, CA 95661                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Electrical Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Digital Realty                                                      Contingent
          150 South First Street, LLC                                         Unliquidated
          P.O. Box 742713                                                     Disputed
          Los Angeles,, CA 90074-2713
                                                                             Basis for the claim:    Rent Arrears
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,106.25
          DiPietro & Associates, Inc.                                         Contingent
          101 W. McKnight Way                                                 Unliquidated
          Grass Valley,, CA 95354                                             Disputed
          Date(s) debt was incurred 7/1/17-9/30/17
                                                                             Basis for the claim:    AED Monitoring
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,968.26
          Directv                                                             Contingent
          PO Box 60036                                                        Unliquidated
          Los Angeles, CA 90060-0036                                          Disputed
          Date(s) debt was incurred 1/12/19-8/12/19
                                                                             Basis for the claim:    Television Service
          Last 4 digits of account number 9650
                                                                             Is the claim subject to offset?    No  Yes
 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $358.99
          Dish Network                                                        Contingent
          PO Box 94063                                                        Unliquidated
          PALATINE,, IL 60094-4063                                            Disputed
          Date(s) debt was incurred 3/25/19
                                                                             Basis for the claim:    Television Service
          Last 4 digits of account number 9672
                                                                             Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $48,756.47
          DLA Piper LLP                                                       Contingent
          P.O Box 75190                                                       Unliquidated
          Baltimore,, MD 21275                                                Disputed
          Date(s) debt was incurred 6/13/19-8/7/19
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $39,453.00
          Donahue Fitzgerald Attorneys                                        Contingent
          1999 Harrison St, 25th Fl                                           Unliquidated
          Oakland,, CA 94612                                                  Disputed
          Date(s) debt was incurred 9/10/18
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Eastman Roofing & Waterproofing, Inc.                               Contingent
          1418 Douglas Street                                                 Unliquidated
          San Jose, CA 95126                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Roof Repair. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Pleasanton Fitness, LLC                                                                 Case number (if known)            19-41949
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 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          El Monte Shopping Center                                            Contingent
          41 La Encinal                                                       Unliquidated
          Orinda,, CA 94563                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,527.40
          Elevator Industries                                                 Contingent
          110 Main St                                                         Unliquidated
          Sacramento, CA 95838                                                Disputed
          Date(s) debt was incurred 1/15/19-4/30/19
                                                                             Basis for the claim:    Elevator Repair
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Emser Tile                                                          Contingent
          8431 Santa Monica Blvd                                              Unliquidated
          Los Angeles, CA 90069                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tile Supplier. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Energy Retrofit Co.                                                 Contingent
          27363 Via Industria                                                 Unliquidated
          Temecula,, CA 92590                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Lighting Company. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          EPC Water                                                           Contingent
          P.O Box 725                                                         Unliquidated
          GILROY,, CA 95021-0725                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $349,000.00
          Ethan Conrad Properties, Inc.                                       Contingent
          1300 National Dr., Ste 100                                          Unliquidated
          Sacramento, CA 95834                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord Rent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Exxell Fire Systems                                                 Contingent
          360 Grand Ave, Suite 355                                            Unliquidated
          Oakland,, CA 94610                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Facchino-LaBarbera Hacienda Gardens                                 Contingent
          c/o Terracommercial Real Estate                                     Unliquidated
          873 Blossom Hill Road                                               Disputed
          San Jose,, CA 95123
                                                                             Basis for the claim:    Rent Arrears
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Fahrens Park LLC                                                    Contingent
          3368 N State Highway 59 Suite L                                     Unliquidated
          Merced,, CA 95348                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent Arrears
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Fairfield Gateway, LP                                               Contingent
          c/o Crosspoint Realty Services                                      Unliquidated
          P.O Box 7365                                                        Disputed
          San Francisco, CA 94120-7365
                                                                             Basis for the claim:    Landlord. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Fairfield Safe & Lock Co                                            Contingent
          811 Missouri Street                                                 Unliquidated
          Fairfield, CA 94533                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Locksmith Service. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Farbstein & Blackman                                                Contingent
          411 Borel Ave, Ste 425                                              Unliquidated
          San Mateo,, CA 94402                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $300.00
          Fifteen Dollar Sewer and Drain                                      Contingent
          P.O. Box 26942                                                      Unliquidated
          San Jose,, CA 95159-6942                                            Disputed
          Date(s) debt was incurred 7/31/17
                                                                             Basis for the claim:    Plumbing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          File & ServeXpress LLC                                              Contingent
          PO Box 679058                                                       Unliquidated
          Dallas,, TX 75267                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Final Cut Media                                                     Contingent
          1720 G Street                                                       Unliquidated
          Modesto,, CA 95354                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Marketing. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $84,217.45
          Findmembers Inc.                                                    Contingent
          12920 NE 140th St                                                   Unliquidated
          Kirkland,, WA 98034                                                 Disputed
          Date(s) debt was incurred  3/1/18-4/1/18
                                                                             Basis for the claim:    Marketing
          Last 4 digits of account number 3379
                                                                             Is the claim subject to offset?    No  Yes
 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Firecode Safety Equipment, Inc.                                     Contingent
          3722 W. Pacific Avenue                                              Unliquidated
          Sacramento, CA 95820                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fire Maintenance. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          FireMaster                                                          Contingent
          PO Box 121019                                                       Unliquidated
          Dallas, TX 75312-1019                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fire Maintenance. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Fireshield                                                          Contingent
          7450 Dowdy St, Suite C                                              Unliquidated
          Gilroy, CA 95020                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fire Maintenance. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          First American Title Company                                        Contingent
          2425 E Camelback Road Ste 300                                       Unliquidated
          Phoenix,, AZ 85016                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Title Company. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          First Insurance                                                     Contingent
          P.O. Box 7000                                                       Unliquidated
          Carol Stream,, IL 6097-7000                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          First View                                                          Contingent
          301 Commerce Street, Ste. 1400                                      Unliquidated
          Fort Worth, TX 76102                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card Processing. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Fitzpatrick & Swanston                                              Contingent
          555 S Main Street                                                   Unliquidated
          Salinas, CA 93901                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Lawsuit Settlement. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $199,000.00
          Folsom Zinfandel Partners, LLC                                      Contingent
          1448 15th Street, Ste 100                                           Unliquidated
          Santa Monica, CA 90404                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord - Rent Arrears
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $280.00
          Foothill Fire Protection                                            Contingent
          5948 King Rd                                                        Unliquidated
          Loomis, CA 95650                                                    Disputed
          Date(s) debt was incurred 4/1/19-6/4/19
                                                                             Basis for the claim:    Fire Monitoring
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,427.50
          Freeman Mathis & Gary LLP                                           Contingent
          100 Galleria Parkway Suite 1600                                     Unliquidated
          Atlanta, GA 30339-5948                                              Disputed
          Date(s) debt was incurred 6/19/19-8/26/19
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,566.10
          Fresno County Treasurer                                             Contingent
          PO Box 11867                                                        Unliquidated
          Fresno,, CA 93775                                                   Disputed
          Date(s) debt was incurred 4/5/17-12/4/17
                                                                             Basis for the claim:    Pool Permit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $105.00
          Fresno Fire Department                                              Contingent
          Payment Processing Services                                         Unliquidated
          911 H Street                                                        Disputed
          Fresno, CA 93721-3083
                                                                             Basis for the claim:    Fire Inspections
          Date(s) debt was incurred 4/22/19
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Gateway Fire Equipment                                              Contingent
          P. O. Box 2168                                                      Unliquidated
          Merced,, CA 95344                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fire Maintenance. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $58,500.00
          Geil Enterprices                                                    Contingent
          dba Janitorial Inc                                                  Unliquidated
          1945 N Helm Ave, Ste 102                                            Disputed
          Fresno,, CA 93727
                                                                             Basis for the claim:    Janitorial Services - Settlement
          Date(s) debt was incurred 8/1/19
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          General Plumbing Supply                                             Contingent
          6085 Brentwood Blvd.                                                Unliquidated
          Brentwood, CA 94513                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Plumbing Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Geneva Capital                                                      Contingent
          522 Broadway Stree, Suite 4                                         Unliquidated
          Alexandria, MN 56308                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment Lease. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,861.24
          Genie Pool & Spa Service Inc                                        Contingent
          3641-C Charter Park Dr                                              Unliquidated
          San jose,, CA 95136                                                 Disputed
          Date(s) debt was incurred 11/1/17-12/1/17
                                                                             Basis for the claim:    Pool Maintenance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Geno's Landscape Services                                           Contingent
          3096 Glen Canyon Road                                               Unliquidated
          Scotts Valley,, CA 95066                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landscaping. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,437,778.93
          GGD Oakdale, LLC                                                    Contingent
          101 E. Vineyard Avenue, Suite 201                                   Unliquidated
          Livermore, CA 94550                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Gilton Solid Waste Management                                       Contingent
          755 S Yosemite                                                      Unliquidated
          Oakdale, Ca 95361                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $173,388.55
          Global Capital Management Corp.                                     Contingent
          P.O. Box 527                                                        Unliquidated
          Burlingame, CA 94011                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord - Rent Arrears
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,170.00
          Global Fire Monitoring                                              Contingent
          P.O. Box 578040                                                     Unliquidated
          Modesto,, CA 95357-8040                                             Disputed
          Date(s) debt was incurred 9/1/17-5/1/18
                                                                             Basis for the claim:    Fire Monitoring
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Glotrade s.r.o.                                                     Contingent
          1321 Upland Drive, Suite 8441                                       Unliquidated
          Houston,, TX 77043-4718                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Filing Fees. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Golden Bear Fire Extinguisher, Inc                                  Contingent
          8352 Church St Ste A#11                                             Unliquidated
          Gilroy,, CA 95020                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fire Maintenance. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Golden State Water Company                                          Contingent
          PO Box 9016                                                         Unliquidated
          San Dimas, CA 91773-9016                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Gong's Market of Sanger, Inc.                                       Contingent
          Attn: Debbie Gong                                                   Unliquidated
          1825 Academy Ave                                                    Disputed
          Sanger,, CA 93687
                                                                             Basis for the claim:    Rent Arrears
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,370.03
          Gordon & Rees, LLP                                                  Contingent
          Attn: Accounts Payable                                              Unliquidated
          1111 Broadway, Suite 1700                                           Disputed
          Oakland, CA 94607
                                                                             Basis for the claim:    Legal Services
          Date(s) debt was incurred 12/18/18-8/22/19
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $165.10
          Gordon C. Walthall                                                  Contingent
          1731 Howe Ave Ste 623                                               Unliquidated
          Sacramento,, CA 95825                                               Disputed
          Date(s) debt was incurred 10/6/17
                                                                             Basis for the claim:    Facility Repairs.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Gowans Printing Company                                             Contingent
          1310 H Street                                                       Unliquidated
          Modesto, CA 95354-2428                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Printing Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Grainger                                                            Contingent
          100 Grainger Pkwy                                                   Unliquidated
          Lake Forest, IL 60045                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Maintenance Supplies. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $331.40
          GSO                                                                 Contingent
          P.O Box 1907                                                        Unliquidated
          San Ramon, CA 94583                                                 Disputed
          Date(s) debt was incurred 8/15/19
                                                                             Basis for the claim:    Shipping
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Guardian Alarm                                                      Contingent
          PO Box 320875                                                       Unliquidated
          Los Gatos,, CA 95032                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Alarm Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,528.80
          HAAS Graphics                                                       Contingent
          2010 N Wilson Way                                                   Unliquidated
          Stockton,, CA 95205                                                 Disputed
          Date(s) debt was incurred      7/26/17-7/31/17                     Basis for the claim:    Marketing Materials
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $450.00
          HammerHead Pools                                                    Contingent
          PO Box 1867                                                         Unliquidated
          Rancho Cordova,, CA 95741                                           Disputed
          Date(s) debt was incurred 10/1/17
                                                                             Basis for the claim:    Pool Maintenance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Hansen Enterprises                                                  Contingent
          PO Box 2512                                                         Unliquidated
          Paso Robles,, CA 93447                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Alarm Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Headwaters Construction Inc.                                        Contingent
          50 Fullerton Court, Ste 203                                         Unliquidated
          Sacramento,, CA 95825                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Construction. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Health & Fitness Trust                                              Contingent
          c/o Joe Gigantino                                                   Unliquidated
          1477 Dry Creek Road                                                 Disputed
          San Jose,, CA 95125
                                                                             Basis for the claim:    Landlord. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $540.00
          Hermenegildo Bautista                                               Contingent
          3926 N Safford Ave                                                  Unliquidated
          Fresno,, CA 93704                                                   Disputed
          Date(s) debt was incurred 9/28/17-11/30/17
                                                                             Basis for the claim:    Landscaping Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Herndon Village Center, LLC                                         Contingent
          c/o Dana Butcher Assoc                                              Unliquidated
          1690 W Shaw Ave, Suite 200                                          Disputed
          Fresno, Ca 93720
                                                                             Basis for the claim:    Landlord. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $49,332.66
          Hillyard / Sacramento                                               Contingent
          PO Box 801400                                                       Unliquidated
          Kansas City,, MO 64180-1400                                         Disputed
          Date(s) debt was incurred 5/23/19-8/26/19
                                                                             Basis for the claim:    Janitorial Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Hoffman Electric Systems                                            Contingent
          2301 Aviation Dr                                                    Unliquidated
          Atwater,, CA 95301                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Alarm Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          HPC Hallmark Investors, LP                                          Contingent
          18321 Ventura Blvd, Ste 980                                         Unliquidated
          Los Angeles,, CA 91356                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent Arrears
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $92,465.00
          IHeartMedia, Inc.                                                   Contingent
          3400 W Olive Ave., #550                                             Unliquidated
          Burbank, CA 91505                                                   Disputed
          Date(s) debt was incurred 4/29/18-7/4/18
                                                                             Basis for the claim:    Marketing
          Last 4 digits of account number 6107
                                                                             Is the claim subject to offset?    No  Yes
 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Image Imprint                                                       Contingent
          AIA Corporation                                                     Unliquidated
          P.O. Box 31001-1900                                                 Disputed
          Pasadena, CA 91110-1900
                                                                             Basis for the claim:    Marketing Materials. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Island Escavation                                                   Contingent
          P.O Box 10251                                                       Unliquidated
          South Lake Tahoe,, CA 96158                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Snow Removal. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,234.81
          Island Oasis                                                        Contingent
          P.O. Box 846186                                                     Unliquidated
          Boston,, MA 02284-6186                                              Disputed
          Date(s) debt was incurred 8/1/17
                                                                             Basis for the claim:    Juicebar Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $600.00
          J & L Pro Kleen                                                     Contingent
          PO Box 2524                                                         Unliquidated
          So. Lake Tahoe,, CA 96158                                           Disputed
          Date(s) debt was incurred 3/19/18
                                                                             Basis for the claim:    Snow Removal
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          J & S Management                                                    Contingent
          702 Marshall St., Suite 420                                         Unliquidated
          Redwood City,, CA 94064                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent Arrears
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          J Plus Architects                                                   Contingent
          3838 Watt Ave., Suite D410                                          Unliquidated
          Sacramento,, CA 95821                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Architecture Design. For Notice Purpose Only.
          Last 4 digits of account number       0400
                                                                             Is the claim subject to offset?    No  Yes
 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jakes Plumbing Services                                             Contingent
          10830 1st St                                                        Unliquidated
          Gilroy,, CA 95020                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Plumbing Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James Pilcher Construction                                          Contingent
          4010 Lakeview Dr.                                                   Unliquidated
          Shingle Springs,, CA 95682                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Facility Repairs. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $400.00
          JB & Sons Landscaping                                               Contingent
          1044 Jacquelinelee Drive                                            Unliquidated
          Turlock,, CA 00098-1595                                             Disputed
          Date(s) debt was incurred 5/10/19
                                                                             Basis for the claim:    Landscaping Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jerico Fire Protection Company Inc.                                 Contingent
          1380 N. Hulbert Ave                                                 Unliquidated
          Fresno,, CA 93728                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fire Maintenance. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jerry Smith                                                         Contingent
          3563 Bode Drive                                                     Unliquidated
          South Lake Tahoe,, CA 96150                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Facility Repairs. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $257.15
          Jerry's Plumbing & Heating                                          Contingent
          319 N. Russell Ave.                                                 Unliquidated
          Santa Maria,, CA 93458                                              Disputed
          Date(s) debt was incurred 7/9/18
                                                                             Basis for the claim:    Plumbing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          JG Concrete Construction                                            Contingent
          25 Hollywood Ave                                                    Unliquidated
          Vallejo, CA 94591                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Construction. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $785.03
          JK Spa Repair                                                       Contingent
          PO Box 483                                                          Unliquidated
          Los Gatos,, Ca 95031                                                Disputed
          Date(s) debt was incurred 12/31/18
                                                                             Basis for the claim:    Spa Part Orders
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Joe Garcia Construction                                             Contingent
          PO Box 18331                                                        Unliquidated
          So. Lake Tahoe,, CA 96151                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Construction. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Joey's Glass and Tint                                               Contingent
          200 N Gateway Suite 102                                             Unliquidated
          Madera,, CA 93637                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Glass Repair. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jorgensen Company                                                   Contingent
          P.O Box 398655                                                      Unliquidated
          San Francisco,, CA 94139-8655                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fire Maintenance. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,000.00
          Just Fitness Staffing, LLC                                          Contingent
          2023 North Cheremoya Avenue                                         Unliquidated
          Los Angeles,, CA 90068                                              Disputed
          Date(s) debt was incurred 8/22/18
                                                                             Basis for the claim:    Recruiter
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $42,117.13
          K5 Signs & Graphics                                                 Contingent
          4590 Qantas Lane, Suite A4                                          Unliquidated
          Stockton, CA 95206                                                  Disputed
          Date(s) debt was incurred 11/4/18-1/12/19
                                                                             Basis for the claim:    Branding
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Keene Enterprises                                                   Contingent
          3805 Bugatti Way                                                    Unliquidated
          Modesto,, CA 95356                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Construction. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ken Moland                                                          Contingent
          PO Box 30340                                                        Unliquidated
          Spokane,, WA 99223                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Tax Accountant. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ken's Plumbing                                                      Contingent
          159 Sabina Way                                                      Unliquidated
          Aptos,, CA 95003                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Plumbing Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kidder Mathews LLC                                                  Contingent
          1201 Pacific Ave, Suite 1400                                        Unliquidated
          Tacoma,, WA 98402                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Lease Broker. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $708.88
          Kings County Tax Collector                                          Contingent
          Attn: James P. Erb, CPA                                             Unliquidated
          1400 W. Lacey Blvd.                                                 Disputed
          Hanford, CA 93230
                                                                             Basis for the claim:    Taxes
          Date(s) debt was incurred 2019-2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $896.00
          Kodiak Roofing & Waterproofing Co.                                  Contingent
          8825 Washington Blvd, Ste 100                                       Unliquidated
          Roseville,, CA 95678                                                Disputed
          Date(s) debt was incurred 1/31/19
                                                                             Basis for the claim:    Roof Repair
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,096.51
          KONE                                                                Contingent
          15021 Wicks Blvd                                                    Unliquidated
          San Leandro, CA 94577                                               Disputed
          Date(s) debt was incurred 7/31/17-9/6/18
                                                                             Basis for the claim:    Elevator Repairs
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,973.00
          KSFM-FM/CBS Radio                                                   Contingent
          PO Box 100182                                                       Unliquidated
          Pasadena,, CA 91189-0182                                            Disputed
          Date(s) debt was incurred 3/31/17-5/31/17
                                                                             Basis for the claim:    Radio Advertising
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          LaDera Property Management                                          Contingent
          Po Box 60653                                                        Unliquidated
          Santa Barbara,, CA 93160                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Electrical Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $257.00
          Lake Tahoe Plumbing & Heating Inc                                   Contingent
          1611 Shop St. #2A                                                   Unliquidated
          South Lake Tahoe,, CA 96150                                         Disputed
          Date(s) debt was incurred 6/18/19
                                                                             Basis for the claim:    Plumbing Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Lakeside Paving & Sealing, Inc.                                     Contingent
          PO Box 924                                                          Unliquidated
          Carnelian Bay,, CA 96140                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Construction. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Law Office of Kevin T. Barnes Client                                Contingent
          1635 Pontius Ave., Second Floor                                     Unliquidated
          Los Angeles,, CA 90025                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Lawsuit Settlement. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Law Office of Todd M. Friedman P.C.                                 Contingent
          324 S Beverly Blvd, Suite 725                                       Unliquidated
          Beverly Hills, CA 90212                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Lawsuit Settlement. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,800.00
          Law Offices of David S. Pearson Trust                               Contingent
          48 Kingston Place                                                   Unliquidated
          Walnut Creek,, CA 94597                                             Disputed
          Date(s) debt was incurred 5/3/19
                                                                             Basis for the claim:    Lawsuit Settlement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,627.20
          LeesAir.com                                                         Contingent
          5456 W Mission Ave                                                  Unliquidated
          Fresno,, CA 93722                                                   Disputed
          Date(s) debt was incurred      7/6/17-11/4/17                      Basis for the claim:    HVAC Repair
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          LeFever Mattson Property Managemen                                  Contingent
          C/O Dena Pratt                                                      Unliquidated
          6359 Auburn Blvd. Ste. B                                            Disputed
          Citrus Heights,, CA 95621
                                                                             Basis for the claim:    Landlord. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Legacy Roofing & Waterproofing Inc.                                 Contingent
          1698 Rogers Avenue #10                                              Unliquidated
          San Jose,, CA 95112                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Roof Repair. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Les Mills                                                           Contingent
          Attn: Dan Murphy                                                    Unliquidated
          2860 S River Rd #200                                                Disputed
          Des Planes, IL 60018
                                                                             Basis for the claim:    Licensing. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Leslie's Pool Supplies, Inc.                                        Contingent
          PO Box 501162                                                       Unliquidated
          St Louis,, MO 63150-1162                                            Disputed
          Date(s) debt was incurred 17692307
                                                                             Basis for the claim:    Pool Supplier. For Notice Purpose Only.
          Last 4 digits of account number 2307
                                                                             Is the claim subject to offset?    No  Yes
 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,908.54
          Liberty Utilities                                                   Contingent
          933 Eloise Ave.                                                     Unliquidated
          South Lake Tahoe,, CA 96150                                         Disputed
          Date(s) debt was incurred 8/13/19
                                                                             Basis for the claim:    Utility
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Life Fitness                                                        Contingent
          2716 Network Place                                                  Unliquidated
          Chicago,, IL 60673-1271                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment Leases. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,634.44
          Linear Electronic Design, Inc.                                      Contingent
          4460 W Shaw Suite #199                                              Unliquidated
          Fresno, CA 93722                                                    Disputed
          Date(s) debt was incurred 6/25/18-9/7/18
                                                                             Basis for the claim:    AV Technician
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Long Pest Control Inc                                               Contingent
          3402 So Washington St                                               Unliquidated
          Tacoma,, WA 98409                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Pest Control Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $227.00
          Madera County Env. Health Division                                  Contingent
          200 W. 4th St., Suite 3100                                          Unliquidated
          Madera,, CA 93637                                                   Disputed
          Date(s) debt was incurred 10/23/17
                                                                             Basis for the claim:    Pool Permit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $122.00
          Madera County Tax Collector                                         Contingent
          200 W 4th Stree, 2nd Floor                                          Unliquidated
          Madera,, CA 93637                                                   Disputed
          Date(s) debt was incurred 3/15/17-5/1/17
                                                                             Basis for the claim:    Business License Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Manteca Lifestyle Center                                            Contingent
          PO Box 975500                                                       Unliquidated
          Dallas,, TX 75397-5500                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Maranata Landscaping                                                Contingent
          935 Matterhorn Ct                                                   Unliquidated
          milpitas,, CA 95035                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landscaping Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,264.00
          Mark Giles Landscape Company                                        Contingent
          87 Alder Avenue                                                     Unliquidated
          Walnut Creek, CA 94595                                              Disputed
          Date(s) debt was incurred 11/30/17-1/31/18
                                                                             Basis for the claim:    Landscaping Services.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Marthedal Solar Air & Heating                                       Contingent
          1441 N Thesta                                                       Unliquidated
          Fresno,, CA 93703                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC Repair Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,768.00
          Martin Plumbing                                                     Contingent
          1221 Post Rd Ste C                                                  Unliquidated
          Oakdale,, CA 95361                                                  Disputed
          Date(s) debt was incurred      6/5/17-12/27/17                     Basis for the claim:    Plumbing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $42,484.25
          MAS Service/JB Mechanical Inc                                       Contingent
          5542 Brisa Street Suite H                                           Unliquidated
          Livermore,, CA 94550                                                Disputed
          Date(s) debt was incurred 8/22/17-10/17/17
                                                                             Basis for the claim:    HVAC Repair Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Masellis LLC                                                        Contingent
          119 Albers Road                                                     Unliquidated
          Modesto,, CA 95357                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $278.98
          Meeks Lumber & Hardware                                             Contingent
          2763 Lake Tahoe Blvd                                                Unliquidated
          South Lake Tahoe,, CA 96150                                         Disputed
          Date(s) debt was incurred 11/1/17-3/31/18
                                                                             Basis for the claim:    Repair Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Mendoza's Unlimited Upholstery                                      Contingent
          201 S Broadway                                                      Unliquidated
          Turlock,, CA 95380                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Upholstery Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Merced Irrigation District                                          Contingent
          744 W. 20TH STREET                                                  Unliquidated
          Merced,, CA 95344                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michael H Martinez                                                  Contingent
          1131 S. Russell Ave. Apt 43                                         Unliquidated
          Santa Maria, CA 93458                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    HVAC Maintenance. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Mid Cal Moving & Storage Company                                    Contingent
          607 N Carlton Ave, Suite B                                          Unliquidated
          Stockton, CA 95203                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Moving Company. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Mid Valley Alarm                                                    Contingent
          P.O. BOX 1770                                                       Unliquidated
          CLOVIS,, CA 93613-1770                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Alarm Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          MID Valley Disposal                                                 Contingent
          PO Box 12227                                                        Unliquidated
          Fresno,, CA 93777                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          MID-State Flooring & Prep Inc.                                      Contingent
          13264 E Saginaw Way                                                 Unliquidated
          Sanger, CA 93657                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Construction. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Midwest Insurance Company                                           Contingent
          300 S Bradfordton Rd.                                               Unliquidated
          Springfield, IL 62711                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance Company. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Milpitas Sanitation                                                 Contingent
          P.O. Box 1738                                                       Unliquidated
          San Leandro,, CA 94577                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,549.37
          MLSA Landscape Architecture                                         Contingent
          306 Canyon Falls Drive                                              Unliquidated
          Folsom,, CA 95630                                                   Disputed
          Date(s) debt was incurred 7/27/18-8/27/18
                                                                             Basis for the claim:    Architectural Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Modern Painting                                                     Contingent
          Attn: Jeremy Jacobs                                                 Unliquidated
          934 Perimeter Drive                                                 Disputed
          Manteca,, CA 95337
                                                                             Basis for the claim:    Painting Services. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Modesto Irrigation District                                         Contingent
          P.O. Box 398018                                                     Unliquidated
          San Francisco, CA 94139-8018                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Modesto On Ice, LLC                                                 Contingent
          2910 W Thorndale Loop                                               Unliquidated
          Coeur d' Alene,, ID 83815                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Advertising. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Monterey Bay Pool & Spa                                             Contingent
          P.O. Box 1745                                                       Unliquidated
          Freedom,, CA 95019                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Pool Maintenance. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $67.78
          Monterey City Disposal                                              Contingent
          PO Box 2780                                                         Unliquidated
          Monterey,, CA 93942-2780                                            Disputed
          Date(s) debt was incurred 8/7/19
                                                                             Basis for the claim:    Utility
          Last 4 digits of account number 9349
                                                                             Is the claim subject to offset?    No  Yes




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 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Monterey County Enviro Health                                       Contingent
          1270 Natividad Rd                                                   Unliquidated
          Salinas,, CA 93906                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Pool Permit. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Monterey Fire Extinguisher                                          Contingent
          PO Box 1441                                                         Unliquidated
          Monterey,, CA 93942-1441                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fire Maintenance. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $388.64
          Monterey One Water                                                  Contingent
          P.O. BOX 2109                                                       Unliquidated
          Monterey, CA 93942-2109                                             Disputed
          Date(s) debt was incurred 7/8/19
                                                                             Basis for the claim:    Utility
          Last 4 digits of account number 9866
                                                                             Is the claim subject to offset?    No  Yes
 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,416.25
          Mood Pandora                                                        Contingent
          DMX LLC                                                             Unliquidated
          P.O Box 602777                                                      Disputed
          Charlotte, NC 28260
                                                                             Basis for the claim:    Music Provider
          Date(s) debt was incurred      6/29/18-7/2/19
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,187.50
          Moon & Yang                                                         Contingent
          Attn: Diba Rastegar                                                 Unliquidated
          633 West Fifth Street, 52nd Floor                                   Disputed
          Los Angeles,, CA 90071
                                                                             Basis for the claim:    Lawsuit Settlement
          Date(s) debt was incurred 5/24/19
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $65.00
          Mountain Valley Environmental Services                              Contingent
          21089 Forest Glen Rd.                                               Unliquidated
          Madera, CA 93638                                                    Disputed
          Date(s) debt was incurred 6/25/18
                                                                             Basis for the claim:    Plumbing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Mr. Rooter Plumbing                                                 Contingent
          8701 Kiefer Blvd                                                    Unliquidated
          Sacramento,, CA 95826                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Plumbing. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $723.50
          Mr. Rooter Plumbing-San Jose                                        Contingent
          P.O Box 2G                                                          Unliquidated
          San Jose, CA 95109                                                  Disputed
          Date(s) debt was incurred 4/11/19
                                                                             Basis for the claim:    Plumbing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Mt. Diablo Resource Recovery-Concord                                Contingent
          PO BOX 5397                                                         Unliquidated
          Concord,, CA 94524-0397                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities. For Notice Purpose Only.
          Last 4 digits of account number       5685
                                                                             Is the claim subject to offset?    No  Yes
 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $177,614.50
          Muscle Up Marketing                                                 Contingent
          11675 Rainwater Dr, Ste 675                                         Unliquidated
          Alpharetta,, GA 30009                                               Disputed
          Date(s) debt was incurred 10/31/18-1/30/19
                                                                             Basis for the claim:    Marketing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Name Tag Country                                                    Contingent
          1899 Dayton Blvd.                                                   Unliquidated
          Chattanooga, TN 37415                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Marketing Material. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          National Fire Systems, Inc.                                         Contingent
          8521 Morrison Creek Drive                                           Unliquidated
          Sacramento,, CA 95828                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fire Maintenance. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          National Gym Supply                                                 Contingent
          5500 W 83rd St.                                                     Unliquidated
          Los Angeles, CA 90045                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment Repair. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Nelson & Sons Electric                                              Contingent
          401 N Walnut Road                                                   Unliquidated
          Turlock,, Ca 95380                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Electricial Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Netpulse                                                            Contingent
          560 Fletcher Drive                                                  Unliquidated
          Atherton,, CA 94027                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Marketing. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,000.00
          Newman & Broomand LLP                                               Contingent
          2360 East Bidwell St. Ste 100                                       Unliquidated
          Folsom,, CA 95630                                                   Disputed
          Date(s) debt was incurred 2/28/18-4/30/18
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Nickell Fire Protection, Inc                                        Contingent
          946 N. 7th Street                                                   Unliquidated
          San Jose,, CA 95112                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fire Maintenance. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,508.67
          NOI Inc.                                                            Contingent
          112 Salinas Drive                                                   Unliquidated
          Vacaville, CA 95688                                                 Disputed
          Date(s) debt was incurred      5/14/19                             Basis for the claim:    Lawsuit Settlement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $69,536.10
          Nomoto Investments, LLC                                             Contingent
          P.O. Box 3007                                                       Unliquidated
          Beverly Hills,, CA 90212                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord - Note Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Norcal Flooring                                                     Contingent
          P.O. Box 457                                                        Unliquidated
          Fairfield, CA 94533
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Flooring Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          NorCal Lock Smith                                                   Contingent
          2351 Sunset Blvd Suite 170-751                                      Unliquidated
          Rocklin,, CA 95765                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Locksmith Service. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          North County Backflow                                               Contingent
          Steve Sandeffer                                                     Unliquidated
          P.O Box 1281                                                        Disputed
          Templeton,, CA 93465
                                                                             Basis for the claim:    Plumbing. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Nu-Life                                                             Contingent
          1020 W. Betteravia #D                                               Unliquidated
          Santa Maria,, CA 93455                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Construction. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,473.39
          NW Branding Group                                                   Contingent
          14419 Greenwood Ave N #A-347                                        Unliquidated
          Seattle,, WA 98133                                                  Disputed
          Date(s) debt was incurred 10/11/18-3/20/19
                                                                             Basis for the claim:    Sign Construction
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          On-Site Upholstery Inc                                              Contingent
          dba Mobile Repair Services                                          Unliquidated
          5930 Running Hills Ave                                              Disputed
          Livermore,, CA 94551
                                                                             Basis for the claim:    Upholstery. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,404.30
          OnTrac                                                              Contingent
          250 Utah Ave                                                        Unliquidated
          South San Francisco,, CA 94080                                      Disputed
          Date(s) debt was incurred 8/11/18-10/24/18
                                                                             Basis for the claim:    Shipping
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          ORKIN Pest Control                                                  Contingent
          P.O. Box 7161                                                       Unliquidated
          Pasadena,, CA 91109-7161                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Pest Control. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $136,134.30
          Ortloff Management
          c/o Terpstra Henderson                                              Contingent
          Attn: Stacy Henderson                                               Unliquidated
          578 N Wilma Avenue, Ste. A                                          Disputed
          Ripon, CA 95366
                                                                             Basis for the claim:    Landlord - Rent
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          OT Electrical                                                       Contingent
          1925 Warner Ave                                                     Unliquidated
          Oakland,, CA 94603                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Electrical Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Othon's Golden State Art Works                                      Contingent
          9120 Greenback Ln                                                   Unliquidated
          Orangevale,, CA 95662-4706                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Glass Repair. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Pachulski Stang Ziehl & Jones LLP                                   Contingent
          150 California St., 15th Floor                                      Unliquidated
          San Francisco, CA 94111-4500                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $126,518.70
          Pacific Gas and Electric                                            Contingent
          PO Box 997300                                                       Unliquidated
          Sacramento,, CA 95899-7300                                          Disputed
          Date(s) debt was incurred 6/10/19-8/6/19
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number 1443
                                                                             Is the claim subject to offset?    No  Yes
 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,138.37
          Pacific Gas and Electric                                            Contingent
          PO Box 997300                                                       Unliquidated
          Sacramento,, CA 95899-7300                                          Disputed
          Date(s) debt was incurred 6/7/19-8/6/19
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number 3842
                                                                             Is the claim subject to offset?    No  Yes
 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $274.05
          Pacific Heating and Sheet Metal                                     Contingent
          1600 Main Street                                                    Unliquidated
          Morro Bay,, CA 93442                                                Disputed
          Date(s) debt was incurred 11/7/18
                                                                             Basis for the claim:    HVAC Repair
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $70,200.00
          Paragon Legal PC                                                    Contingent
          601 California Street, Suite 615                                    Unliquidated
          San Francisco,, CA 94108                                            Disputed
          Date(s) debt was incurred 7/31/18-9/1/18
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $220.00
          Pawnee Leasing Corporation                                          Contingent
          3801 Automation Wy #207                                             Unliquidated
          Fort Collins, CO 80525                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Equipment Lease. For Notice Purpose Only.
          Last 4 digits of account number       2152
                                                                             Is the claim subject to offset?    No  Yes
 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Paylocity Corp                                                      Contingent
          3850 N Wilke Road                                                   Unliquidated
          Arlington Heights, IL 60004                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Payroll Provider. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Peninsula Pool Service                                              Contingent
          575 Hannon Ave                                                      Unliquidated
          Monterey,, CA 93940                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Pool Maintenance. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Perry Communication Group Inc.                                      Contingent
          980 9th Street, Ste. 1450                                           Unliquidated
          Sacramento, CA 95814-2734                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Fees. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Pest Protection Svcs                                                Contingent
          601 Gracie Lane                                                     Unliquidated
          Brentwood,, CA 94513                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Pest Control. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Pestman Termite & Pest Control                                      Contingent
          P.O. Box 7962                                                       Unliquidated
          Visalia,, CA 93290                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Pest Control. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Philadelphia Insurance Companies                                    Contingent
          PO Box 70251                                                        Unliquidated
          Philadelphia,, PA 19176-0251                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Pittman Engineering                                                 Contingent
          1050 Opportunity Drive # 120                                        Unliquidated
          Roseville,, CA 95678                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Engineering. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Plaza Rubino, LLC                                                   Contingent
          4670 Willow Road Suite 200                                          Unliquidated
          Pleasanton,, CA 94588                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Plumbing MD, Inc.                                                   Contingent
          955 Business Park Drive                                             Unliquidated
          Dixon,, CA 95620                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Plumbing. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,087.00
          PMG Heating & Air                                                   Contingent
          469 Rotelli Street                                                  Unliquidated
          Manteca,, CA 95337                                                  Disputed
          Date(s) debt was incurred      8/1/19-8/5/19                       Basis for the claim:    HVAC Repair
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Pop-A-Lock                                                          Contingent
          12820 Cienege Rd                                                    Unliquidated
          Hollister,, CA 95028                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Locksmith. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Potential Electric                                                  Contingent
          2516 S Fruit Ave                                                    Unliquidated
          Fresno,, CA 93706                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Electrical Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $510.50
          Preferred Plumbing and Drain                                        Contingent
          4335 N Golden Gate Rd #102                                          Unliquidated
          Fresno,, CA 93722                                                   Disputed
          Date(s) debt was incurred 11/30/18-3/12/19
                                                                             Basis for the claim:    Plumbing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Premo Roofing                                                       Contingent
          PO Box 7355                                                         Unliquidated
          Spreckels,, CA 93962                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Roof Repair. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Priority 1 Electric                                                 Contingent
          1309 Silica Avenue                                                  Unliquidated
          Sacramento,, CA 95815-3308                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Electrical Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Pritam S. Grewal                                                    Contingent
          4219 Chaboya Hills Court                                            Unliquidated
          San Jose,, CA 95148                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent Arrears
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Pro Clean Janitorial Facility Services                              Contingent
          13 Pelican Dr.                                                      Unliquidated
          Watsonville,, CA 95076                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Janitorial Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          ProLease C/O LINK SYSTEMS, INC                                      Contingent
          One Dock Street                                                     Unliquidated
          Stamford,, CT 06902                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Lease Management. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Property Multipliers LLC                                            Contingent
          2291 W. March Lane Suite B-215                                      Unliquidated
          Stockton,, CA 95207                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent Arrears
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Proshred SFBA                                                       Contingent
          5635 West Las Positas Blvd., Suite 405                              Unliquidated
          Pleasanton,, CA 94588-4076                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Shred Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Punzalan Law, PC                                                    Contingent
          2000 Alameda de las Pulgas, Ste 154                                 Unliquidated
          San Mateo,, CA 94403                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ramirez Pest Management                                             Contingent
          1663 North Main St                                                  Unliquidated
          Salinas,, CA 93906                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Pest Control. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ramiro Ceja RGS Group Inc.                                          Contingent
          PO Box 1411                                                         Unliquidated
          Fresno,, CA 93716                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Construction. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ray's Gardening                                                     Contingent
          P.O. Box 1181                                                       Unliquidated
          Hilmar,, CA 95324                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landscaping. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Rayne of San Jose                                                   Contingent
          2941 Daylight Way                                                   Unliquidated
          San Jose,, CA 95111                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,854.83
          RBA Leasing                                                         Contingent
          c/o Bryn Mawr Equipment Finance                                     Unliquidated
          PO Box 692                                                          Disputed
          Bryn Mawr,, PA 19010
                                                                             Basis for the claim:    Equipment Lease
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Recology Dixon                                                      Contingent
          P.O. Box 60759                                                      Unliquidated
          Los Angeles,, CA 90060-0759                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Pleasanton Fitness, LLC                                                                 Case number (if known)            19-41949
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 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Recology South Valley                                               Contingent
          PO Box 60648                                                        Unliquidated
          Los Angeles,, CA 90060-0648                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Recology Vallejo                                                    Contingent
          PO Box 60759                                                        Unliquidated
          Los Angeles,, CA 90060-0759                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Republic Services                                                   Contingent
          P.O. Box 78829                                                      Unliquidated
          Phoenix, AZ 85062-8829                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          RFE Engineering, Inc.                                               Contingent
          2260 Douglas Blvd, Ste 160                                          Unliquidated
          Roseville,, CA 95661                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Construction. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          RingCentral, Inc.                                                   Contingent
          1400 Fashion Island Blvd Suite 700                                  Unliquidated
          San Mateo,, CA 94404                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Phone Provider. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robert Mitchell                                                     Contingent
          2626 W Alluvial                                                     Unliquidated
          Fresno,, CA 93711                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,640.21
          Roemke Electric                                                     Contingent
          320 Roxas St                                                        Unliquidated
          Santa Cruz,, CA 95062                                               Disputed
          Date(s) debt was incurred 2/10/19-3/1/19
                                                                             Basis for the claim:    Electrician
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Pleasanton Fitness, LLC                                                                 Case number (if known)            19-41949
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 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          ROI Commerical Roofing                                              Contingent
          8417 Washington Blvd #100                                           Unliquidated
          Roseville,, CA 95678                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Roof Repair. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Roseville FARP                                                      Contingent
          PO Box 749879                                                       Unliquidated
          Los Angeles,, CA 90074-9879                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Alarm Monitoring. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Roseville Fire Department                                           Contingent
          316 Vernon Street, #480                                             Unliquidated
          Roseville,, CA 95678                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fire Permit. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Roto Rooter                                                         Contingent
          2141 Industrial Court, Ste. B                                       Unliquidated
          Vista, CA 92801                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Plumbing. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Roto-Rooter                                                         Contingent
          1708 Enterprise Drive                                               Unliquidated
          Fairfield, CA 94533                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Plumbing. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $573.34
          Roto-Rooter Plumbers                                                Contingent
          356 Matthew Street                                                  Unliquidated
          Santa Clara,, CA 95050                                              Disputed
          Date(s) debt was incurred 11/11/17-5/31/18
                                                                             Basis for the claim:    Plumbing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          RT Golden Hills, LP                                                 Contingent
          6359 Auburn Blvd, Ste B                                             Unliquidated
          Citrus Heights, CA 95621                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent Arrears
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Pleasanton Fitness, LLC                                                                 Case number (if known)            19-41949
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 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $404.00
          Sacramento Consolidated Charities                                   Contingent
          6150 27th St, Suite B                                               Unliquidated
          Sacramento,, CA 95822                                               Disputed
          Date(s) debt was incurred 9/26/18-10/31/18
                                                                             Basis for the claim:    Parking Lot Maintenance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,676.13
          Sacramento County                                                   Contingent
          700 H Street, Room 171                                              Unliquidated
          Sacramento, CA 95814                                                Disputed
          Date(s) debt was incurred 7/12/18-7/13/18
                                                                             Basis for the claim:    Unsecured Property Tax
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,094.61
          Sacramento County Utility                                           Contingent
          PO Box 1804                                                         Unliquidated
          Sacramento, CA 95812                                                Disputed
          Date(s) debt was incurred 7/24/19
                                                                             Basis for the claim:    Utility
          Last 4 digits of account number 1255
                                                                             Is the claim subject to offset?    No  Yes
 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sacramento Metropolitan Fire District Co                            Contingent
          Risk Reduction Division                                             Unliquidated
          PO Box 269110                                                       Disputed
          Sacramento,, CA 95826
                                                                             Basis for the claim:    Inspections. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $981.20
          Sacramento Refrigeration Inc.                                       Contingent
          4731 Pell Dr. St.#1                                                 Unliquidated
          Sacramento, CA 95838                                                Disputed
          Date(s) debt was incurred 8/1/17
                                                                             Basis for the claim:    HVAC Maintenance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          San Francisco Elevator                                              Contingent
          6693 C Sierra Lane                                                  Unliquidated
          Dublin, CA 94568                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Elevator Repair. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          San Francisco Tax Collector                                         Contingent
          PO Box 7427                                                         Unliquidated
          San Francisco,, CA 94120-7427                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Property Taxes. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $844.67
          San Jose Boiler Works                                               Contingent
          1585 Schallenberger Rd                                              Unliquidated
          San Jose,, CA 95131                                                 Disputed
          Date(s) debt was incurred 1/31/18
                                                                             Basis for the claim:    Plumbing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          San Jose Fire Department                                            Contingent
          Bureau of Fire Prevention                                           Unliquidated
          200 East Santa Clara St., 2nd Fl.                                   Disputed
          San Jose,, CA 95113
                                                                             Basis for the claim:    Permits. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          San Jose Water                                                      Contingent
          110 W. Taylor Street                                                Unliquidated
          San Jose,, CA 95110-2131                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sand Creek Crossing LLC                                             Contingent
          PO Box 844578                                                       Unliquidated
          Los Angeles,, CA 90084-4578                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $512,015.32
          Sanjiv Kumar Chopra                                                 Contingent
          101 E Vineyard Avenue, Suite 201                                    Unliquidated
          Livermore, CA 94550                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loans
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,087.50
          Santa Clara County Health Dept                                      Contingent
          701 Ocean St, Ste 312                                               Unliquidated
          Santa Cruz,, CA 95060                                               Disputed
          Date(s) debt was incurred 1/15/19
                                                                             Basis for the claim:    Health Permits
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Santa Cruz County Environmental Health                              Contingent
          701 Ocean Street Suite 312                                          Unliquidated
          Santa Cruz,, CA 95060                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Pool Permit. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Santa Rita GRF2, LLC                                                Contingent
          973 Lomas Santa Fe Drive                                            Unliquidated
          Solona Beach,, CA 92075                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Scott Cole & Associates                                             Contingent
          Scott Edward Cole Esq.                                              Unliquidated
          1970 Broadway Fl. 9                                                 Disputed
          Oakland,, CA 84612-2228
                                                                             Basis for the claim:    Legal Fees. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Scott O' Brien Fire & Safety Co.                                    Contingent
          4325 Traffic Way                                                    Unliquidated
          Atascadero, CA 93422-3003                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fire Maintenance. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $475.00
          Searle Electric                                                     Contingent
          1101 A, Airport Road                                                Unliquidated
          Monterey,, CA 93940                                                 Disputed
          Date(s) debt was incurred      1/25/19                             Basis for the claim:    Electrician
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $300,000.00
          Security National Life Insurance Co.                                Contingent
          5300 S 360 West                                                     Unliquidated
          Salt Lake City, UT 84123                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Workers Compensation
          Last 4 digits of account number       2020
                                                                             Is the claim subject to offset?    No  Yes
 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Selective Insurance Company                                         Contingent
          P.O Box 782747                                                      Unliquidated
          Philadelphia,, PA 19178-2747                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sensiba San Filippo LLP                                             Contingent
          PO Box 11897                                                        Unliquidated
          Pleasanton,, CA 94588                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Accounting Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sentry Alarm Systems                                                Contingent
          8 Thomas Owens Way                                                  Unliquidated
          Monterey,, CA 93940                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Alarm Monitoring. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $365.28
          SF Contractor                                                       Contingent
          823 Fell St                                                         Unliquidated
          San Francisco,, CA 94117-2511                                       Disputed
          Date(s) debt was incurred 6/18/17
                                                                             Basis for the claim:    Facility Repair
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          SF Edison Partners LP                                               Contingent
          P.O. Box 57                                                         Unliquidated
          Roseville,, CA 95661                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Shane P McLinden Snow Removal                                       Contingent
          1547 Plateau Circle                                                 Unliquidated
          South Lake Tahoe, CA 96150                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Snow Removal. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $520.00
          Shinen Landscape                                                    Contingent
          18285 Road 23                                                       Unliquidated
          Madera,, CA 93637                                                   Disputed
          Date(s) debt was incurred      9/29-10/31/17                       Basis for the claim:    Landscaping
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Siegel & CO                                                         Contingent
          5305 N Fresno St. #108                                              Unliquidated
          Fresno,, CA 93710                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,570.00
          Sierra Pool Plastering and Tile, Inc                                Contingent
          635 Barstow Ave. Suite 14                                           Unliquidated
          Clovis,, CA 93612                                                   Disputed
          Date(s) debt was incurred 10/16/17
                                                                             Basis for the claim:    Pool Repair
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $270.00
          Signawest Systems                                                   Contingent
          7300 Central Avenue, Suite D                                        Unliquidated
          Newark, CA 94560                                                    Disputed
          Date(s) debt was incurred 4/15/19-8/1/19
                                                                             Basis for the claim:    Alarm Monitoring
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Silvia Rodriguez
          c/o Scott Cole & Associates, APC, Attn:                             Contingent
          Scott Cole, Andrew Weaver,Laura Van Note                            Unliquidated
          555 12th Street, Suite 1725                                         Disputed
          Oakland, CA 94607
                                                                             Basis for the claim:    Pending Lawsuit
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          SMS Management Company                                              Contingent
          Real Estate Division                                                Unliquidated
          PO Box 5234                                                         Disputed
          Modesto,, CA 95352
                                                                             Basis for the claim:    Landlord. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,310.47
          SMUD                                                                Contingent
          PO Box 15555                                                        Unliquidated
          Sacramento,, CA 95852                                               Disputed
          Date(s) debt was incurred 8/9/19-8/14/19
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number 9861,6145
                                                                             Is the claim subject to offset?    No  Yes
 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,751.41
          South Bay Pool and Spa                                              Contingent
          PO BOX 1745                                                         Unliquidated
          Freedom,, CA 95019                                                  Disputed
          Date(s) debt was incurred 11/7/17-12/1/17
                                                                             Basis for the claim:    Pool Maintenance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          South Shore Roofing                                                 Contingent
          PO Box 19787                                                        Unliquidated
          S Lake Tahoe,, CA 96150                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Roof Repair. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          South Tahoe Public Utility Service                                  Contingent
          1275 Meadow Crest Drive                                             Unliquidated
          South Lake Tahoe,, CA 96150                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          South Tahoe Refuse                                                  Contingent
          2140 Ruth Avenue                                                    Unliquidated
          South Lake Tahoe,, CA 96150                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32,512.56
          Southern CA Edison                                                  Contingent
          P.O. Box 300                                                        Unliquidated
          Rosemead,, CA 91772-0001                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility.
          Last 4 digits of account number       4352
                                                                             Is the claim subject to offset?    No  Yes
 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          SouthWest Gas Corp                                                  Contingent
          Attn: Payment Processing                                            Unliquidated
          5241 Spring Mountain Road                                           Disputed
          Las Vegas,, NV 89150
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Spirit Realty LP Financing JV                                       Contingent
          P.O. Box 207439                                                     Unliquidated
          Dallas, TX 75320-7439                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent Arrears
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,221.40
          Stanislaus County Department of                                     Contingent
          Environmental Resources                                             Unliquidated
          3800 Cornucopia Way, Ste. C                                         Disputed
          Modesto,, CA 95358
                                                                             Basis for the claim:    Penalities
          Date(s) debt was incurred 6/1/17-1/1/18
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Stanislaus County Superior Court                                    Contingent
          Fiscal Services                                                     Unliquidated
          PO Box 732                                                          Disputed
          Modesto,, CA 95353
                                                                             Basis for the claim:    Penalties. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Stanley Access Tech LLC                                             Contingent
          PO Box 0371595                                                      Unliquidated
          Pittsburgh, PA 15251-7595                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Facility Repair. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          State of California                                                 Contingent
          Department of Industrial Relations                                  Unliquidated
          455 Golden Gate Avenue, 10th Floor                                  Disputed
          San Francisco, CA 94102
                                                                             Basis for the claim:    Permits. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Stead Backflow Prevention Services                                  Contingent
          2715 W Kettleman Ln Ste 203-321                                     Unliquidated
          Lodi,, CA 95242                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Plumbing. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Steve Gikas 1998 Revocable Trust                                    Contingent
          23073 S Fredrick Rd                                                 Unliquidated
          Ripon, CA 95366                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent Arrears
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,000,000.00
          Store Capital Acquisitions, LLC                                     Contingent
          c/o The Corporation Trust Company                                   Unliquidated
          Corporation Trust Center, 1209 Orange St                            Disputed
          Wilmington, DE 19801
                                                                             Basis for the claim:    Landlord - Rent
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,534.48
          Suitebriar, Inc.                                                    Contingent
          13800 Coppermine Road                                               Unliquidated
          Herndon, VA 20171                                                   Disputed
          Date(s) debt was incurred 8/12/19-8/15/19
                                                                             Basis for the claim:    Email Provider
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Swanson Structural Engineering, Inc.                                Contingent
          116 Chadwick Way                                                    Unliquidated
          Folsom,, CA 95630                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Engineering. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Syphax Strategic Solutions                                          Contingent
          5601 Stanmore Way                                                   Unliquidated
          Elk Grove,, CA 95758                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Consulting. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Tahoe Basin Container                                               Contingent
          2140 Ruth Avenue                                                    Unliquidated
          South Lake Tahoe,, CA 96150                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $34.25
          Tahoe Pool Service                                                  Contingent
          971 Third Street                                                    Unliquidated
          South Lake Tahoe,, CA 96150                                         Disputed
          Date(s) debt was incurred 6/1/17-8/1/17
                                                                             Basis for the claim:    Pool Maintenance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Taylor Protection Services, Inc.                                    Contingent
          P.O. Box 2096                                                       Unliquidated
          Los Gatos, CA 95031-2096                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Alarm Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Technique Software/Club OS                                          Contingent
          1735 Market St, Ste A477                                            Unliquidated
          Philadelphia, PA 19103                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Marketing. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,825.00
          Terminix Processing Center                                          Contingent
          P.O. Box 742592                                                     Unliquidated
          Cincinnati, OH 45274-2592                                           Disputed
          Date(s) debt was incurred 8/1/17-3/18/19
                                                                             Basis for the claim:    Pest Control
          Last 4 digits of account number 4467;4016
                                                                             Is the claim subject to offset?    No  Yes
 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          The Franchise Maker                                                 Contingent
          2525 Camino Del Rio South #165                                      Unliquidated
          San Diego, CA 92108                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          The Gas Company                                                     Contingent
          P.O. Box C                                                          Unliquidated
          Monterey,, CA 91756-5111                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,708.54
          The Hanover Insurance Group                                         Contingent
          PO Box 580045                                                       Unliquidated
          Charlotte,, NC 28258                                                Disputed
          Date(s) debt was incurred 8/2/19
                                                                             Basis for the claim:    Insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          The Health & Fitness Trust                                          Contingent
          C/O Joseph R Gigantino, Jr.                                         Unliquidated
          1477 Dry Creek Road                                                 Disputed
          San Jose,, CA 95125
                                                                             Basis for the claim:    Landlord. For Notice Purpose Only.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          The Lawyers for Workplace Fairness                                  Contingent
          4100 W. Alameda Ave, 3rd Flr.                                       Unliquidated
          Burbank,, CA 91505                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Services. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          The Store Decor                                                     Contingent
          PO Box 2747                                                         Unliquidated
          Rowlett, TX 75030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fixtures. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Tim Christianson                                                    Contingent
          1290 Angura Lake Road                                               Unliquidated
          South Lake Tahoe, CA 96150                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Prior Club Purchase. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,638.00
          Top Notch Heating Inc.                                              Contingent
          1440 Jason Way Suite 109                                            Unliquidated
          Santa Maria, CA 93455                                               Disputed
          Date(s) debt was incurred 4/22/19
                                                                             Basis for the claim:    HVAC Maintenance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $242.61
          Toshiba Financial Services                                          Contingent
          PO Box 790448                                                       Unliquidated
          Saint Louis, MO 63179                                               Disputed
          Date(s) debt was incurred 8/16/19
                                                                             Basis for the claim:    Equipment Rental
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Tracy Jaco and Goyette and Associates                               Contingent
          2366 Gold Meadow Way, Suite 200                                     Unliquidated
          Rancho Cordova, CA 95670                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Lawsuit Settlement. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Tracy Lock & Safe                                                   Contingent
          125 W 11th Street                                                   Unliquidated
          Tracy, CA 95376                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Locksmith. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Tracy Mall Partners, L.P.                                           Contingent
          SDS-12-1385 PO Box 868                                              Unliquidated
          Minneapolis, MN 55486                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Tracy Sign Inc.                                                     Contingent
          3771 W 11th Street                                                  Unliquidated
          Tracy, CA 95304                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Sign Construction. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $435.00
          TradeMark Pool and Spa                                              Contingent
          5492 A Pirrone Road                                                 Unliquidated
          Salida, CA 95368                                                    Disputed
          Date(s) debt was incurred 11/16/17
                                                                             Basis for the claim:    Pool Maintenance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Trophy Works, Inc                                                   Contingent
          3321 McHenry Ave, Ste C                                             Unliquidated
          Modesto, CA 95350                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Promotional Items. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Turlock Irrigation District                                         Contingent
          PO Box 819007                                                       Unliquidated
          Turlock, CA 95381-9007                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,300.00
          Turner Friedman Morris & Cohan, LLP                                 Contingent
          8383 Wilshire Blvd. 510                                             Unliquidated
          Beverly Hills,, CA 90211                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Prior Lawsuit Settlement. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $270.00
          Turner Security Systems, Inc.                                       Contingent
          120 W Shields Avenue                                                Unliquidated
          Fresno, CA 93705                                                    Disputed
          Date(s) debt was incurred 8/5/19
                                                                             Basis for the claim:    Alarm Monitoring.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Tyco Integrated Security LLC                                        Contingent
          P.O. Box 371967                                                     Unliquidated
          Pittsburgh, PA 15250-7967                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Alarm Monitoring. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.424    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $143.50
          Tyco Simplex Grinnell                                               Contingent
          Dept. CH 10320                                                      Unliquidated
          Palatine, IL 60055-0320                                             Disputed
          Date(s) debt was incurred 10/13/17
                                                                             Basis for the claim:    Fire Maintenance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.425    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,264.24
          Unity Courier Service, Inc                                          Contingent
          3231 Fletcher Drive                                                 Unliquidated
          Los Angeles, CA 90065                                               Disputed
          Date(s) debt was incurred 10/1/18-6/1/19
                                                                             Basis for the claim:    Shipping
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.426    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,800.00
          Universal Site Services                                             Contingent
          760 E Capitol Avenue                                                Unliquidated
          Milpitas, CA 95035                                                  Disputed
          Date(s) debt was incurred 12/31/18
                                                                             Basis for the claim:    Landscaping
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.427    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Vacaville Fire Department                                           Contingent
          650 Merchent Street                                                 Unliquidated
          Vacaville, CA 95688                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fire Permit. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.428    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,668.86
          Vantage Point Law                                                   Contingent
          319 Diablo Road, Suite 200                                          Unliquidated
          Danville, CA 94526                                                  Disputed
          Date(s) debt was incurred 8/21/19
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.429    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $690.00
          Veritext Corp                                                       Contingent
          707 Wilshire Boulevard, Suite 3500                                  Unliquidated
          Los Angeles, CA 90017                                               Disputed
          Date(s) debt was incurred 4/1/18
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.430    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,600.00
          Vicente Landscaping                                                 Contingent
          515 Blackburn St                                                    Unliquidated
          Watsonville, CA 95076                                               Disputed
          Date(s) debt was incurred 10/31/17-7/31/18
                                                                             Basis for the claim:    Landscaping
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.431    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Victoria L Capital Inc.                                             Contingent
          Turquoise Flag Bldg-Ste 125 104 Freya St                            Unliquidated
          Spokane, WA 99202                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Prior Loan. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.432    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Vortex Industries, Inc.                                             Contingent
          1801 West Olympic Blvd.                                             Unliquidated
          Pasadena, CA 91199-1095                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Door Repair Service. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.433    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,554.00
          Walschon Fire Protection, Inc.                                      Contingent
          2178 Rheem Dr., Ste A                                               Unliquidated
          Pleasanton, CA 94588                                                Disputed
          Date(s) debt was incurred 7/31/17
                                                                             Basis for the claim:    Plumbing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.434    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Warden's                                                            Contingent
          1415 Street                                                         Unliquidated
          Modesto, CA 95354                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Moving Service. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
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 Debtor       Pleasanton Fitness, LLC                                                                 Case number (if known)            19-41949
              Name

 3.435    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $956.24
          Waste Management                                                    Contingent
          Sac Val Disposal                                                    Unliquidated
          P.O. Box 541065                                                     Disputed
          Los Angeles, CA 90054-1065
                                                                             Basis for the claim:    Utility
          Date(s) debt was incurred 8/1/19
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.436    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Watt Town Center                                                    Contingent
          P.O. Box 398594                                                     Unliquidated
          San Francisco, CA 94139                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.437    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Wave Broadband                                                      Contingent
          P.O. Box 34808                                                      Unliquidated
          Seattle, WA 98124-1808                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Phone Service. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.438    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,985.50
          Weintraub Tobin                                                     Contingent
          Attn: Ryan E. Abernethy                                             Unliquidated
          400 Capitol Mall, 11th Floor                                        Disputed
          Sacramento, CA 95814
                                                                             Basis for the claim:    Legal Fees
          Date(s) debt was incurred 4/30/19-7/31/19
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.439    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $165.50
          Western Exterminator                                                Contingent
          P.O. Box 16350                                                      Unliquidated
          Reading, PA 19612-6350                                              Disputed
          Date(s) debt was incurred 9/7/18
                                                                             Basis for the claim:    Pest Control
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.440    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Western Pacific Electric, Inc                                       Contingent
          P.O. Box 8075                                                       Unliquidated
          Reno, NV 89507                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Construction. For Notice Purpose Only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.441    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Whitley Property Management, Inc.                                   Contingent
          3004 Boardway                                                       Unliquidated
          Redwood City, CA 94062-1512                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent Arrears
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Pleasanton Fitness, LLC                                                                 Case number (if known)            19-41949
              Name

 3.442     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,164.44
           Willey Printing Co., Inc.                                          Contingent
           P.O. Box 886                                                       Unliquidated
           Modesto, CA 95353                                                  Disputed
           Date(s) debt was incurred 5/3/17-11/30/17
                                                                             Basis for the claim:    Printing Services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.443     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $100.00
           Willy Ford Plumbing                                                Contingent
           P.O. Box 3421                                                      Unliquidated
           Visalia, CA 93278                                                  Disputed
           Date(s) debt was incurred     7/1/17                              Basis for the claim:    Plumbing
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.444     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Xtreme Clean                                                       Contingent
           124 P Belle Mill Road                                              Unliquidated
           Red Bluff, CA 96080                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Janitorial Services. For Notice Purpose Only.
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.445     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $22,209.14
           Yelp Inc.                                                          Contingent
           P.O Box 204393                                                     Unliquidated
           Dallas, TX 75320                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Advertising. For Notice Purpose Only.
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.446     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Yergler Construction Co Inc                                        Contingent
           9134 Locust St                                                     Unliquidated
           Elk Grove,, CA 95624                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Construction. For Notice Purpose Only.
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.447     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           ZipRecruiter                                                       Contingent
           604 Arizona Avenue                                                 Unliquidated
           Santa Monica, CA 90401-1610                                        Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Recruiting. For Notice Purpose Only.
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.448     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $350.68
           Zoom Imaging Solutions Inc.                                        Contingent
           P.O. Box 398147                                                    Unliquidated
           San Francisco, CA 94139-8147                                       Disputed
           Date(s) debt was incurred 8/5/19-8/9/19
                                                                             Basis for the claim:    Office Supplies
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

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 Debtor       Pleasanton Fitness, LLC                                                            Case number (if known)          19-41949
              Name


           Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any
 4.1       Life Fitness, division of Brunswick Corp
           2716 Network Place                                                                    Line      3.246
           Columbia Center III
           9525 Bryn Mawr Ave., 5th Floor                                                              Not listed. Explain

           Rosemont, IL 60018


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                    Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.        $                   401,458.75
 5b. Total claims from Part 2                                                                        5b.    +   $                11,836,404.38

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.        $                   12,237,863.13




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                                                                               194
 Fill in this information to identify the case:

 Debtor name         Pleasanton Fitness, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)         19-41949
                                                                                                                                Check if this is an
                                                                                                                                    amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal              Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.         State what the contract or                  Standard Multi-Tenant
              lease is for and the nature of              Shopping Center Lease
              the debtor's interest                       by and between 1570
                                                          Hamilton Associates
                                                          and Pleasanton
                                                          Fitness, LLC, dated
                                                          September 15, 2014 for
                                                          the property located at
                                                          1570 Hamilton Avenue,
                                                          San Jose, CA for ten
                                                          years commencing
                                                          January 1, 2015 ending
                                                          December 31, 2024.
                                                          Base Rent: $42,000.00
                                                          per month commencing
                                                          January 1, 2015.
                                                          Security Deposit:
                                                          ($0.00) during initial
                                                          five year term
                                                          contingent on terms in
                                                          addendum.
                  State the term remaining                Continuing                  1570 Hamilton Associates, a partnership
                                                                                      Attn: Les Yeffa, Property Manager
              List the contract number of any                                         1885 The Alameda, Suite 100-E
                    government contract                                               San Jose, CA 95126


 2.2.         State what the contract or                  Lease for location at
              lease is for and the nature of              312 N. Sunrise Avenue
              the debtor's interest                       Roseville, CA 95661

                  State the term remaining
                                                                                      312 Sunrise, LLC
              List the contract number of any                                         4980 Hillsdale Circle, Suite A
                    government contract                                               El Dorado Hills, CA 95762




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                          Page 1 of 45
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 Debtor 1 Pleasanton Fitness, LLC                                                              Case number (if known)   19-41949
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.3.        State what the contract or                   Master Lease
             lease is for and the nature of               Agreement (No.
             the debtor's interest                        9931087-002) by and
                                                          between Apple
                                                          Financial Services and
                                                          Pleasanton Fitness,
                                                          LLC for Apple iPad 9.7
                                                          Wi-Fi (32GB) dated
                                                          December 28, 2017 to
                                                          Master Agreement No.
                                                          9931087 dated July 14,
                                                          2017 for 24 months;
                                                          Lease Payment:
                                                          $344.93/month.
                  State the term remaining                Continuing
                                                                                       Apple Financial Services
             List the contract number of any                                           5000 Riverside Drive, Suite 300 East
                   government contract                                                 Irving, TX 75039-4314


 2.4.        State what the contract or                   Master Lease
             lease is for and the nature of               Agreement dated
             the debtor's interest                        January 26, 2016 by
                                                          and between Axis
                                                          Capital Inc. and
                                                          Pleasanton Fitness,
                                                          LLC dba Fitness
                                                          Evolution Group (Lease
                                                          Schedule No. 931591-9)
                                                          for equipment located
                                                          at 1335 Gateway Blvd.,
                                                          Fairfield, CA; 120 Main
                                                          St., Woodland, CA; 125
                                                          N. Adams Street, Dixon,
                                                          CA; 2705 Geer Road,
                                                          Turlock, CA; 4774
                                                          North Blackstone Ave.,
                                                          Fresno, CA; 6735 N. 1st
                                                          Street, Fresno, CA;
                                                          1900 Del Paso Road,
                                                          Sacramento, CA; 312 N.
                                                          Sunrise Avenue,
                                                          Roseville, CA for 48
                                                          months ($2,345.93)
                                                          accepted on May 11,
                                                          2016. One advance
                                                          payment: $5,186.86.
                  State the term remaining                Continuing
                                                                                       Axis Capital Inc.
             List the contract number of any                                           308 North Locust Street
                   government contract                                                 Grand Island, NE 68801




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 2 of 45
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 Debtor 1 Pleasanton Fitness, LLC                                                            Case number (if known)   19-41949
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   Master Lease
             lease is for and the nature of               Agreement dated
             the debtor's interest                        January 26, 2016 by
                                                          and between Axis
                                                          Capital Inc. and
                                                          Pleasanton Fitness,
                                                          LLC dba Fitness
                                                          Evolution Group (Lease
                                                          Schedule No. 931591-8)
                                                          for equipment located
                                                          at 4744 N. Blackstone
                                                          Avenue, Fresno, CA for
                                                          36 months ($905.24)
                                                          commencing on May
                                                          17, 2016. One advance
                                                          payment: $2,005.48.
                  State the term remaining                Continuing
                                                                                     Axis Capital Inc.
             List the contract number of any                                         308 North Locust Street
                   government contract                                               Grand Island, NE 68801


 2.6.        State what the contract or                   Master Lease
             lease is for and the nature of               Agreement dated
             the debtor's interest                        January 26, 2016 by
                                                          and between Axis
                                                          Capital Inc. and
                                                          Pleasanton Fitness,
                                                          LLC dba Fitness
                                                          Evolution Group (Lease
                                                          Schedule No. 931591-4)
                                                          for equipment located
                                                          at 8121 Madison
                                                          Avenue, Fair Oaks, CA
                                                          for 49 months (1 at
                                                          $2,465.46; 48 at
                                                          $583.80) commencing
                                                          on January 26, 2016.
                                                          One advance payment:
                                                          $2,857.70.
                  State the term remaining                Continuing
                                                                                     Axis Capital Inc.
             List the contract number of any                                         308 North Locust Street
                   government contract                                               Grand Island, NE 68801




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                 Page 3 of 45
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 Debtor 1 Pleasanton Fitness, LLC                                                            Case number (if known)   19-41949
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.7.        State what the contract or                   Master Lease
             lease is for and the nature of               Agreement dated
             the debtor's interest                        January 26, 2016 by
                                                          and between Axis
                                                          Capital Inc. and
                                                          Pleasanton Fitness,
                                                          LLC dba Fitness
                                                          Evolution Group (Lease
                                                          Schedule No. 931591-3)
                                                          for equipment located
                                                          at 4175 East Ashlan
                                                          Avenue, Fresno, CA for
                                                          49 months (1 at
                                                          $2,465.46; 48 at
                                                          $583.80) commencing
                                                          on January 26, 2016.
                                                          One advance payment:
                                                          $2,863.24.
                  State the term remaining                Continuing
                                                                                     Axis Capital Inc.
             List the contract number of any                                         308 North Locust Street
                   government contract                                               Grand Island, NE 68801


 2.8.        State what the contract or                   Master Lease
             lease is for and the nature of               Agreement dated
             the debtor's interest                        January 26, 2016 by
                                                          and between Axis
                                                          Capital Inc. and
                                                          Pleasanton Fitness,
                                                          LLC dba Fitness
                                                          Evolution Group (Lease
                                                          Schedule No. 931591-2)
                                                          for equipment located
                                                          at 4950 Claremont
                                                          Avenue, Stockton, CA
                                                          for 49 months (1 at
                                                          $2,456.01; 48 at
                                                          $581.56) commencing
                                                          on January 26, 2016.
                                                          One advance payment:
                                                          $2,970.15.
                  State the term remaining                Continuing
                                                                                     Axis Capital Inc.
             List the contract number of any                                         308 North Locust Street
                   government contract                                               Grand Island, NE 68801




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 Debtor 1 Pleasanton Fitness, LLC                                                              Case number (if known)   19-41949
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.9.        State what the contract or                   Master Lease
             lease is for and the nature of               Agreement dated
             the debtor's interest                        January 26, 2016 by
                                                          and between Axis
                                                          Capital Inc. and
                                                          Pleasanton Fitness,
                                                          LLC dba Fitness
                                                          Evolution Group (Lease
                                                          Schedule No. 931591-1)
                                                          for equipment located
                                                          at 1335 Gateway Blvd.,
                                                          Fairfield, CA for 49
                                                          months (1 at $4,325.94;
                                                          48 at $1,024.34)
                                                          commencing February
                                                          4, 2016. One advance
                                                          payment: $5,074.05.
                  State the term remaining                Continuing
                                                                                       Axis Capital Inc.
             List the contract number of any                                           308 North Locust Street
                   government contract                                                 Grand Island, NE 68801


 2.10.       State what the contract or                   Lease for location at
             lease is for and the nature of               2705 Geer Rd, Turlock,
             the debtor's interest                        CA 95382.

                  State the term remaining
                                                                                       B & F Snider Enterprises, LP
             List the contract number of any                                           1500 Standiford Ave., Bldg. D
                   government contract                                                 Modesto, CA 95355


 2.11.       State what the contract or                   Standard Multi-Tenant
             lease is for and the nature of               Shopping Center Lease
             the debtor's interest                        by and between Bei
                                                          Scott Company, LLC
                                                          and Pleasanton
                                                          Fitness, LLC, dated
                                                          April 1, 2016 for the
                                                          property located at 25
                                                          Penny Lane and 29
                                                          Aspen Way, Santa
                                                          Cruz, CA, for twenty
                                                          years commencing
                                                          April 1, 2016 ending
                                                          March 31, 2036. Base
                                                          Rent: $26,670.00 per
                                                          month, increased
                                                          annually by 1.25%,
                                                          commencing April 1,
                                                          2016. Security Deposit:
                                                          ($0.00).
                  State the term remaining                Continuing                   Bei Scott Company, LLC
                                                                                       Attn: Norman Bei, Managing Member
             List the contract number of any                                           410 May Avenue, Suite 1
                   government contract                                                 Santa Cruz, CA 95060
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                   Page 5 of 45
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 Debtor 1 Pleasanton Fitness, LLC                                                                Case number (if known)   19-41949
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease



 2.12.       State what the contract or                   Standard
             lease is for and the nature of               Industrial/Commercial
             the debtor's interest                        Single-Tenant Lease by
                                                          and between Capital
                                                          Valley Investors, LLC,
                                                          and Pleasanton
                                                          Fitness, LLC dated
                                                          November 1, 2016 for
                                                          the property located at
                                                          1005-1025 N. Adams
                                                          Street, Dixon, CA for
                                                          twenty years ending
                                                          October 31, 2036. Base
                                                          Rent: $18,460.00 per
                                                          month. Security
                                                          Deposit: ($0.00).
                  State the term remaining                Continuing                     Capital Valley Investors, LLC
                                                                                         Attn: Doug Bayless
             List the contract number of any                                             2410 Fair Oaks Blvd, Ste 110
                   government contract                                                   Sacramento, CA 95825


 2.13.       State what the contract or                   Lease for location at
             lease is for and the nature of               196 N 3rd St, San Jose,
             the debtor's interest                        CA 95112

                  State the term remaining
                                                                                         Corinthian Event Center, LLC
             List the contract number of any                                             PO Box 224
                   government contract                                                   Clayton, CA 94517


 2.14.       State what the contract or                   Lease for location at
             lease is for and the nature of               150 S. First Street, Ste
             the debtor's interest                        119 San Jose, CA
                                                          95113
                  State the term remaining
                                                                                         Digital Realty
             List the contract number of any                                             2805 Lafayette St. Suite 122
                   government contract                                                   Santa Clara, CA 95050


 2.15.       State what the contract or                   Lease for location 2326
             lease is for and the nature of               Florin Rd, Sacramento,
             the debtor's interest                        CA 95822

                  State the term remaining
                                                                                         Ethan Conrad
             List the contract number of any                                             1300 National Drive, Suite 100
                   government contract                                                   Sacramento, CA 95834




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 Debtor 1 Pleasanton Fitness, LLC                                                            Case number (if known)   19-41949
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.16.       State what the contract or                   Standard Multi-Tenant
             lease is for and the nature of               Shopping Center Lease
             the debtor's interest                        by and between Ethan
                                                          Conrad and Pleasanton
                                                          Fitness, LLC dba
                                                          Fitness Evolution dated
                                                          February 23, 2017 for
                                                          the property located at
                                                          1085 Bellevue Road,
                                                          Atwater, CA for fifteen
                                                          years and six months
                                                          commencing May 1,
                                                          2017 ending October
                                                          31, 2032. Base Rent:
                                                          $16,259.00 per month
                                                          commencing March 1,
                                                          2018. First Amendment
                                                          dated October 13, 2015.
                                                          Second Amendment
                                                          dated October 13, 2015.
                                                          Third Amendment
                                                          dated February 23,
                                                          2017 altering base rent
                                                          with the following
                                                          schedule:
                                                          1/1/2019-12/31/2019
                                                          ($8,130.00);
                                                          1/1/2020-3/31/2023
                                                          ($17,280.00);
                                                          4/1/2023-3/31/2028
                                                          ($18,906.00);
                                                          4/1/2028-11/30/2032
                                                          ($20,694.00). Security
                                                          Deposit: ($0.00).
                  State the term remaining                Continuing
                                                                                     Ethan Conrad Properties, Inc.
             List the contract number of any                                         1300 National Dr., Ste 100
                   government contract                                               Sacramento, CA 95834




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 Debtor 1 Pleasanton Fitness, LLC                                                            Case number (if known)   19-41949
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.17.       State what the contract or                   Standard Multi-Tenant
             lease is for and the nature of               Shopping Center Lease
             the debtor's interest                        by and between Ethan
                                                          Conrad and Pleasanton
                                                          Fitness, LLC dba
                                                          Fitness Evolution dated
                                                          February 23, 2017 for
                                                          the property located at
                                                          2270 East El Monte
                                                          Way, Suite 100, Dinuba,
                                                          CA for fifteen years and
                                                          six months
                                                          commencing May 1,
                                                          2017 ending October
                                                          31, 2032. Base Rent:
                                                          $18,171.00 per month
                                                          commencing March 1,
                                                          2018. Security Deposit:
                                                          ($0.00). First
                                                          Amendment dated June
                                                          20, 2017, extending
                                                          expiration date to
                                                          November 30, 2032.
                                                          Second Amendment
                                                          dated October 13, 2015.
                                                          Third Amendment
                                                          dated February 23,
                                                          2017 to expire
                                                          November 30, 2031,
                                                          altering base rent with
                                                          the following schedule:
                                                          1/1/2019-12/31/2019
                                                          ($9,086.00);
                                                          1/1/2020-4/30/2023
                                                          ($19,064.00);
                                                          5/1/2023-4/30/2028
                                                          ($20,881.00);
                                                          5/1/2028-11/2032
                                                          ($22,288.00).
                  State the term remaining                Continuing
                                                                                     Ethan Conrad Properties, Inc.
             List the contract number of any                                         1300 National Dr., Ste 100
                   government contract                                               Sacramento, CA 95834




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 Debtor 1 Pleasanton Fitness, LLC                                                            Case number (if known)   19-41949
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.18.       State what the contract or                   Lease Agreement by
             lease is for and the nature of               and between Michael T.
             the debtor's interest                        LaBarbera as trustee of
                                                          the Michael and
                                                          Jennifer LaBarbera
                                                          Revocable Trust dated
                                                          December 16, 2008,
                                                          Salvatore P. LaBarbera,
                                                          as Trustee of the
                                                          Salvatore P. LaBarbera
                                                          Revocable Trust dated
                                                          February 11, 2011;
                                                          Marie Hedges,
                                                          Facchino Properties,
                                                          Inc., Robert Bernard
                                                          Facchino and Valerie
                                                          Ruby Facchino, as
                                                          Trustees of the Robert
                                                          Bernard Facchino
                                                          Family Trust dated
                                                          October 22, 2009;
                                                          Robert Bernard
                                                          Facchino II Separate
                                                          Property Revocable
                                                          Trust dated September
                                                          30, 1999; as Tenants in
                                                          Common collectively
                                                          doing business as
                                                          Facchino/LaBarbera
                                                          Hacienda Gardens and
                                                          Pleasanton Fitness
                                                          LLC, dated April 1, 2013
                                                          for the property located
                                                          at 3055 Meridian
                                                          Avenue, San Jose, CA.
                                                          Lease term ten years,
                                                          six months (plus three
                                                          five year options to
                                                          extend). Base rent
                                                          $31,278.00 per month;
                                                          rent schedule as
                                                          follows: Months 1-6
                                                          ($0.00); Months 7-24
                                                          ($31,278.00); Months
                                                          25-60 ($46,917.00);
                                                          Months 61-126
                                                          ($54,111.00). Security
                                                          Deposit: ($0.00).
                  State the term remaining                Continuing                 Facchino-LaBarbera Hacienda Gardens
                                                                                     c/o Terracommercial Real Estate
             List the contract number of any                                         873 Blossom Hill Road
                   government contract                                               San Jose, CA 95123




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 Debtor 1 Pleasanton Fitness, LLC                                                             Case number (if known)   19-41949
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.19.       State what the contract or                   Lease Agreement
             lease is for and the nature of               between Fairfield
             the debtor's interest                        Gateway, L.P. and
                                                          Pleasanton Fitness,
                                                          LLC dba Fitness
                                                          Evolution dated
                                                          December 10, 2014 for
                                                          the property located at
                                                          1335 Gateway
                                                          Boulevard, Fairfield, CA
                                                          for ten years and six
                                                          months commencing
                                                          180 days after 11/7/14.
                                                          Base Rent: $15,177.25
                                                          per month. Security
                                                          Deposit: ($0.00). First
                                                          Amendment dated
                                                          December 20, 2017.
                                                          Second Amendment
                                                          dated October 2018
                                                          altering possession to
                                                          terminate on
                                                          September 30, 2021.
                                                          Minimum monthly
                                                          payment
                                                          10/1/2018-9/30/2021
                                                          ($7,000.00 per month).
                  State the term remaining                Continuing                  Fairfield Gateway, L.P.
                                                                                      Attn: Lary Mielke
             List the contract number of any                                          865 E. Del Mar Blvd.
                   government contract                                                Pasadena, CA 91101


 2.20.       State what the contract or                   Lease for location at
             lease is for and the nature of               2810 Zinfandel Drive
             the debtor's interest                        Rancho Cordova, CA
                                                          95670.
                  State the term remaining
                                                                                      Folsom Zinfandel Partners, LLC
             List the contract number of any                                          1448 15th Street. Ste 100
                   government contract                                                Santa Monica, CA 90404




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.21.       State what the contract or                   License Agreement by
             lease is for and the nature of               and between FR
             the debtor's interest                        Franchising, LLC and
                                                          Pleasanton Fitness,
                                                          LLC effective as stated
                                                          below with a minimum
                                                          10-year term after the
                                                          effective date; 3.5% of
                                                          all monthly gross
                                                          revenues. The
                                                          Properiety marks
                                                          include: (a) Fit
                                                          Republic; (b) Fit
                                                          Republic Health Clubs;
                                                          FIIT Nation for the
                                                          following locations:
                                                          1. 3150 Naglee Road,
                                                          Tracy, CA (effective:
                                                          4/1/2018); 2. 1570
                                                          Hamilton Avenue, San
                                                          Jose, CA (effective:
                                                          1/1/2018); 3. 1025 N.
                                                          Adams Street, Dixon,
                                                          CA (effective: 1/1/2018);
                                                          4. 1335 Gateway Blvd.,
                                                          Fairfield, CA (effective:
                                                          1/1/2018); 5. 6735 N.
                                                          First Street, Fresno, CA
                                                          (effective: 1/1/2018); 6.
                                                          2490 Sand Creek Rd.,
                                                          Brentwood, CA
                                                          (effective: 1/1/2018); 7.
                                                          2270 E. El Monte Way,
                                                          Dinuba, CA (effective:
                                                          1/1/2018); 8. 1924 N.
                                                          Main St., Salinas, CA
                                                          (effective: 1/1/2018); 9.
                                                          934 Perimeter Dr.,
                                                          Manteca, CA (effective:
                                                          1/1/2018); 10. 180 E.
                                                          Cross Avenue, Tulare,
                                                          CA (effective: 1/1/2018);
                                                          11. 3055 Meridian
                                                          Avenue, San Jose, CA
                                                          (effective: 1/1/2018); 12.
                                                          25 Penny Lane,
                                                          Watsonville, CA
                                                          (effective: 1/1/2018); 13.
                                                          2851 Whitson Street,
                                                          Selma, CA (effective:
                                                          1/1/2018); 14. 4120 Dale
                                                          Road, Modesto, CA
                                                          (effective: 1/1/2018); 15.
                                                          1085 Bellevue Road,
                                                          Atwater, CA (effective:      FR Franchising, LLC
                                                          1/1/2018).                   31 Montana Avenue
                  State the term remaining                                             Tacoma, WA 98409

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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease


             List the contract number of any
                   government contract


 2.22.       State what the contract or                   Lease for location at 1
             lease is for and the nature of               Rancho Square Vallejo,
             the debtor's interest                        CA 94589.

                  State the term remaining
                                                                                      Global Capital Management Corp
             List the contract number of any                                          PO Box 527
                   government contract                                                Burlingame, CA 94011


 2.23.       State what the contract or                   Lease for location at
             lease is for and the nature of               1861 Academy Ave
             the debtor's interest                        Sanger, CA 93657.

                  State the term remaining
                                                                                      Gong’s Market of Sanger
             List the contract number of any                                          1825 Academy Ave S
                   government contract                                                Sanger, CA 93657


 2.24.       State what the contract or                   Shopping Center Lease
             lease is for and the nature of               by and between
             the debtor's interest                        Herndon Village Center,
                                                          LLC and Pleasanton
                                                          Fitness, LLC, dated
                                                          September 23, 2014 for
                                                          the property located at
                                                          6735 N. 1st Street,
                                                          Fresno, CA 93710 for
                                                          ten years and seven
                                                          months commencing
                                                          on November 1, 2014.
                                                          Rent Schedule:
                                                          11/1/2014 – 5/31/2015
                                                          ($0.00); 6/1/2015 –
                                                          1/31/2016 ($13,448.96);
                                                          2/1/2016 – 11/30/2019
                                                          ($26,954.67); 12/1/2019
                                                          – 5/31/2025
                                                          ($29,650.00). Security
                                                          Deposit: ($0.00).
                  State the term remaining                Continuing                  Herndon Village Center, LLC
                                                                                      c/o Dana Butcher Associates
             List the contract number of any                                          1690 W Shaw Ave, Suite 200
                   government contract                                                Fresno, Ca 93720




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 Debtor 1 Pleasanton Fitness, LLC                                                             Case number (if known)   19-41949
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.25.       State what the contract or                   Master Agreement No.
             lease is for and the nature of               2905101 by and
             the debtor's interest                        between Hitachi Capital
                                                          America Corp. and
                                                          Pleasanton Fitness,
                                                          LLC for equipment
                                                          located at 1924 North
                                                          Main Street, Salinas,
                                                          CA (Schedule No. 002)
                                                          for 42 months
                                                          ($9,586.83 + applicable
                                                          taxes).
                  State the term remaining                Continuing
                                                                                      Hitachi Capital America Corp
             List the contract number of any                                          7808 Creekridge Circle, Ste 250
                   government contract                                                Edina, MN 55439


 2.26.       State what the contract or                   Master Agreement No.
             lease is for and the nature of               2905101 by and
             the debtor's interest                        between Hitachi Capital
                                                          America Corp. and
                                                          Pleasanton Fitness,
                                                          LLC for equipment
                                                          located at Fit Republic,
                                                          25 Penny Lane,
                                                          Watsonville, CA
                                                          (Schedule No. 004) for
                                                          42 months ($1,696.09 +
                                                          applicable taxes); Fit
                                                          Republic, 1570
                                                          Hamilton Avenue, San
                                                          Jose, CA (Schedule No.
                                                          005) for 42 months
                                                          ($1,696.09 + applicable
                                                          taxes).
                  State the term remaining                Continuing
                                                                                      Hitachi Capital America Corp
             List the contract number of any                                          7808 Creekridge Circle, Ste 250
                   government contract                                                Edina, MN 55439


 2.27.       State what the contract or                   Lease for location at
             lease is for and the nature of               1803 Sunset Ave,
             the debtor's interest                        Madera, California
                                                          93637
                  State the term remaining
                                                                                      HPC Hallmark Investors LP
             List the contract number of any                                          18321 Ventura Blvd., Suite 980
                   government contract                                                Tarzana, CA 91356




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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.28.       State what the contract or                   Capital Lease
             lease is for and the nature of               Agreement dated
             the debtor's interest                        November 11, 2016 by
                                                          and between JTL
                                                          Enterprises Inc., dba
                                                          HydroMassage and
                                                          Pleasanton Fitness,
                                                          LLC for 2
                                                          HydroMassage units
                                                          located at Fitness
                                                          Evolution - Selma, 2581
                                                          Whitson Street, Selma,
                                                          CA for 3 years
                                                          ($764.74/month). Down
                                                          payment: $6,822.07.
                  State the term remaining                Continuing
                                                                                     JTL Enterprises Inc., dba HydroMassage
             List the contract number of any                                         15395 Roosevelt Blvd.
                   government contract                                               Clearwater, FL 33760


 2.29.       State what the contract or                   Capital Lease
             lease is for and the nature of               Agreement dated
             the debtor's interest                        August 23, 2016 by and
                                                          between JTL
                                                          Enterprises Inc., dba
                                                          HydroMassage and
                                                          Pleasanton Fitness,
                                                          LLC for 2
                                                          HydroMassage units
                                                          located at Fitness
                                                          Evolution - Atascadero,
                                                          7175 El Camino Real,
                                                          Atascadero, CA for 3
                                                          years ($764.74/month).
                                                          Down payment:
                                                          $6,623.72.
                  State the term remaining                Continuing
                                                                                     JTL Enterprises Inc., dba HydroMassage
             List the contract number of any                                         15395 Roosevelt Blvd.
                   government contract                                               Clearwater, FL 33760




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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.30.       State what the contract or                   Capital Lease
             lease is for and the nature of               Agreement dated
             the debtor's interest                        August 12, 2016 by and
                                                          between JTL
                                                          Enterprises Inc., dba
                                                          HydroMassage and
                                                          Pleasanton Fitness,
                                                          LLC for 2
                                                          HydroMassage units
                                                          located at Fitness
                                                          Evolution - Fresno
                                                          (Moroa), 3003 N. Moroa,
                                                          Fresno, CA for 3 years
                                                          ($764.74/month). Down
                                                          payment: $6,685.28.
                  State the term remaining                Continuing
                                                                                     JTL Enterprises Inc., dba HydroMassage
             List the contract number of any                                         15395 Roosevelt Blvd.
                   government contract                                               Clearwater, FL 33760


 2.31.       State what the contract or                   Capital Lease
             lease is for and the nature of               Agreement dated
             the debtor's interest                        August 12, 2016 by and
                                                          between JTL
                                                          Enterprises Inc., dba
                                                          HydroMassage and
                                                          Pleasanton Fitness,
                                                          LLC for 3
                                                          HydroMassage units
                                                          located at Fitness
                                                          Evolution - Milpitas,
                                                          1000 Jacklin Road,
                                                          Milpitas, CA for 3 years
                                                          ($1,145.17/month).
                                                          Down payment:
                                                          $10,020.66.
                  State the term remaining                Continuing
                                                                                     JTL Enterprises Inc., dba HydroMassage
             List the contract number of any                                         15395 Roosevelt Blvd.
                   government contract                                               Clearwater, FL 33760




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.32.       State what the contract or                   Capital Lease
             lease is for and the nature of               Agreement dated
             the debtor's interest                        August 12, 2016 by and
                                                          between JTL
                                                          Enterprises Inc., dba
                                                          HydroMassage and
                                                          Pleasanton Fitness,
                                                          LLC for 2
                                                          HydroMassage units
                                                          located at Fitness
                                                          Evolution - Turlock,
                                                          2705 Geer Road,
                                                          Turlock, CA for 3 years
                                                          ($764.74/month). Down
                                                          payment: $6,521.12.
                  State the term remaining                Continuing
                                                                                     JTL Enterprises Inc., dba HydroMassage
             List the contract number of any                                         15395 Roosevelt Blvd.
                   government contract                                               Clearwater, FL 33760


 2.33.       State what the contract or                   Capital Lease
             lease is for and the nature of               Agreement dated
             the debtor's interest                        August 29, 2017 by and
                                                          between JTL
                                                          Enterprises Inc., dba
                                                          HydroMassage and
                                                          Pleasanton Fitness,
                                                          LLC for 3
                                                          HydroMassage units
                                                          located at Fitness
                                                          Evolution - Salinas,
                                                          1924 N. Main Street,
                                                          Salinas, CA for 3 years
                                                          ($1,181.02/month).
                                                          Down payment:
                                                          $10,326.85.
                  State the term remaining                Continuing
                                                                                     JTL Enterprises Inc., dba HydroMassage
             List the contract number of any                                         15395 Roosevelt Blvd.
                   government contract                                               Clearwater, FL 33760




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.34.       State what the contract or                   Capital Lease
             lease is for and the nature of               Agreement dated
             the debtor's interest                        August 29, 2017 by and
                                                          between JTL
                                                          Enterprises Inc., dba
                                                          HydroMassage and
                                                          Pleasanton Fitness,
                                                          LLC for 3
                                                          HydroMassage units
                                                          located at Fitness
                                                          Evolution - Salinas,
                                                          1924 N. Main Street,
                                                          Salinas, CA for 3 years
                                                          ($1,181.02/month).
                                                          Down payment:
                                                          $10,326.85.
                  State the term remaining                Continuing
                                                                                     JTL Enterprises Inc., dba HydroMassage
             List the contract number of any                                         15395 Roosevelt Blvd.
                   government contract                                               Clearwater, FL 33760


 2.35.       State what the contract or                   Capital Lease
             lease is for and the nature of               Agreement dated May
             the debtor's interest                        17, 2017 by and
                                                          between JTL
                                                          Enterprises Inc., dba
                                                          HydroMassage and
                                                          Pleasanton Fitness,
                                                          LLC for 2
                                                          HydroMassage units
                                                          located at Fitness
                                                          Evolution - Hanford,
                                                          110 S. 11th Avenue,
                                                          Hanford, CA for 3 years
                                                          ($764.74/month). Down
                                                          payment: $6,418.53.
                  State the term remaining                Continuing
                                                                                     JTL Enterprises Inc., dba HydroMassage
             List the contract number of any                                         15395 Roosevelt Blvd.
                   government contract                                               Clearwater, FL 33760




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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.36.       State what the contract or                   Capital Lease
             lease is for and the nature of               Agreement dated
             the debtor's interest                        March 29, 2017 by and
                                                          between JTL
                                                          Enterprises Inc., dba
                                                          HydroMassage and
                                                          Pleasanton Fitness,
                                                          LLC for 3
                                                          HydroMassage units
                                                          located at Fitness
                                                          Evolution - Manteca,
                                                          934 Perimeter Drive,
                                                          Manteca, CA for 3 years
                                                          ($1,145.17/month).
                                                          Down payment:
                                                          $9,815.77.
                  State the term remaining                Continuing
                                                                                       JTL Enterprises Inc., dba HydroMassage
             List the contract number of any                                           15395 Roosevelt Blvd.
                   government contract                                                 Clearwater, FL 33760


 2.37.       State what the contract or                   Capital Lease
             lease is for and the nature of               Agreement dated
             the debtor's interest                        March 6, 2017 by and
                                                          between JTL
                                                          Enterprises Inc., dba
                                                          HydroMassage and
                                                          Pleasanton Fitness,
                                                          LLC for 2
                                                          HydroMassage units
                                                          located at 2326 Florin
                                                          Road, Sacramento, CA
                                                          for 3 years
                                                          ($764.74/month). Down
                                                          payment: $6,692.12.
                  State the term remaining                Continuing
                                                                                       JTL Enterprises Inc., dba HydroMassage
             List the contract number of any                                           15395 Roosevelt Blvd.
                   government contract                                                 Clearwater, FL 33760




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 Debtor 1 Pleasanton Fitness, LLC                                                               Case number (if known)   19-41949
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.38.       State what the contract or                   Capital Lease
             lease is for and the nature of               Agreement dated April
             the debtor's interest                        15, 2018 by and
                                                          between JTL
                                                          Enterprises Inc., dba
                                                          HydroMassage and
                                                          Pleasanton Fitness,
                                                          LLC dba Fitness
                                                          Evolution Vallejo for 3
                                                          HydroMassage units
                                                          located at 1 Rancho
                                                          Square, Vallejo, CA for
                                                          3 years
                                                          ($1,145.17/month)
                                                          dated January 3, 2017.
                                                          Down payment:
                                                          $10,006.96.
                  State the term remaining
                                                                                        JTL Enterprises Inc., dba HydroMassage
             List the contract number of any                                            15395 Roosevelt Blvd.
                   government contract                                                  Clearwater, FL 33760


 2.39.       State what the contract or                   Capital Lease
             lease is for and the nature of               Agreement dated April
             the debtor's interest                        15, 2018 by and
                                                          between JTL
                                                          Enterprises Inc., dba
                                                          HydroMassage and
                                                          Pleasanton Fitness,
                                                          LLC dba Fitness
                                                          Evolution - Tracy for 3
                                                          HydroMassage units
                                                          located at 3150 Naglee
                                                          Road, Tracy, CA for 3
                                                          years ($688.82/month)
                                                          commencing on April
                                                          15, 2018. Down
                                                          payment: $9,882.59.
                  State the term remaining                Continuing
                                                                                        JTL Enterprises Inc., dba HydroMassage
             List the contract number of any                                            15395 Roosevelt Blvd.
                   government contract                                                  Clearwater, FL 33760




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 Debtor 1 Pleasanton Fitness, LLC                                                             Case number (if known)   19-41949
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.40.       State what the contract or                   Equipment Lease (TCF:
             lease is for and the nature of               008-0685465-302)
             the debtor's interest                        (Lease Schedule
                                                          Number: 4736-004) by
                                                          and between
                                                          Pleasanton Fitness,
                                                          LLC dba Fitness
                                                          Evolution and Life
                                                          Fitness, a division of
                                                          Brunswick Corporation
                                                          for 60 months (2 at
                                                          $0.00; 58 at $1,021.39)
                                                          accepted by Lessor on
                                                          2/9/2016. Financed
                                                          amount $49,082.06.
                                                          Amended payment
                                                          schedule dated
                                                          2/9/2016: (2 at $0.00; 58
                                                          at $733.92); Financed
                                                          amount $35,267.97.
                                                          Location: 2410
                                                          Broadway Ave., Santa
                                                          Maria, CA.                  Life Fitness, division of Brunswick Corp
                  State the term remaining                Continuing                  2716 Network Place
                                                                                      Columbia Center III
             List the contract number of any                                          9525 Bryn Mawr Ave., 5th Floor
                   government contract                                                Rosemont, IL 60018


 2.41.       State what the contract or                   Lease for Equipment
             lease is for and the nature of               Schedule Number
             the debtor's interest                        008-0685465-309 dated
                                                          September 30, 2016 to
                                                          Master Lease
                                                          685465ML dated
                                                          August 11, 2016 by and
                                                          between Pleasanton
                                                          Fitness, LLC dba
                                                          Fitness Evolution and
                                                          Life Fitness, a division
                                                          of Brunswick
                                                          Corporation for 60
                                                          months (2 at $0.00; 58
                                                          at $3,420.76) accepted
                                                          by Lessor on 12/5/2016.
                                                          Financed amount
                                                          $164,381.28. Location:
                                                          1 Rancho Square,
                                                          Vallejo, CA.                Life Fitness, division of Brunswick Corp
                  State the term remaining                Continuing                  2716 Network Place
                                                                                      Columbia Center III
             List the contract number of any                                          9525 Bryn Mawr Ave., 5th Floor
                   government contract                                                Rosemont, IL 60018




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 Debtor 1 Pleasanton Fitness, LLC                                                            Case number (if known)   19-41949
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.42.       State what the contract or                   Lease for Equipment
             lease is for and the nature of               Schedule Number
             the debtor's interest                        008-0685465-308 dated
                                                          September 30, 2016 to
                                                          Master Lease
                                                          685465ML dated
                                                          August 11, 2016 by and
                                                          between Pleasanton
                                                          Fitness, LLC dba
                                                          Fitness Evolution and
                                                          Life Fitness, a division
                                                          of Brunswick
                                                          Corporation for 60
                                                          months (2 at $0.00; 58
                                                          at $5,250.29) accepted
                                                          by Lessor on
                                                          12/16/2016. Financed
                                                          amount $252,297.72.
                                                          Location: 1 Rancho
                                                          Square, Vallejo, CA.       Life Fitness, division of Brunswick Corp
                  State the term remaining                Continuing                 2716 Network Place
                                                                                     Columbia Center III
             List the contract number of any                                         9525 Bryn Mawr Ave., 5th Floor
                   government contract                                               Rosemont, IL 60018


 2.43.       State what the contract or                   Equipment Lease (TCF:
             lease is for and the nature of               008-0685465-301)
             the debtor's interest                        (Lease Schedule
                                                          Number: 4736-003) by
                                                          and between
                                                          Pleasanton Fitness,
                                                          LLC dba Fitness
                                                          Evolution and Life
                                                          Fitness, a division of
                                                          Brunswick Corporation
                                                          for 60 months (2 at
                                                          $0.00; 58 at $1,019.56)
                                                          accepted by Lessor on
                                                          2/8/2016. Financed
                                                          amount $48,994.11.
                                                          Location: 2705 Geer
                                                          Road, Turlock, CA.         Life Fitness, division of Brunswick Corp
                  State the term remaining                Continuing                 2716 Network Place
                                                                                     Columbia Center III
             List the contract number of any                                         9525 Bryn Mawr Ave., 5th Floor
                   government contract                                               Rosemont, IL 60018




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 Debtor 1 Pleasanton Fitness, LLC                                                            Case number (if known)   19-41949
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.44.       State what the contract or                   Equipment Lease
             lease is for and the nature of               (Lease Schedule
             the debtor's interest                        Number: 4736-004)
                                                          dated September 12,
                                                          2016 to Master Lease
                                                          685465ML dated
                                                          August 11, 2016 by and
                                                          between Pleasanton
                                                          Fitness, LLC dba
                                                          Fitness Evolution and
                                                          Life Fitness, a division
                                                          of Brunswick
                                                          Corporation for 60
                                                          months (2 at $0.00; 58
                                                          at $1,021.39) accepted
                                                          by Lessor on 2/9/2016.
                                                          Financed amount
                                                          $49,082.06. Amended
                                                          payment schedule
                                                          dated 2/9/2016: (2 at
                                                          $0.00; 58 at $733.92);
                                                          Financed amount
                                                          $35,267.97. Location:
                                                          2410 Broadway Ave.,
                                                          Santa Maria, CA.           Life Fitness, division of Brunswick Corp
                  State the term remaining                Continuing                 2716 Network Place
                                                                                     Columbia Center III
             List the contract number of any                                         9525 Bryn Mawr Ave., 5th Floor
                   government contract                                               Rosemont, IL 60018


 2.45.       State what the contract or                   Lease for Equipment
             lease is for and the nature of               Schedule Number
             the debtor's interest                        008-0685465-320 dated
                                                          November 30, 2016 to
                                                          Master Lease
                                                          685465ML dated
                                                          August 11, 2016 by and
                                                          between Pleasanton
                                                          Fitness, LLC dba
                                                          Fitness Evolution and
                                                          Life Fitness, a division
                                                          of Brunswick
                                                          Corporation for 36
                                                          months ($914.45)
                                                          accepted by Lessor on
                                                          12/27/2016. Financed
                                                          amount $29,225.78.
                                                          Location: 2851 Whitson
                                                          St., Selma, CA.            Life Fitness, division of Brunswick Corp
                  State the term remaining                Continuing                 2716 Network Place
                                                                                     Columbia Center III
             List the contract number of any                                         9525 Bryn Mawr Ave., 5th Floor
                   government contract                                               Rosemont, IL 60018




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 Debtor 1 Pleasanton Fitness, LLC                                                            Case number (if known)   19-41949
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.46.       State what the contract or                   Lease for Equipment
             lease is for and the nature of               (Lease No.
             the debtor's interest                        008-0685465-311) to
                                                          commence November
                                                          1, 2016 by and between
                                                          Pleasanton Fitness,
                                                          LLC dba Fitness
                                                          Evolution and Life
                                                          Fitness, a division of
                                                          Brunswick Corporation
                                                          for 48 months (2 at
                                                          $0.00; 46 at $1,004.59)
                                                          accepted by Lessor on
                                                          10/25/2016. Financed
                                                          amount $40,458.75.
                                                          Location: 2851 Whitson
                                                          St., Selma, CA.            Life Fitness, division of Brunswick Corp
                  State the term remaining                Continuing                 2716 Network Place
                                                                                     Columbia Center III
             List the contract number of any                                         9525 Bryn Mawr Ave., 5th Floor
                   government contract                                               Rosemont, IL 60018


 2.47.       State what the contract or                   Lease for Equipment
             lease is for and the nature of               Schedule Number
             the debtor's interest                        008-0685465-307 dated
                                                          September 12, 2016 to
                                                          Master Lease
                                                          685465ML dated
                                                          August 11, 2016 by and
                                                          between Pleasanton
                                                          Fitness, LLC dba
                                                          Fitness Evolution and
                                                          Life Fitness, a division
                                                          of Brunswick
                                                          Corporation for 60
                                                          months (2 at $0.00; 58
                                                          at $8,820.61) accepted
                                                          by Lessor on 11/7/2016.
                                                          Financed amount
                                                          $423,866.08. Location:
                                                          2851 Whitson St.,
                                                          Selma, CA.                 Life Fitness, division of Brunswick Corp
                  State the term remaining                Continuing                 2716 Network Place
                                                                                     Columbia Center III
             List the contract number of any                                         9525 Bryn Mawr Ave., 5th Floor
                   government contract                                               Rosemont, IL 60018




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 Debtor 1 Pleasanton Fitness, LLC                                                            Case number (if known)   19-41949
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.48.       State what the contract or                   Equipment Lease
             lease is for and the nature of               (4736-006) by and
             the debtor's interest                        between Pleasanton
                                                          Fitness, LLC dba
                                                          Fitness Evolution and
                                                          Life Fitness, a division
                                                          of Brunswick
                                                          Corporation for 36
                                                          months (2 at $0.00; 58
                                                          at $1,783.53) accepted
                                                          by Lessor on 4/11/2016.
                                                          Financed amount
                                                          $54,662.31. Equipment
                                                          Located at: 3641
                                                          Elkhorn Blvd., North
                                                          Highlands, CA; 8665 El
                                                          Camino Real,
                                                          Atascadero, CA; 2705
                                                          Geer Road, Turlock,
                                                          CA; 312 N. Sunrise
                                                          Avenue, Roseville, CA;
                                                          1301 W. Pacheco Blvd.,
                                                          Los Banos, CA.
                                                          Guaranty and Security
                                                          Agreement. UCC-1
                                                          Financing Statement:
                                                          Filing No.
                                                          167517590223.              Life Fitness, division of Brunswick Corp
                  State the term remaining                Continuing                 2716 Network Place
                                                                                     Columbia Center III
             List the contract number of any                                         9525 Bryn Mawr Ave., 5th Floor
                   government contract                                               Rosemont, IL 60018




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 Debtor 1 Pleasanton Fitness, LLC                                                            Case number (if known)   19-41949
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.49.       State what the contract or                   Master Lease
             lease is for and the nature of               Agreement (Equipment
             the debtor's interest                        Lease No. 4736-005) by
                                                          and between
                                                          Pleasanton Fitness,
                                                          LLC dba Fitness
                                                          Evolution and Life
                                                          Fitness, a division of
                                                          Brunswick Corporation
                                                          for 36 months (2 at
                                                          $0.00; 34 at $4,917.86)
                                                          accepted by Lessor on
                                                          4/11/2016. Financed
                                                          amount $150,724.88.
                                                          Equipment Located at:
                                                          8665 El Camino Real,
                                                          Atascadero, CA; 312 N.
                                                          Sunrise Ave., Roseville,
                                                          CA; 1301 W. Pacheco
                                                          Blvd., Los Banos, CA;
                                                          1025 N. Adams Street,
                                                          Dixon, CA 95620; 3641
                                                          Elkhorn Blvd., North
                                                          Highlands, CA.
                                                          Personal Guaranty;
                                                          Guaranty and Security
                                                          Agreement. UCC-1
                                                          Financing Statement:
                                                          Filing No.
                                                          167517590223.              Life Fitness, division of Brunswick Corp
                  State the term remaining                Continuing                 2716 Network Place
                                                                                     Columbia Center III
             List the contract number of any                                         9525 Bryn Mawr Ave., 5th Floor
                   government contract                                               Rosemont, IL 60018


 2.50.       State what the contract or                   Lease for Equipment
             lease is for and the nature of               Schedule Number
             the debtor's interest                        008-0685465-300
                                                          (Equipment Lease:
                                                          4736-001) dated July
                                                          26, 2017 to Master
                                                          Lease 685465ML dated
                                                          August 11, 2016 by and
                                                          between Pleasanton
                                                          Fitness, LLC dba
                                                          Fitness Evolution and
                                                          Life Fitness, a division
                                                          of Brunswick
                                                          Corporation for 60
                                                          months (2 at $0.00; 58
                                                          at $1,001.80) accepted
                                                          by Lessor on 9/28/2015.    Life Fitness, division of Brunswick Corp
                                                          Financed amount            2716 Network Place
                                                          $48,140.38. Location:      Columbia Center III
                                                          1150 9th St., #1230,       9525 Bryn Mawr Ave., 5th Floor
                                                          Modesto, CA.               Rosemont, IL 60018
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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining                Continuing

             List the contract number of any
                   government contract


 2.51.       State what the contract or                   Lease for Equipment
             lease is for and the nature of               Schedule Number
             the debtor's interest                        008-0685465-316 dated
                                                          November 16, 2016 to
                                                          Master Lease
                                                          685465ML dated
                                                          August 11, 2016 by and
                                                          between Pleasanton
                                                          Fitness, LLC dba
                                                          Fitness Evolution and
                                                          Life Fitness, a division
                                                          of Brunswick
                                                          Corporation for 60
                                                          months (2 at $0.00; 58
                                                          at $987.23) accepted by
                                                          Lessor on 2/17/2017.
                                                          Financed amount
                                                          $47,440.50. Location:
                                                          2326 Florin Rd.
                                                          Sacramento, CA.
                                                          Amended rent
                                                          payment: $1,300.58.        Life Fitness, division of Brunswick Corp
                  State the term remaining                Continuing                 2716 Network Place
                                                                                     Columbia Center III
             List the contract number of any                                         9525 Bryn Mawr Ave., 5th Floor
                   government contract                                               Rosemont, IL 60018


 2.52.       State what the contract or                   Lease for Equipment
             lease is for and the nature of               Schedule Number
             the debtor's interest                        008-0685465-331 dated
                                                          July 26, 2017 to Master
                                                          Lease 685465ML dated
                                                          August 11, 2016 by and
                                                          between Pleasanton
                                                          Fitness, LLC dba
                                                          Fitness Evolution and
                                                          Life Fitness, a division
                                                          of Brunswick
                                                          Corporation for 60
                                                          months (2 at $0.00; 58
                                                          at $1,614.10) accepted
                                                          by Lessor on 9/25/2017.
                                                          Financed amount
                                                          $76,615.18. Location:
                                                          8540 Church Street,
                                                          Gilroy, CA 95020.          Life Fitness, division of Brunswick Corp
                  State the term remaining                Continuing                 2716 Network Place
                                                                                     Columbia Center III
             List the contract number of any                                         9525 Bryn Mawr Ave., 5th Floor
                   government contract                                               Rosemont, IL 60018
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 Debtor 1 Pleasanton Fitness, LLC                                                               Case number (if known)   19-41949
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease



 2.53.       State what the contract or                   Lease for gym location
             lease is for and the nature of               at 3389 N. State Hwy
             the debtor's interest                        59, Suite A Merced, CA
                                                          95348
                  State the term remaining
                                                                                        LJ Steiner, LLC
             List the contract number of any                                            341 Business Parkway, Suite A
                   government contract                                                  Atwater, CA 95301


 2.54.       State what the contract or                   Equipment Lease
             lease is for and the nature of               Agreement (Lease No.
             the debtor's interest                        27675) by and between
                                                          Pleasanton Fitness,
                                                          LLC dba Fitness
                                                          Evolution and
                                                          Macrolease
                                                          Corporation for
                                                          equipment located at
                                                          6001 Fair Oaks Blvd.,
                                                          Carmichael, CA for 42
                                                          months (1 at
                                                          $10,437.34; 2-42 at
                                                          $2,608.20) commencing
                                                          on September 28, 2016.
                                                          One advance payment
                                                          1 month: $10,437.34.
                  State the term remaining                Continuing
                                                                                        Macrolease Corporation
             List the contract number of any                                            185 Express Street, Suite 100
                   government contract                                                  Plainview, NY 11803


 2.55.       State what the contract or                   Equipment Lease
             lease is for and the nature of               Agreement (Lease No.
             the debtor's interest                        27590) by and between
                                                          Pleasanton Fitness,
                                                          LLC dba Fitness
                                                          Evolution and
                                                          Macrolease
                                                          Corporation for
                                                          equipment located at
                                                          8665 El Camino Real,
                                                          Atascadero, CA for 42
                                                          months (1 at $1,372.39;
                                                          2-42 at $347.00)
                                                          commencing on
                                                          September 28, 2016.
                                                          One advance payment
                                                          1 month: $25,805.52.
                                                          Cross-Collateral and
                                                          Cross-Default
                                                          Agreement.                    Macrolease Corporation
                  State the term remaining                Continuing                    185 Express Street, Suite 100
                                                                                        Plainview, NY 11803
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 Debtor 1 Pleasanton Fitness, LLC                                                              Case number (if known)   19-41949
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

             List the contract number of any
                   government contract


 2.56.       State what the contract or                   Equipment Lease
             lease is for and the nature of               Agreement (Lease No.
             the debtor's interest                        27566) by and between
                                                          Pleasanton Fitness,
                                                          LLC dba Fitness
                                                          Evolution and
                                                          Macrolease
                                                          Corporation for
                                                          equipment located at
                                                          8665 El Camino Real,
                                                          Atascadero, CA for 42
                                                          months (1 at
                                                          $23,894.00; 2-42 at
                                                          $6,035.00) commencing
                                                          on September 28, 2016.
                                                          One advance payment
                                                          1 month: $25,805.52.
                  State the term remaining                Continuing
                                                                                       Macrolease Corporation
             List the contract number of any                                           185 Express Street, Suite 100
                   government contract                                                 Plainview, NY 11803


 2.57.       State what the contract or                   Equipment Lease
             lease is for and the nature of               Agreement (Lease No.
             the debtor's interest                        27429) by and between
                                                          Pleasanton Fitness,
                                                          LLC dba Fitness
                                                          Evolution and
                                                          Macrolease
                                                          Corporation for
                                                          equipment located at
                                                          1301 West Pacheco
                                                          Boulevard, Los Banos,
                                                          CA for 42 months (1 at
                                                          $2,472.10; 2-42 at
                                                          $315.81) commencing
                                                          on June 2, 2016. One
                                                          advance payment 1
                                                          month: $2,472.10.
                  State the term remaining                Continuing
                                                                                       Macrolease Corporation
             List the contract number of any                                           185 Express Street, Suite 100
                   government contract                                                 Plainview, NY 11803




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 Debtor 1 Pleasanton Fitness, LLC                                                              Case number (if known)   19-41949
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.58.       State what the contract or                   Equipment Lease
             lease is for and the nature of               Agreement (Lease No.
             the debtor's interest                        27412) by and between
                                                          Pleasanton Fitness,
                                                          LLC dba Fitness
                                                          Evolution and
                                                          Macrolease
                                                          Corporation for
                                                          equipment located at
                                                          1301 West Pacheco
                                                          Boulevard, Los Banos,
                                                          CA for 42 months (1 at
                                                          $51,933.27; 2-42 at
                                                          $6,634.44) commencing
                                                          on June 2, 2016. One
                                                          advance payment 1
                                                          month: $56,087.93.
                  State the term remaining                Continuing
                                                                                       Macrolease Corporation
             List the contract number of any                                           185 Express Street, Suite 100
                   government contract                                                 Plainview, NY 11803


 2.59.       State what the contract or                   Equipment Lease
             lease is for and the nature of               Agreement and
             the debtor's interest                        Equipment Finance
                                                          Agreement and
                                                          Ancillary Documents
                                                          (Lease No. 27931-2) by
                                                          and between
                                                          Pleasanton Fitness,
                                                          LLC dba Fitness
                                                          Evolution Hanford and
                                                          Macrolease
                                                          Corporation for
                                                          equipment located at
                                                          110 S. 11th Avenue,
                                                          Hanford, CA for 42
                                                          months ($8,309.00)
                                                          commencing on June
                                                          30, 2017. One advance
                                                          payment: $8,309.00.
                  State the term remaining                Continuing
                                                                                       Macrolease Corporation
             List the contract number of any                                           185 Express Street, Suite 100
                   government contract                                                 Plainview, NY 11803




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 Debtor 1 Pleasanton Fitness, LLC                                                               Case number (if known)   19-41949
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.60.       State what the contract or                   Equipment Lease
             lease is for and the nature of               Agreement (Lease No.
             the debtor's interest                        27931-1) by and
                                                          between Pleasanton
                                                          Fitness, LLC dba
                                                          Fitness Evolution
                                                          Manteca and
                                                          Macrolease
                                                          Corporation for
                                                          equipment located at
                                                          934 Perimeter Drive,
                                                          Manteca, CA for 42
                                                          months ($2,037.01)
                                                          commencing on April
                                                          18, 2017. One advance
                                                          payment: $1,155.34.
                  State the term remaining                Continuing
                                                                                        Macrolease Corporation
             List the contract number of any                                            185 Express Street, Suite 100
                   government contract                                                  Plainview, NY 11803


 2.61.       State what the contract or                   Equipment Lease
             lease is for and the nature of               Agreement (Lease No.
             the debtor's interest                        27927) by and between
                                                          Pleasanton Fitness,
                                                          LLC dba Fitness
                                                          Evolution Oakdale and
                                                          Macrolease
                                                          Corporation for
                                                          equipment located at
                                                          1275 E. F Street, Suite
                                                          1, Oakdale, CA for 42
                                                          months ($1,155.34)
                                                          accepted on April 10,
                                                          2017. One advance
                                                          payment: $1,155.34.
                  State the term remaining                Continuing
                                                                                        Macrolease Corporation
             List the contract number of any                                            185 Express Street, Suite 100
                   government contract                                                  Plainview, NY 11803




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 Debtor 1 Pleasanton Fitness, LLC                                                             Case number (if known)   19-41949
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.62.       State what the contract or                   Equipment Lease
             lease is for and the nature of               Agreement and
             the debtor's interest                        Equipment Finance
                                                          Agreement and
                                                          Ancillary Documents
                                                          (Lease No. 27762) by
                                                          and between
                                                          Pleasanton Fitness,
                                                          LLC dba Fitness
                                                          Evolution Modesto and
                                                          Macrolease
                                                          Corporation for
                                                          equipment located at
                                                          4120 Dale Road, Suite
                                                          G, Modesto, CA for 42
                                                          months ($1,629.95)
                                                          accepted on April 18,
                                                          2017. One advance
                                                          payment: $1,629.95.
                  State the term remaining                Continuing
                                                                                      Macrolease Corporation
             List the contract number of any                                          185 Express Street, Suite 100
                   government contract                                                Plainview, NY 11803


 2.63.       State what the contract or                   Shopping Center Lease
             lease is for and the nature of               by and between
             the debtor's interest                        Manteca Lifestyle
                                                          Center, LLC and
                                                          Pleasanton Fitness,
                                                          LLC, dated September
                                                          28, 2016 for the
                                                          property located at 934
                                                          Perimeter Drive,
                                                          Manteca, CA 95337, for
                                                          ten years and six
                                                          months. Base monthly
                                                          rent schedule: Months
                                                          1-66 ($34,693.89);
                                                          Months 67-126
                                                          ($38,849.15). Security
                                                          Deposit: ($0.00).           Manteca Lifestyle Center, LLC
                  State the term remaining                Continuing                  c/o PM Lifestyle Shopping Centers, LLC
                                                                                      Attn: Lease Administration
             List the contract number of any                                          2650 Thousand Oaks Blvd., Suite 2200
                   government contract                                                Memphis, TN 38118




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 Debtor 1 Pleasanton Fitness, LLC                                                            Case number (if known)   19-41949
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.64.       State what the contract or                   Standard Multi-Tenant
             lease is for and the nature of               Shopping Center Lease
             the debtor's interest                        by and between
                                                          Masellis, LLC and
                                                          Pleasanton Fitness,
                                                          LLC, dated April 1, 2016
                                                          for the property located
                                                          at 4120 Dale Road,
                                                          Suite G, Modesto, CA
                                                          for ten years
                                                          commencing April 1,
                                                          2016 ending December
                                                          31, 2025. Base Rent:
                                                          $27,500.00 per month.
                                                          Security Deposit:
                                                          ($0.00). Base monthly
                                                          rent schedule:
                                                          3/1/2016-12/31/2017
                                                          ($27,500.00);
                                                          1/1/2018-12/31/2020
                                                          ($28,000.00);
                                                          1/1/2021-12/31/2025
                                                          ($30,800.00).
                  State the term remaining                Continuing                 Masellis LLC
                                                                                     Attn: John Masellis, Managing Member
             List the contract number of any                                         119 Albers Road
                   government contract                                               Modesto, CA 95357


 2.65.       State what the contract or                   Pleasanton Fitness,
             lease is for and the nature of               LLC and Matthew B.
             the debtor's interest                        Smith, DBA Pacific
                                                          Martial Arts, agreement
                                                          for a license to use
                                                          Fitness Room for the
                                                          purpose of instruction
                                                          of mixed martial arts
                                                          sessions on a month to
                                                          month basis from
                                                          beginning March 1,
                                                          2019 and continuing on
                                                          a month to month
                                                          basis.
                  State the term remaining                Continuing
                                                                                     Matthew B. Smith
             List the contract number of any                                         2922 Moody Avenue
                   government contract                                               Clovis, CA 93619




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.66.       State what the contract or                   Pleasanton Fitness,
             lease is for and the nature of               LLC, and Matthew O.
             the debtor's interest                        Fatusi Moores Karate
                                                          License Agreement
                                                          made as of the 28th day
                                                          of June, 2017 for a
                                                          license to use Fitness
                                                          Room for the purpose
                                                          of instruction of mixed
                                                          martial arts sessions
                                                          on a month to month
                                                          basis from beginning
                                                          July 1, 2017 and
                                                          continuing on a month
                                                          to month basis.
                  State the term remaining                Continuing
                                                                                         Matthew O. Fatusi
             List the contract number of any                                             429 W. Yosemite Avenue
                   government contract                                                   Manteca, CA 95337


 2.67.       State what the contract or                   American Striker
             lease is for and the nature of               License Agreement by
             the debtor's interest                        and between
                                                          Pleasanton Fitness,
                                                          LLC and Michael
                                                          Anthony Moscon; dba
                                                          American Striker
                                                          Academy, month to
                                                          month license from
                                                          April 1, 2018 on, to use
                                                          Fitness Room for the
                                                          purpose of instruction
                                                          of mixed martial arts
                                                          sessions.
                  State the term remaining                Continuing
                                                                                         Michael Anthony Moscon
             List the contract number of any                                             460 E 10th Street
                   government contract                                                   Tracy, CA 95376


 2.68.       State what the contract or                   Lease for facility at
             lease is for and the nature of               1822 E. Hammer Lane
             the debtor's interest                        Stockton, CA 95210

                  State the term remaining
                                                                                         NJ Investments
             List the contract number of any                                             PO Box 5540
                   government contract                                                   Johnstown, PA 15904




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.69.       State what the contract or                   Shopping Center Lease
             lease is for and the nature of               by and between
             the debtor's interest                        Nomoto Investments,
                                                          LLC and Pleasanton
                                                          Fitness, LLC dba
                                                          Fitness Evolution dated
                                                          February 11, 2014 for
                                                          the property located at
                                                          Heritage Shopping
                                                          Center, Unit 180,
                                                          Tulare, CA. Rent
                                                          schedule as follows:
                                                          Months 1-9 ($0.00);
                                                          Months 10-21
                                                          ($5,242.44); Months
                                                          22-60 ($10,484.88);
                                                          Months 61-120
                                                          ($11,533.37); Months
                                                          121-180 ($12,686.71).
                  State the term remaining                Continuing
                                                                                      Nomoto Investments, LLC
             List the contract number of any                                          P.O. Box 3007
                   government contract                                                Beverly Hills,, CA 90212


 2.70.       State what the contract or                   Lease for facility at
             lease is for and the nature of               2406 S. Broadway
             the debtor's interest                        Santa Maria, CA

                  State the term remaining                                            Phillips Edison DBA: Broadway Pavilion S
                                                                                      PO Box 645439
             List the contract number of any                                          11501 Northlake Drive
                   government contract                                                Cincinnati, OH 45249




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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.71.       State what the contract or                   Lease by and between
             lease is for and the nature of               Plaza Rubino, LLC and
             the debtor's interest                        Pleasanton Fitness,
                                                          LLC dated October 30,
                                                          2015 for the property
                                                          located at 101 East
                                                          Vineyard Avenue,
                                                          Suites 201, 205 and
                                                          209, Livermore, CA to
                                                          commence December
                                                          1, 2015 and to expire
                                                          February 28, 2019. Rent
                                                          Schedule: Months 1-3
                                                          (Free) 4-15 ($10,000.00);
                                                          Months 16-27
                                                          ($10,000.00); Months
                                                          28-39 ($10,300.00).
                                                          Security Deposit:
                                                          ($0.00). First
                                                          Amendment to Lease
                                                          dated June, 2018
                                                          extends lease term to
                                                          February 28, 2022.
                  State the term remaining                Continuing                  Piazza Rubino, LLC
                                                                                      Attn: Cory Kamian
             List the contract number of any                                          4670 Willow Road, Suite 200
                   government contract                                                Pleasanton, CA 94588


 2.72.       State what the contract or                   Lease for facility
             lease is for and the nature of               located 6360 North
             the debtor's interest                        Figarden Road Fresno,
                                                          CA 93722.
                  State the term remaining
                                                                                      Property Multipliers, LLC
             List the contract number of any                                          2291 West March Lane Suite B-215
                   government contract                                                Stockton, CA 95207


 2.73.       State what the contract or                   Lease for facility at
             lease is for and the nature of               4774 N. Blackstone
             the debtor's interest                        Ave. Fresno, CA 93726

                  State the term remaining
                                                                                      Robert Mitchell
             List the contract number of any                                          2626 W. Alluvial
                   government contract                                                Fresno, CA 93711


 2.74.       State what the contract or                   Lease located at gym
             lease is for and the nature of               located at 991 Alamo
             the debtor's interest                        Drive Vacaville, CA
                                                          95687
                  State the term remaining
                                                                                      RT Golden Hills, LP
             List the contract number of any                                          6359 Auburn Blvd., Ste B
                   government contract                                                Citrus Heights, CA 95621
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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease



 2.75.       State what the contract or                   Lease for facility at
             lease is for and the nature of               8121 Madison Ave, Fair
             the debtor's interest                        Oaks, CA 95628.

                  State the term remaining
                                                                                     Sallie Walker Merker
             List the contract number of any                                         4360 Marconi Ave
                   government contract                                               Sacramento, CA 95821


 2.76.       State what the contract or                   Retail Lease Agreement
             lease is for and the nature of               by and between Sand
             the debtor's interest                        Creek Crossing, LLC
                                                          and Pleasanton
                                                          Fitness, LLC dated
                                                          December 26, 2013 for
                                                          the property located at
                                                          2490 Sand Creek Road,
                                                          Brentwood, CA for five
                                                          years commencing on
                                                          or about June 21, 2014.
                                                          Base Rent: $5,843.75
                                                          per month (Annual:
                                                          $70,125.00). Security
                                                          Deposit: $15,000.00.
                                                          First Amendment dated
                                                          June 18, 2018
                                                          extending lease term to
                                                          June 30, 2024,
                                                          commencing July 1,
                                                          2019 altering base rent
                                                          with the following
                                                          schedule: Lease Years
                                                          6-10 ($5,843.75); Lease
                                                          Years 11-15
                                                          ($10,312.50).
                  State the term remaining                Continuing                 Sand Creek Crossing, LLC
                                                                                     c/o Colliers International
             List the contract number of any                                         1850 Mt. Diablo Boulevard, Suite 200
                   government contract                                               Walnut Creek, CA 94596




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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.77.       State what the contract or                   Retail Lease at Santa
             lease is for and the nature of               Rita Plaza by and
             the debtor's interest                        between Santa Rita
                                                          GRF2, LLC and
                                                          Pleasanton Fitness,
                                                          LLC dba Fitness
                                                          Evolution, dated
                                                          August 25, 2016 for the
                                                          property located at
                                                          1924 Main Street,
                                                          Salinas, CA. Tenant has
                                                          three options to extend
                                                          term of lease, each for
                                                          period of five years.
                                                          Annual rent is payable
                                                          as follows: Months 1-6
                                                          ($0.00); Months 7-12
                                                          ($7,083.22/month);
                                                          Months 13-60
                                                          ($14,166.44/month);
                                                          Months 61-120
                                                          ($15,588.77/month);
                                                          121-180
                                                          ($17,139.12/month);
                                                          Security Deposit:
                                                          ($0.00). Tenant
                                                          Improvement
                                                          Allowance:
                                                          $512,040.00.
                  State the term remaining                Continuing                 Santa Rita GRF2, LLC
                                                                                     Attn: John A. Waters
             List the contract number of any                                         973 Lomas Santa Fe Drive
                   government contract                                               Solona Beach, CA 92075


 2.78.       State what the contract or                   Lease for facility
             lease is for and the nature of               located at 1717 Oakdale
             the debtor's interest                        Road Oakmore Plaza
                                                          Modesto, CA 95355
                  State the term remaining
                                                                                     Sheila Ortloft DBA: J & S Management
             List the contract number of any                                         702 Marshall Street #420
                   government contract                                               Redwood City, CA 94064




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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.79.       State what the contract or                   Standard Multi-Tenant
             lease is for and the nature of               Shopping Center Lease
             the debtor's interest                        by and between Smith
                                                          Family Trust dated
                                                          1/7/1982 and
                                                          Pleasanton Fitness,
                                                          LLC, dated August 5,
                                                          2016 for the property
                                                          located at 2851
                                                          Whitson Street, Selma,
                                                          CA for twenty years
                                                          commencing
                                                          September 1, 2016
                                                          ending August 31,
                                                          2026. Base Rent:
                                                          $25,000.00 per month.
                                                          Security Deposit:
                                                          ($0.00). Rent schedule
                                                          as follows: Months
                                                          1-60: ($25,000.00);
                                                          Months 61-120
                                                          ($26,875.00); Months
                                                          121-180 ($28,890.00);
                                                          Months 181-240
                                                          ($31,057.00); Months
                                                          241-300 ($33,386.00).
                  State the term remaining                Continuing
                                                                                       Smith Family Trust dated 1/7/1982
             List the contract number of any                                           16851 Weddington St
                   government contract                                                 Encino, CA 91436


 2.80.       State what the contract or                   Lease for facility at
             lease is for and the nature of               7870 Florin Rd
             the debtor's interest                        Sacramento, CA 95828

                  State the term remaining
                                                                                       Spirit Realty Capital
             List the contract number of any                                           2727 N. Harwood St. Suite 300
                   government contract                                                 Dallas, TX 75201


 2.81.       State what the contract or                   Lease for gym facility
             lease is for and the nature of               at 6001 Fair Oaks Blvd
             the debtor's interest                        Carmichael, CA 95608

                  State the term remaining
                                                                                       Store Master Funding
             List the contract number of any                                           8501 S. Princess Drive Suite 190
                   government contract                                                 Scottsdale, AZ 85255


 2.82.       State what the contract or                   Lease for facility at
             lease is for and the nature of               1300 Verne Roberts
             the debtor's interest                        Circle Antioch, CA           Store Master Funding
                                                          94509                        8501 S. Princess Drive Suite 190
                  State the term remaining                                             Scottsdale, AZ 85255
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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease


             List the contract number of any
                   government contract


 2.83.       State what the contract or                   Commercial Equipment
             lease is for and the nature of               Lease Agreement
             the debtor's interest                        commencing on
                                                          August 9, 2016 by and
                                                          between Pleasanton
                                                          Fitness, LLC dba
                                                          Fitness Evolution and
                                                          TimePayment Corp. for
                                                          45 months ($419.76).
                                                          Payable at signing:
                                                          $584.64.
                  State the term remaining                Continuing
                                                                                     Time Payment Corporation
             List the contract number of any                                         1600 District Avenue, Suite 200
                   government contract                                               Burlington, MA 01803


 2.84.       State what the contract or                   Lease by and between
             lease is for and the nature of               Tracy Mall Partners,
             the debtor's interest                        L.P., a Delaware limited
                                                          partnership, and
                                                          Pleasanton Fitness,
                                                          LLC dba Fit Republic
                                                          dated June 30, 2017 for
                                                          the property located
                                                          3200 N Naglee Rd.,
                                                          Bldg F, Tracy Mall,
                                                          Tracy, CA First
                                                          Amendment of Lease.
                  State the term remaining                Continuing
                                                                                     Tracy Mall Partners, L.P.
             List the contract number of any                                         3200 North Naglee Road
                   government contract                                               Tracy, CA 95304


 2.85.       State what the contract or                   Individual Item Lease
             lease is for and the nature of               Agreement (Lease No.
             the debtor's interest                        18631-0013) by and
                                                          between United
                                                          Leasing, Inc. and
                                                          Pleasanton Fitness,
                                                          LLC for 42 months (1 at
                                                          $29,198.87, 41 at
                                                          $7,377.48/month) to
                                                          commence on or about
                                                          February 25, 2016 for
                                                          equipment located at:
                                                          120 Main St.,
                                                          Woodland, CA.
                  State the term remaining                Continuing                 United Leasing, Inc.
                                                                                     3700 Morgan Avenue
             List the contract number of any                                         Evansville, IN 47715
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                 Page 39 of 45
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                                                                               194
 Debtor 1 Pleasanton Fitness, LLC                                                              Case number (if known)   19-41949
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.86.       State what the contract or                   Individual Item Lease
             lease is for and the nature of               Agreement (Lease No.
             the debtor's interest                        18631-0017) by and
                                                          between United
                                                          Leasing, Inc. and
                                                          Pleasanton Fitness,
                                                          LLC for 39 months (1 at
                                                          $3,115.48, 38 at
                                                          $840.32/month) to
                                                          commence on or about
                                                          March 10, 2016 for
                                                          equipment located at:
                                                          25 Penny Lane,
                                                          Watsonville, CA.
                  State the term remaining                Continuing
                                                                                       United Leasing, Inc.
             List the contract number of any                                           3700 Morgan Avenue
                   government contract                                                 Evansville, IN 47715


 2.87.       State what the contract or                   Individual Item Lease
             lease is for and the nature of               Agreement (Lease No.
             the debtor's interest                        18631-0012) by and
                                                          between United
                                                          Leasing, Inc. and
                                                          Pleasanton Fitness,
                                                          LLC for 42 months (40
                                                          at $7,022.71/month) to
                                                          commence on
                                                          December 27, 2015 for
                                                          equipment located at:
                                                          2410 Broadway Ave.,
                                                          Santa Maria, CA.
                  State the term remaining                Continuing
                                                                                       United Leasing, Inc.
             List the contract number of any                                           3700 Morgan Avenue
                   government contract                                                 Evansville, IN 47715


 2.88.       State what the contract or                   Individual Item Lease
             lease is for and the nature of               Agreement (Lease No.
             the debtor's interest                        18631-0025) by and
                                                          between United
                                                          Leasing, Inc. and
                                                          Pleasanton Fitness,
                                                          LLC for 42 months (1 at
                                                          $53,750.00, 41 at
                                                          $7,560.17/month) to
                                                          commence on June 2,
                                                          2016 for equipment
                                                          located at: 312 N.
                                                          Sunrise Avenue,              United Leasing, Inc.
                                                          Roseville, CA.               3700 Morgan Avenue
                  State the term remaining                Continuing                   Evansville, IN 47715
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                                                                               194
 Debtor 1 Pleasanton Fitness, LLC                                                            Case number (if known)   19-41949
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease


             List the contract number of any
                   government contract


 2.89.       State what the contract or                   Individual Item Lease
             lease is for and the nature of               Agreement (Lease No.
             the debtor's interest                        18631-0024) by and
                                                          between United
                                                          Leasing, Inc. and
                                                          Pleasanton Fitness,
                                                          LLC for 42 months (1 at
                                                          $54,000.00, 41 at
                                                          $7,398.66/month) to
                                                          commence on May 22,
                                                          2016 for equipment
                                                          located at: 3641
                                                          Elkhorn Blvd., North
                                                          Highlands, CA.
                  State the term remaining                Continuing
                                                                                     United Leasing, Inc.
             List the contract number of any                                         3700 Morgan Avenue
                   government contract                                               Evansville, IN 47715


 2.90.       State what the contract or                   Individual Item Lease
             lease is for and the nature of               Agreement (Lease No.
             the debtor's interest                        18631-0023) by and
                                                          between United
                                                          Leasing, Inc. and
                                                          Pleasanton Fitness,
                                                          LLC for 36 months (1 at
                                                          $3198.39, 35 at
                                                          $421.43/month) to
                                                          commence on May 27,
                                                          2016 for equipment
                                                          located at: 125 N.
                                                          Adams Street, Dixon,
                                                          CA.
                  State the term remaining                Continuing
                                                                                     United Leasing, Inc.
             List the contract number of any                                         3700 Morgan Avenue
                   government contract                                               Evansville, IN 47715




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 Debtor 1 Pleasanton Fitness, LLC                                                            Case number (if known)   19-41949
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.91.       State what the contract or                   Individual Item Lease
             lease is for and the nature of               Agreement (Lease No.
             the debtor's interest                        18631-0020) by and
                                                          between United
                                                          Leasing, Inc. and
                                                          Pleasanton Fitness,
                                                          LLC for 42 months (1 at
                                                          $52,736.25, 41 at
                                                          $6,626.53/month) to
                                                          commence on or about
                                                          May 4, 2016 for
                                                          equipment located at:
                                                          125 N. Adams Street,
                                                          Dixon, CA.
                  State the term remaining                Continuing
                                                                                     United Leasing, Inc.
             List the contract number of any                                         3700 Morgan Avenue
                   government contract                                               Evansville, IN 47715


 2.92.       State what the contract or                   Individual Item Lease
             lease is for and the nature of               Agreement (Lease No.
             the debtor's interest                        18631-0019) by and
                                                          between United
                                                          Leasing, Inc. and
                                                          Pleasanton Fitness,
                                                          LLC for 42 months (1 at
                                                          $42,328.24, 41 at
                                                          $6,722.90/month) to
                                                          commence on or about
                                                          May 4, 2016 for
                                                          equipment located at:
                                                          4744 N. Blackstone
                                                          Avenue, Fresno, CA.
                  State the term remaining                Continuing
                                                                                     United Leasing, Inc.
             List the contract number of any                                         3700 Morgan Avenue
                   government contract                                               Evansville, IN 47715


 2.93.       State what the contract or                   Individual Item Lease
             lease is for and the nature of               Agreement (Lease No.
             the debtor's interest                        18631-0018) dated July
                                                          12, 2016 by and
                                                          between United
                                                          Leasing, Inc. and
                                                          Pleasanton Fitness,
                                                          LLC for 36 months (1 at
                                                          $5,921.86, 35 at
                                                          $777.53/month) to
                                                          commence on or about
                                                          May 4, 2016 for
                                                          equipment located at:
                                                          4744 N. Blackstone
                                                          Avenue, Fresno, CA.        United Leasing, Inc.
                  State the term remaining                Continuing                 3700 Morgan Avenue
                                                                                     Evansville, IN 47715
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                 Page 42 of 45
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 Debtor 1 Pleasanton Fitness, LLC                                                            Case number (if known)   19-41949
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

             List the contract number of any
                   government contract


 2.94.       State what the contract or                   Individual Item Lease
             lease is for and the nature of               Agreement (Lease No.
             the debtor's interest                        18631-0022) dated July
                                                          12, 2016 by and
                                                          between United
                                                          Leasing, Inc. and
                                                          Pleasanton Fitness,
                                                          LLC for 36 months (1 at
                                                          $24,638.16, 35 at
                                                          $3,114.69/month) to
                                                          commence July 27,
                                                          2016 for equipment
                                                          located at: 1301 West
                                                          Pacheco Boulevard,
                                                          Los Banos, CA; 1803
                                                          Sunset Ave., Madera,
                                                          CA; 2330 W. Cleveland
                                                          Ave., Madera, CA; 3641
                                                          Elkhorn Blvd., North
                                                          Highlands, CA. No
                                                          down payment.
                  State the term remaining                Continuing
                                                                                     United Leasing, Inc.
             List the contract number of any                                         3700 Morgan Avenue
                   government contract                                               Evansville, IN 47715


 2.95.       State what the contract or                   Individual Item Lease
             lease is for and the nature of               Agreement (Lease No.
             the debtor's interest                        18631-0021) dated June
                                                          20, 2016 by and
                                                          between United
                                                          Leasing, Inc. and
                                                          Pleasanton Fitness,
                                                          LLC for equipment
                                                          located at 312 N.
                                                          Sunrise Avenue,
                                                          Roseville, CA for 36
                                                          months (1 at $5,882.18,
                                                          35 at $775.06/month) to
                                                          commence August 9,
                                                          2016. No down
                                                          payment.
                  State the term remaining                Continuing
                                                                                     United Leasing, Inc.
             List the contract number of any                                         3700 Morgan Avenue
                   government contract                                               Evansville, IN 47715




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 Debtor 1 Pleasanton Fitness, LLC                                                              Case number (if known)   19-41949
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.96.       State what the contract or                   Individual Item Lease
             lease is for and the nature of               Agreement (Lease No.
             the debtor's interest                        18631-0026) dated
                                                          August 9, 2016 by and
                                                          between United
                                                          Leasing, Inc. and
                                                          Pleasanton Fitness,
                                                          LLC for equipment
                                                          located at 3641 Elkhorn
                                                          Blvd., North Highlands,
                                                          CA for 40 months
                                                          ($11,296.50, 39 at
                                                          $780.00/month) to
                                                          commence August 9,
                                                          2016. No down
                                                          payment.
                  State the term remaining                Continuing
                                                                                       United Leasing, Inc.
             List the contract number of any                                           3700 Morgan Avenue
                   government contract                                                 Evansville, IN 47715


 2.97.       State what the contract or                   Individual Item Lease
             lease is for and the nature of               Agreement (Lease No.
             the debtor's interest                        18631-0027) dated June
                                                          20, 2017 by and
                                                          between United
                                                          Leasing, Inc. and
                                                          Pleasanton Fitness,
                                                          LLC for equipment
                                                          located at 8540 Church
                                                          Street, Gilroy, CA for 42
                                                          months
                                                          ($3,872.86/month) to
                                                          commence July 10,
                                                          2017. No down
                                                          payment. Agreement is
                                                          subject to the Master
                                                          Equipment Lease dated
                                                          February 1, 2016.
                                                          Cross-collateral of all
                                                          leases,
                                                          #186310001-186310026
                  State the term remaining                Continuing
                                                                                       United Leasing, Inc.
             List the contract number of any                                           3700 Morgan Avenue
                   government contract                                                 Evansville, IN 47715


 2.98.       State what the contract or                   Lease for gym facility
             lease is for and the nature of               at 3643 Elkhorn Blvd,
             the debtor's interest                        North Highlands, CA
                                                          95660
                  State the term remaining
                                                                                       Watt Town Center Retail Partners
             List the contract number of any                                           PO Box 398594
                   government contract                                                 San Francisco, CA 94139
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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease



 2.99.       State what the contract or                   Lease Agreement,
             lease is for and the nature of               Sales and Maintenance
             the debtor's interest                        Agreement dated June
                                                          2, 2017 by and between
                                                          Zoom Imaging
                                                          Solutions Inc. and
                                                          Pleasanton Fitness,
                                                          LLC for 63 months
                                                          ($188.10/month) for
                                                          Toshiba 45ppm Color
                                                          COpier/Printer Scanner
                                                          (Model No.
                                                          e-Studio4505AC).
                  State the term remaining                Continuing
                                                                                     Zoom Imaging Solutions Inc.
             List the contract number of any                                         P.O. Box 398147
                   government contract                                               San Francisco, CA 94139-8147




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 Fill in this information to identify the case:

 Debtor name         Pleasanton Fitness, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)         19-41949
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Monterey                                                                           Macrolease                      D
             Fitness, LLC                      Inactive                                         Corporation                      E/F
                                                                                                                                G       2.55




    2.2      Monterey                                                                           Axis Capital Inc.               D
             Fitness, LLC                                                                                                        E/F
                                                                                                                                G       2.4




    2.3      Monterey                                                                           Axis Capital Inc.               D
             Fitness, LLC                                                                                                        E/F
                                                                                                                                G       2.5




    2.4      Monterey                                                                           Axis Capital Inc.               D
             Fitness, LLC                                                                                                        E/F
                                                                                                                                G       2.81




    2.5      Monterey                                                                           Axis Capital Inc.               D
             Fitness, LLC                                                                                                        E/F
                                                                                                                                G       2.6




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           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Monterey                                                                          Axis Capital Inc.              D
             Fitness, LLC                                                                                                      E/F
                                                                                                                              G       2.7




    2.7      Monterey                                                                          Axis Capital Inc.              D
             Fitness, LLC                                                                                                      E/F
                                                                                                                              G       2.8




    2.8      Monterey                                                                          Axis Capital Inc.              D
             Fitness, LLC                                                                                                      E/F
                                                                                                                              G       2.9




    2.9      Monterey                                                                          Life Fitness, division         D
             Fitness, LLC                                                                      of Brunswick Corp               E/F
                                                                                                                              G       2.52




    2.10     OM Fitness LLC                    101 E Vineyard Ave., Suite 201                  Life Fitness, division         D
                                               Livermore, CA 94550                             of Brunswick Corp               E/F
                                                                                                                              G       2.49




    2.11     OM Fitness LLC                    101 E Vineyard Ave., Suite 201                  Macrolease                     D
                                               Livermore, CA 94550                             Corporation                     E/F
                                                                                                                              G       2.55




    2.12     OM Fitness LLC                    101 E Vineyard Ave., Suite 201                  Axis Capital Inc.              D
                                               Livermore, CA 94550                                                             E/F
                                                                                                                              G       2.4




    2.13     OM Fitness LLC                    101 E Vineyard Ave., Suite 201                  Axis Capital Inc.              D
                                               Livermore, CA 94550                                                             E/F
                                                                                                                              G       2.5




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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.14     OM Fitness LLC                    101 E Vineyard Ave., Suite 201                  Axis Capital Inc.              D
                                               Livermore, CA 94550                                                             E/F
                                                                                                                              G       2.81




    2.15     OM Fitness LLC                    101 E Vineyard Ave., Suite 201                  Axis Capital Inc.              D
                                               Livermore, CA 94550                                                             E/F
                                                                                                                              G       2.6




    2.16     OM Fitness LLC                    101 E Vineyard Ave., Suite 201                  Axis Capital Inc.              D
                                               Livermore, CA 94550                                                             E/F
                                                                                                                              G       2.7




    2.17     OM Fitness LLC                    101 E Vineyard Ave., Suite 201                  Axis Capital Inc.              D
                                               Livermore, CA 94550                                                             E/F
                                                                                                                              G       2.8




    2.18     OM Fitness LLC                    101 E Vineyard Ave., Suite 201                  Axis Capital Inc.              D
                                               Livermore, CA 94550                                                             E/F
                                                                                                                              G       2.9




    2.19     OM Fitness LLC                    101 E Vineyard Ave., Suite 201                  Life Fitness, division         D
                                               Livermore, CA 94550                             of Brunswick Corp               E/F
                                                                                                                              G       2.52




    2.20     Sanjiv Kumar                      101 E Vineyard Avenue, Suite 201                Life Fitness, division         D
             Chopra                            Livermore, CA 94550                             of Brunswick Corp               E/F
                                                                                                                              G       2.46




    2.21     Sanjiv Kumar                      101 E Vineyard Avenue, Suite 201                Life Fitness, division         D
             Chopra                            Livermore, CA 94550                             of Brunswick Corp               E/F
                                                                                                                              G       2.48




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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.22     Sanjiv Kumar                      101 E Vineyard Avenue, Suite 201                Life Fitness, division         D
             Chopra                            Livermore, CA 94550                             of Brunswick Corp               E/F
                                                                                                                              G       2.49




    2.23     Sanjiv Kumar                      101 E Vineyard Avenue, Suite 201                Macrolease                     D
             Chopra                            Livermore, CA 94550                             Corporation                     E/F
                                                                                                                              G       2.55




    2.24     Sanjiv Kumar                      101 E Vineyard Avenue, Suite 201                JTL Enterprises Inc.,          D
             Chopra                            Livermore, CA 94550                             dba HydroMassage                E/F
                                                                                                                              G       2.28




    2.25     Sanjiv Kumar                      101 E Vineyard Avenue, Suite 201                JTL Enterprises Inc.,          D
             Chopra                            Livermore, CA 94550                             dba HydroMassage                E/F
                                                                                                                              G       2.29




    2.26     Sanjiv Kumar                      101 E Vineyard Avenue, Suite 201                JTL Enterprises Inc.,          D
             Chopra                            Livermore, CA 94550                             dba HydroMassage                E/F
                                                                                                                              G       2.30




    2.27     Sanjiv Kumar                      101 E Vineyard Avenue, Suite 201                JTL Enterprises Inc.,          D
             Chopra                            Livermore, CA 94550                             dba HydroMassage                E/F
                                                                                                                              G       2.31




    2.28     Sanjiv Kumar                      101 E Vineyard Avenue, Suite 201                JTL Enterprises Inc.,          D
             Chopra                            Livermore, CA 94550                             dba HydroMassage                E/F
                                                                                                                              G       2.32




    2.29     Sanjiv Kumar                      101 E Vineyard Avenue, Suite 201                JTL Enterprises Inc.,          D
             Chopra                            Livermore, CA 94550                             dba HydroMassage                E/F
                                                                                                                              G       2.33




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            Additional Page to List More Codebtors
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            Column 1: Codebtor                                                          Column 2: Creditor



    2.30     Sanjiv Kumar                      101 E Vineyard Avenue, Suite 201                JTL Enterprises Inc.,          D
             Chopra                            Livermore, CA 94550                             dba HydroMassage                E/F
                                                                                                                              G       2.34




    2.31     Sanjiv Kumar                      101 E Vineyard Avenue, Suite 201                JTL Enterprises Inc.,          D
             Chopra                            Livermore, CA 94550                             dba HydroMassage                E/F
                                                                                                                              G       2.35




    2.32     Sanjiv Kumar                      101 E Vineyard Avenue, Suite 201                JTL Enterprises Inc.,          D
             Chopra                            Livermore, CA 94550                             dba HydroMassage                E/F
                                                                                                                              G       2.36




    2.33     Sanjiv Kumar                      101 E Vineyard Avenue, Suite 201                JTL Enterprises Inc.,          D
             Chopra                            Livermore, CA 94550                             dba HydroMassage                E/F
                                                                                                                              G       2.37




    2.34     Sanjiv Kumar                      101 E Vineyard Avenue, Suite 201                JTL Enterprises Inc.,          D
             Chopra                            Livermore, CA 94550                             dba HydroMassage                E/F
                                                                                                                              G       2.38




    2.35     Sanjiv Kumar                      101 E Vineyard Avenue, Suite 201                JTL Enterprises Inc.,          D
             Chopra                            Livermore, CA 94550                             dba HydroMassage                E/F
                                                                                                                              G       2.39




    2.36     Sanjiv Kumar                      101 E Vineyard Avenue, Suite 201                Axis Capital Inc.              D
             Chopra                            Livermore, CA 94550                                                             E/F
                                                                                                                              G       2.4




    2.37     Sanjiv Kumar                      101 E Vineyard Avenue, Suite 201                Axis Capital Inc.              D
             Chopra                            Livermore, CA 94550                                                             E/F
                                                                                                                              G       2.5




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 Debtor       Pleasanton Fitness, LLC                                                     Case number (if known)   19-41949


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.38     Sanjiv Kumar                      101 E Vineyard Avenue, Suite 201                Axis Capital Inc.              D
             Chopra                            Livermore, CA 94550                                                             E/F
                                                                                                                              G       2.81




    2.39     Sanjiv Kumar                      101 E Vineyard Avenue, Suite 201                Axis Capital Inc.              D
             Chopra                            Livermore, CA 94550                                                             E/F
                                                                                                                              G       2.6




    2.40     Sanjiv Kumar                      101 E Vineyard Avenue, Suite 201                Axis Capital Inc.              D
             Chopra                            Livermore, CA 94550                                                             E/F
                                                                                                                              G       2.7




    2.41     Sanjiv Kumar                      101 E Vineyard Avenue, Suite 201                Axis Capital Inc.              D
             Chopra                            Livermore, CA 94550                                                             E/F
                                                                                                                              G       2.8




    2.42     Sanjiv Kumar                      101 E Vineyard Avenue, Suite 201                Axis Capital Inc.              D
             Chopra                            Livermore, CA 94550                                                             E/F
                                                                                                                              G       2.9




    2.43     Sanjiv Kumar                      101 E Vineyard Avenue, Suite 201                Life Fitness, division         D
             Chopra                            Livermore, CA 94550                             of Brunswick Corp               E/F
                                                                                                                              G       2.52




    2.44     Sheena N.                         319 Diablo Road, Suite 200                      Macrolease                     D
             Chopra                            Danville, CA 94526                              Corporation                     E/F
                                                                                                                              G       2.55




    2.45     Sheena N.                         319 Diablo Road, Suite 200                      Axis Capital Inc.              D
             Chopra                            Danville, CA 94526                                                              E/F
                                                                                                                              G       2.4




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           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.46     Sheena N.                         319 Diablo Road, Suite 200                      Axis Capital Inc.              D
             Chopra                            Danville, CA 94526                                                              E/F
                                                                                                                              G       2.5




    2.47     Sheena N.                         319 Diablo Road, Suite 200                      Axis Capital Inc.              D
             Chopra                            Danville, CA 94526                                                              E/F
                                                                                                                              G       2.81




    2.48     Sheena N.                         319 Diablo Road, Suite 200                      Axis Capital Inc.              D
             Chopra                            Danville, CA 94526                                                              E/F
                                                                                                                              G       2.6




    2.49     Sheena N.                         319 Diablo Road, Suite 200                      Axis Capital Inc.              D
             Chopra                            Danville, CA 94526                                                              E/F
                                                                                                                              G       2.7




    2.50     Sheena N.                         319 Diablo Road, Suite 200                      Axis Capital Inc.              D
             Chopra                            Danville, CA 94526                                                              E/F
                                                                                                                              G       2.8




    2.51     Sheena N.                         319 Diablo Road, Suite 200                      Axis Capital Inc.              D
             Chopra                            Danville, CA 94526                                                              E/F
                                                                                                                              G       2.9




    2.52     Sheena N.                         319 Diablo Road, Suite 200                      Life Fitness, division         D
             Chopra                            Danville, CA 94526                              of Brunswick Corp               E/F
                                                                                                                              G       2.52




    2.53     Zeus Fitness LLC                                                                  Axis Capital Inc.              D
                                                                                                                               E/F
                                                                                                                              G       2.4




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           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.54     Zeus Fitness LLC                                                                  Axis Capital Inc.              D
                                                                                                                               E/F
                                                                                                                              G       2.5




    2.55     Zeus Fitness LLC                                                                  Axis Capital Inc.              D
                                                                                                                               E/F
                                                                                                                              G       2.81




    2.56     Zeus Fitness LLC                                                                  Axis Capital Inc.              D
                                                                                                                               E/F
                                                                                                                              G       2.6




    2.57     Zeus Fitness,                                                                     Macrolease                     D
             LLC                               Inactive                                        Corporation                     E/F
                                                                                                                              G       2.55




    2.58     Zeus Fitness,                                                                     Axis Capital Inc.              D
             LLC                                                                                                               E/F
                                                                                                                              G       2.7




    2.59     Zeus Fitness,                                                                     Axis Capital Inc.              D
             LLC                                                                                                               E/F
                                                                                                                              G       2.8




    2.60     Zeus Fitness,                                                                     Axis Capital Inc.              D
             LLC                                                                                                               E/F
                                                                                                                              G       2.9




    2.61     Zeus Fitness,                                                                     Life Fitness, division         D
             LLC                                                                               of Brunswick Corp               E/F
                                                                                                                              G       2.52




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 Fill in this information to identify the case:

 Debtor name         Pleasanton Fitness, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)         19-41949
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 19, 2019                      X /s/ Sanjiv Kumar Chopra
                                                                       Signature of individual signing on behalf of debtor

                                                                       Sanjiv Kumar Chopra
                                                                       Printed name

                                                                       Chief Executive Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name         Pleasanton Fitness, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)         19-41949
                                                                                                                                    Check if this is an
                                                                                                                                       amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                      Gross revenue
       which may be a calendar year                                                            Check all that apply                    (before deductions and
                                                                                                                                       exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                        $17,917,919.90
       From 1/01/2019 to Filing Date                                                                        Health Club Dues,
                                                                                                            Royalties, Profit
                                                                                                            Share Income, Rental
                                                                                                Other      Income


       For prior year:                                                                          Operating a business                        $35,192,450.76
       From 1/01/2018 to 12/31/2018                                                                         Health Club Dues,
                                                                                                            Royalties, Profit
                                                                                                            Share Income, Rental
                                                                                                Other      Income


       For year before that:                                                                    Operating a business                        $43,096,905.01
       From 1/01/2017 to 12/31/2017                                                                         Health Club Dues,
                                                                                                            Royalties, Profit
                                                                                                            Share Income, Rental
                                                                                                Other      Income

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue       Gross revenue from
                                                                                                                                       each source
                                                                                                                                       (before deductions and
                                                                                                                                       exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)


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 Debtor       Pleasanton Fitness, LLC                                                                   Case number (if known) 19-41949




       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               1570 Hamilton Avenue Associates                             Various                         $110,730.00          Secured debt
               c/o Les Yeffa 1885 The Alameda                              dates                                                Unsecured loan repayments
               Suite 100E                                                  between 6/19                                         Suppliers or vendors
               San Jose, CA 95126                                          - 8/19                                               Services
                                                                                                                                Other

       3.2.
               ADP LLC                                                     Various                         $942,772.26          Secured debt
               1851 N Resler Drive MS-100                                  dates                                                Unsecured loan repayments
               El Paso, TX 79912                                           between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.3.
               ARCO Business Solutions                                     Various                            $8,950.19         Secured debt
               1001 Service Road East                                      dates                                                Unsecured loan repayments
               Hwy 190, Suite 200                                          between 6/19                                         Suppliers or vendors
               Covington, LA 70433                                         - 8/19                                               Services
                                                                                                                                Other

       3.4.
               Axis Capital Inc.                                           Various                          $21,042.81          Secured debt
               308 North Locust Street                                     dates                                                Unsecured loan repayments
               Grand Island, NE 68801                                      between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.5.
               Bei Scott Company                                           Various                          $55,365.36          Secured debt
               Attn: Norman Bei, Managing Member                           dates                                                Unsecured loan repayments
               410 May Avenue, Suite 1                                     between 6/19                                         Suppliers or vendors
               Santa Cruz, CA 95060                                        - 8/19                                               Services
                                                                                                                                Other

       3.6.
               Bridge Bank                                                 Various                          $46,638.08          Secured debt
               55 Almadden Blvd., Ste. 100                                 dates                                                Unsecured loan repayments
               San Jose, CA 95113                                          between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.7.
               California Choice                                           Various                          $40,593.18          Secured debt
               PO Box 7088                                                 dates                                                Unsecured loan repayments
               Orange, CA 92863-7088                                       between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.8.
               Capital Valley Investors                                    Various                          $37,848.76          Secured debt
               Attn: Doug Bayless                                          dates                                                Unsecured loan repayments
               2410 Fair Oaks Blvd, Suite 110                              between 6/19                                         Suppliers or vendors
               Sacramento, CA 95825                                        - 8/19                                               Services
                                                                                                                                Other


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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.9.
               Championship Judo LLC                                       Various                          $18,791.75          Secured debt
               Chuck Jefferson Judo                                        dates                                                Unsecured loan repayments
               433 West Rincon Ave #M                                      between 6/19                                         Suppliers or vendors
               Campbell, CA 95008                                          - 8/19                                               Services
                                                                                                                                Other

       3.10
       .    Choice Builder                                                 Various                            $7,297.61         Secured debt
               PO Box 7405                                                 dates                                                Unsecured loan repayments
               Orange, CA 92863-7405                                       between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.11
       .    Comcast                                                        Various                          $31,589.09          Secured debt
               PO BOX 37601                                                dates                                                Unsecured loan repayments
               Philadelphia, PA 19101-0601                                 between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.12
       .    Comcast BVE Master #7716                                       Various                            $7,359.74         Secured debt
               PO Box 37601                                                dates                                                Unsecured loan repayments
               Philadelphia, PA 19101-0601                                 between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.13
       .    Corinthian Event Center LLC                                    Various                         $180,500.00          Secured debt
               PO Box 224                                                  dates                                                Unsecured loan repayments
               Clayton, CA 94517                                           between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.14
       .    Crosspoint Realty Services, Inc (Rent)                         Various                          $14,690.00          Secured debt
               P.O BOX 7365                                                dates                                                Unsecured loan repayments
               San Francisco, CA 94120-7365                                between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.15
       .    DirecTv                                                        Various                          $12,168.00          Secured debt
               PO Box 60036                                                dates                                                Unsecured loan repayments
               Los Angeles, CA 90060-0036                                  between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.16
       .    DLA Piper                                                      Various                          $67,500.00          Secured debt
               P.O Box 75190                                               dates                                                Unsecured loan repayments
               Baltimore, MD 21275                                         between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.17
       .    Eilat Management Company                                       Various                          $38,237.40          Secured debt
               650 S Orcas Street                                          dates                                                Unsecured loan repayments
               Ste. 210                                                    between 6/19                                         Suppliers or vendors
               Seattle, WA 98108                                           - 8/19                                               Services
                                                                                                                                Other

       3.18
       .    Ernie Reyes West Coast Martial Arts                            Various                            $6,875.80         Secured debt
               5331 Ridgeview Circle                                       dates                                                Unsecured loan repayments
               Stockton, CA 95219                                          between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.19
       .    Ethan Conrad Properties, Inc.                                  Various                          $99,548.57          Secured debt
               1300 National Dr.                                           dates                                                Unsecured loan repayments
               Ste 100                                                     between 6/19                                         Suppliers or vendors
               Sacramento, CA 95834                                        - 8/19                                               Services
                                                                                                                                Other

       3.20
       .    Farias Jett                                                    Various                          $50,500.00          Secured debt
               659 W Wodbury Road                                          dates                                                Unsecured loan repayments
               Altadena, CA 91001                                          between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.21
       .    Final Cut Media                                                Various                          $24,000.00          Secured debt
               1720 G Street                                               dates                                                Unsecured loan repayments
               Modesto, CA 95354                                           between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.22
       .    First Insurance                                                Various                            $7,049.32         Secured debt
               P.O. Box 7000                                               dates                                                Unsecured loan repayments
               Carol Stream, IL 60197                                      between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.23
       .    First View                                                     Various                         $110,214.69          Secured debt
               301 Commerce Street, Ste. 1400                              dates                                                Unsecured loan repayments
               Fort Worth, TX 76102                                        between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.24
       .    Geneva Capital                                                 Various                          $36,313.83          Secured debt
               522 Broadway Street                                         dates                                                Unsecured loan repayments
               Suite 4                                                     between 6/19                                         Suppliers or vendors
               Alexandria, MN 56308                                        - 8/19                                               Services
                                                                                                                                Other




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 Debtor      Pleasanton Fitness, LLC                                                                    Case number (if known) 19-41949



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.25
       .    Hanover Insurance Group                                        Various                          $80,799.41          Secured debt
               PO Box 580045                                               dates                                                Unsecured loan repayments
               Charlotte, NC 28258                                         between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.26
       .    Herndon Village Center, LLC                                    Various                         $106,603.14          Secured debt
               c/o Dana Butcher Assoc                                      dates                                                Unsecured loan repayments
               1690 W Shaw Ave, Ste. 200                                   between 6/19                                         Suppliers or vendors
               Fresno, CA 93720                                            - 8/19                                               Services
                                                                                                                                Other

       3.27
       .    Hillyard Janitorial Supply                                     Various                          $39,143.33          Secured debt
               PO Box 801400                                               dates                                                Unsecured loan repayments
               Kansas City, MO 64180-1401                                  between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.28
       .    Hitachi Capital America Corp                                   Various                         $170,025.90          Secured debt
               7808 Creekridge Circle                                      dates                                                Unsecured loan repayments
               Ste 250                                                     between 6/19                                         Suppliers or vendors
               Minneapolis, MN 55439                                       - 8/19                                               Services
                                                                                                                                Other

       3.29
       .    ICW Group                                                      Various                          $75,027.48          Secured debt
               PO Box 509039                                               dates                                                Unsecured loan repayments
               San Diego, CA 92150-9039                                    between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.30
       .    Joseph & Christine Gigantino                                   Various                          $71,983.10          Secured debt
               c/o Joe Gigantino                                           dates                                                Unsecured loan repayments
               1477 Dry Creek Road                                         between 6/19                                         Suppliers or vendors
               San Jose, CA 95125                                          - 8/19                                               Services
                                                                                                                                Other

       3.31
       .    JTL Enterprises                                                Various                          $40,210.92          Secured debt
                                                                           dates                                                Unsecured loan repayments
                                                                           between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.32
       .    Ken Moland                                                     Various                          $38,535.00          Secured debt
               PO Box 30340                                                dates                                                Unsecured loan repayments
               Spokane, WA 99223                                           between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.33
       .    Law Offices of David S. Pearson Trust                          Various                          $11,600.00          Secured debt
               48 Kingston Place                                           dates                                                Unsecured loan repayments
               Walnut Creek, CA 94597                                      between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.34
       .    Macrolease                                                     Various                         $168,087.54          Secured debt
               185 Express Street                                          dates                                                Unsecured loan repayments
               Suite 100                                                   between 6/19                                         Suppliers or vendors
               Plainview, NY 11803                                         - 8/19                                               Services
                                                                                                                                Other

       3.35
       .    Manteca Lifestyle Center                                       Various                          $70,587.78          Secured debt
               PO Box 975500                                               dates                                                Unsecured loan repayments
               Dallas, TX 75397-5500                                       between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.36
       .    Masellis LLC                                                   Various                          $95,765.50          Secured debt
               119 Albers Road                                             dates                                                Unsecured loan repayments
               Modesto, CA 95357                                           between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.37
       .    Michael & Jennifer LaBarbara                                   Various                          $58,323.34          Secured debt
               Revocable Trust                                             dates                                                Unsecured loan repayments
               c/o Terracommercial Real Estate                             between 6/19                                         Suppliers or vendors
               873 Blossom Hill Road                                       - 8/19                                               Services
               San Jose, CA 95123
                                                                                                                                Other

       3.38
       .    MID - Dale Rd                                                  Various                          $10,833.04          Secured debt
               PO BOX 5355                                                 dates                                                Unsecured loan repayments
               Modesto, CA 95352-5355                                      between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.39
       .    MID - McHenry/Mod East                                         Various                          $11,616.44          Secured debt
               P.O. Box 398018                                             dates                                                Unsecured loan repayments
               San Francisco, CA 94139-8018                                between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.40
       .    Mid Cal Moving & Storage Company                               Various                          $13,980.00          Secured debt
               607 N Carlton Ave                                           dates                                                Unsecured loan repayments
               Suite B                                                     between 6/19                                         Suppliers or vendors
               Stockton, CA 95203                                          - 8/19                                               Services
                                                                                                                                Other




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.41
       .    Moon & Yang Attorney-Client Trust                              Various                          $14,375.00          Secured debt
               Acct                                                        dates                                                Unsecured loan repayments
               Attn: Diba Rastegar                                         between 6/19                                         Suppliers or vendors
               633 West Fifth Street, 52nd Flr.                            - 8/19                                               Services
               Los Angeles, CA 90071
                                                                                                                                Other

       3.42
       .    Moore's Martial Arts                                           Various                            $9,934.24         Secured debt
               418 Zinnia Ct                                               dates                                                Unsecured loan repayments
               Merced, CA 95341                                            between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.43
       .    Netpulse                                                       Various                          $14,006.00          Secured debt
               560 Fletcher Drive                                          dates                                                Unsecured loan repayments
               Atherton, CA 94027                                          between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.44
       .    Nomoto Investments                                             Various                          $36,430.00          Secured debt
               PO BOX 3007                                                 dates                                                Unsecured loan repayments
               Beverly Hills, CA 90212                                     between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.45
       .    Pacific Gas and Electric #2384-2                               Various                          $82,503.15          Secured debt
               PO Box 997300                                               dates                                                Unsecured loan repayments
               Sacramento, CA 95899-7300                                   between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.46
       .    Pacific Gas and Electric #7144-3                               Various                         $258,274.20          Secured debt
               PO Box 997300                                               dates                                                Unsecured loan repayments
               Sacramento, CA 95899-7300                                   between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.47
       .    Pacific Martial Arts                                           Various                          $79,360.12          Secured debt
               2922 Moody Ave                                              dates                                                Unsecured loan repayments
               Clovis, CA 93619                                            between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.48
       .    Plaza Rubino, LLC                                              Various                          $21,628.42          Secured debt
               4670 Willow Road                                            dates                                                Unsecured loan repayments
               Suite 200                                                   between 6/19                                         Suppliers or vendors
               Pleasanton, CA 94588                                        - 8/19                                               Services
                                                                                                                                Other




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.49
       .    Sand Creek Crossing LLC                                        Various                          $25,011.50          Secured debt
               PO Box 844578                                               dates                                                Unsecured loan repayments
               Los Angeles, CA 90084-4578                                  between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.50
       .    Santa Rita GRF2, LLC                                           Various                          $45,310.49          Secured debt
               973 Lomas Santa Fe Drive                                    dates                                                Unsecured loan repayments
               Solana Beach, CA 92075                                      between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.51
       .    Smith Family Trust                                             Various                          $50,000.00          Secured debt
               16851 Weddington St                                         dates                                                Unsecured loan repayments
               Encino, CA 91436                                            between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.52
       .    SMUD                                                           Various                          $25,655.67          Secured debt
               PO Box 15555                                                dates                                                Unsecured loan repayments
               Sacramento, CA 95852                                        between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.53
       .    Southern CA Edison                                             Various                            $7,240.31         Secured debt
               P.O. BOX 300                                                dates                                                Unsecured loan repayments
               Rosemead, CA 91772-0001                                     between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.54
       .    Stanislaus County Tax Collector                                Various                          $22,461.51          Secured debt
               PO Box 1003                                                 dates                                                Unsecured loan repayments
               Modesto, CA 95354                                           between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.55
       .    Store Master Funding VII, LLC                                  Various                          $38,813.00          Secured debt
               8501 S. Princess Drive Suite 190                            dates                                                Unsecured loan repayments
               Scottsdale, AZ 85255                                        between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.56
       .    Strongwall, LLC                                                Various                          $40,000.00          Secured debt
               911 Evergreen Avenue                                        dates                                                Unsecured loan repayments
               Lathrop, CA 95330                                           between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.57
       .    TCF Equipment Finance                                          Various                         $247,528.43          Secured debt
               11100 Wayzata Blvd., #801                                   dates                                                Unsecured loan repayments
               Hopkins, MN 55305                                           between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.58
       .    Technique Software/Club OS                                     Various                          $23,006.51          Secured debt
               1735 Market St                                              dates                                                Unsecured loan repayments
               Ste A477                                                    between 6/19                                         Suppliers or vendors
               Philadelphia, PA 19103                                      - 8/19                                               Services
                                                                                                                                Other

       3.59
       .    Tracy Mall Partners, L.P.                                      Various                         $128,751.12          Secured debt
               SDS-12-1385                                                 dates                                                Unsecured loan repayments
               PO Box 868                                                  between 6/19                                         Suppliers or vendors
               Minneapolis, MN 55486                                       - 8/19                                               Services
                                                                                                                                Other

       3.60
       .    United Leasing, Inc.                                           Various                         $140,551.48          Secured debt
               3700 Morgan Avenue                                          dates                                                Unsecured loan repayments
               Evansville, IN 47715                                        between 6/19                                         Suppliers or vendors
                                                                           - 8/19                                               Services
                                                                                                                                Other

       3.61
       .    Vantage Point Law                                              Various                         $113,413.77          Secured debt
               319 Diablo Road                                             dates                                                Unsecured loan repayments
               Suite 200                                                   between 6/19                                         Suppliers or vendors
               Danville, CA 94526                                          - 8/19                                               Services
                                                                                                                                Other

       3.62
       .    Weintraub Tobin                                                Various                          $18,899.00          Secured debt
               400 Capitol Mall                                            dates                                                Unsecured loan repayments
               11th Flr.                                                   between 6/19                                         Suppliers or vendors
               Sacramento, CA 95814                                        - 8/19                                               Services
                                                                                                                                Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.1.    See Question 30                                                                                     $0.00


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.


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       None
       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken
       B&F Snider Enterprises                                   Bank Levy                                                      6/10/2019                  $35,172.67
       c/o Brekke Real Estate                                   Last 4 digits of account number:     1842
       1500 Standiford Ave., Bldg. D
       Modesto, CA 95355

       Stanislaus County Tax Collector                          Bank Levy                                                      8/20/2019                  $22,461.51
       PO Box 1003                                              Last 4 digits of account number:     1842
       Modesto, CA 95353


 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    Sylvia Rodriguez v. Fitness                      Class Action,              Contra Costa County                            Pending
               Evolution, Inc., OM Fitness,                     plaintiffs allege:         Superior Court                              On appeal
               LLC, Pleasanton Fitness, LLC                     unlawful failure to        725 Court Street
                                                                                                                                       Concluded
               CIVMSC17-00376                                   pay wages, failure         Martinez, CA 94553
                                                                to provide meal
                                                                and rest period,
                                                                failure to
                                                                reimburse for
                                                                business-related
                                                                expenses, failure
                                                                to provide
                                                                intemized wage
                                                                statements, failure
                                                                to pay all wage
                                                                upon termination,
                                                                failure to pay min.
                                                                wage, unfair
                                                                business practice.

       7.2.    312 Sunrise LLC v.                               Unlawful Detainer          Placer County Superior                         Pending
               Pleasanton Fitness, LLC et al.                                              Court                                       On appeal
               SCV-0041900                                                                 10820 Justice Center Dr.
                                                                                                                                       Concluded
                                                                                           Roseville, CA 95678

       7.3.    Azarnia, LLC v. OM Fitness,                      Breach of                  Sacramento County                              Pending
               LLC et al.                                       Contract/Warranty          Superior Court                              On appeal
               34-2018-00241958-CU-BC-GD                                                   720 Ninth St.
                                                                                                                                       Concluded
               S                                                                           Sacramento, CA 95814


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               Case title                                       Nature of case             Court or agency's name and          Status of case
               Case number                                                                 address
       7.4.    Zachariah Archuleta v.                           Wrongful                   Fresno County Superior                 Pending
               Pleasanton Fitness, LLC et al.                   Termination /              Court                                On appeal
               18-CECG-03279                                    Damages                    1330 "O" St.
                                                                                                                                Concluded
                                                                                           Fresno, CA 93721

       7.5.    Nathan Bartlett v. Fitness                       Class Action /             Fresno County Superior               Pending
               Evolution et al.                                 Breach of                  Court                                On appeal
               17-CECG-01801                                    Contract                   1130 "O" St.                           Concluded
                                                                                           Fresno, CA 93721

       7.6.    B&F Snider Enterprises L.P.A                     Unlawful Detainer          Stanislaus County Superior             Pending
               Partnership v. Pleasanton                                                   Court                                On appeal
               Fitness et al.                                                              300 Starr Ave.
                                                                                                                                Concluded
               UD-19-000186                                                                Turlock, CA 95380

       7.7.    Buxton Company v.                                Sister State               Alameda County Superior                Pending
               Pleasanton Fitness et al                         Judgment                   Court                                On appeal
               RF-19018134                                                                 1225 Fallon St.
                                                                                                                                Concluded
                                                                                           Oakland, CA 94612

       7.8.    Corinthian Event Center, LLC                     Breach of                  Santa Clara County                   Pending
               v. Pleasanton Fitness                            Contract, Stip.            Superior Court                       On appeal
               18-CV-328651                                     Judgment                   191 North First St.                    Concluded
                                                                                           San Jose, CA 95113

       7.9.    Coverall North America, INC./                    Breach of                  Alameda County Superior                Pending
               Melton Franchise Systems                         Contract                   Court                                On appeal
               Inc. v. Pleasanton Fitness et                                               1225 Fallon St.
                                                                                                                                Concluded
               al.                                                                         Oakland, CA 94612
               HG18901509

       7.10 Fahrens Park Plaza, LLC v.                          Unlawful Detainer          Merced County Superior                 Pending
       .    Pleasanton Fitness et al.                                                      Court                                On appeal
               19CV-02593                                                                  627 W. 21st St.
                                                                                                                                Concluded
                                                                                           Merced, CA 95340

       7.11 Folsom Zinfandel Partners,                          Breach of                  Sacramento County                      Pending
       .    LLC v. Pleasanton Fitness et                        Contract                   Superior Court                       On appeal
               al.                                                                         720 Ninth St.
                                                                                                                                Concluded
               34-2018-00244607                                                            Sacramento, CA 95814

       7.12 Geil Enterprises Inc dba                            Breach of                  Fresno County Superior                 Pending
       .    Janitorial, Inc. v. Pleasanton                      Contract                   Court                                On appeal
               Fitness et al.                                                              1130 "O" St.
                                                                                                                                Concluded
               18CECG03476                                                                 Fresno, CA 93721

       7.13 Global Capital Management                           Unlawful Detainer          Solano County Superior                 Pending
       .    (UD) v. Pleasanton Fitness et                                                  Court                                On appeal
               al.                                                                         580 Texas St.
                                                                                                                                Concluded
               FCS052933                                                                   Fairfield, CA 94533

       7.14 Gong's Market of Sanger, Inc.                       Breach of                  Fresno County Superior                 Pending
       .    v. Pleasanton Fitness                               Contract                   Court                                On appeal
               19CECG01926                                                                 1330 "O" St.
                                                                                                                                Concluded
                                                                                           Fresno, CA 93721




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               Case title                                       Nature of case             Court or agency's name and          Status of case
               Case number                                                                 address
       7.15 iHeart Media + Entertainment,                       Breach of                  Los Angeles County                     Pending
       .    Inc. v. Pleasanton Fitness                          Contract                   Superior Court                       On appeal
               19STCV12715                                                                 Central Dist., Stanley Mosk
                                                                                                                                Concluded
                                                                                           Courthouse
                                                                                           111 N Hill St
                                                                                           Los Angeles, CA 90012

       7.16 JB Mechanical v. Pleasanton                         Breach of                  Alameda County Superior                Pending
       .    Fitness                                             Contract                   Court                                On appeal
               RG18897609                                                                  725 Fallon St.
                                                                                                                                Concluded
                                                                                           Oakland, CA 94612

       7.17 Lily Moon v. Pleasanton                             Discrimination,            Alameda County Superior                Pending
       .    Fitness, a California limited                       harrasment,                Court                                On appeal
               liability company, Jonathon                      hostile                    1225 Fallon St.
                                                                                                                                Concluded
               C. "JC" Harden                                   enviornment,               Oakland, CA 94612
               RG19018881                                       discharge, breach
                                                                of implied
                                                                covenant of good
                                                                faith and fair
                                                                dealing.


                                                                (6) BREACH OF
                                                                THE IMPLIED
                                                                COVENANT
                                                                OF GOOD FAITH
                                                                AND
                                                                FAIR DEALING;

       7.18 Ortloff, Sheila L. Trustee of                       Breach of                  Stanislaus County Superior             Pending
       .    Ortloff Family Trust v.                             Contract                   Court                                On appeal
               Pleasanton Fitness et al.                                                   800 11th St.
                                                                                                                                Concluded
               CV-19-002743                                                                Modesto, CA 95354

       7.19 Store Master Funding VII v.                         Breach of                  Monterey County Superior               Pending
       .    Pleasanton Fitness et al.                           Contract                   Court                                On appeal
               19-CV-001766                                                                240 Church St.
                                                                                                                                Concluded
                                                                                           Salinas, CA 93901

       7.20 Security National Insurance                         Breach of                  Alameda County Superior                Pending
       .    Company of Text v.                                  Contract                   Court                                On appeal
               Pleasanton Fitness et al.                                                   1225 Fallon St.
                                                                                                                                Concluded
               RG19013011                                                                  Oakland, CA 94612

       7.21 Sean Berry v. Pleasanton                            Personal Injury            Fresno County Superior                 Pending
       .    Fitness                                                                        Court                                On appeal
               18CECG03507                                                                 1130 "O" St.
                                                                                                                                Concluded
                                                                                           Fresno, CA 93721

       7.22 Sprint MTA REIT v.                                  Unlawful Detainer          Sacramento County                      Pending
       .    Pleasanton Fitness                                                             Superior Court                       On appeal
               34-2019-00256608-CU-UD-GD                                                   720 Ninth St.
                                                                                                                                Concluded
               S                                                                           Sacramento, CA 95814




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               Case title                                       Nature of case             Court or agency's name and          Status of case
               Case number                                                                 address
       7.23 Tony John Paiva v. Zeus                             Wages                      State of California                    Pending
       .    Fitness LLC, Pleasanton                                                        Dept. of Industrial Relations        On appeal
               Fitness, LLC et al.                                                         Labor Commissioner Office
                                                                                                                                Concluded
               WC-CM-637294                                                                2031 Howe Ave, Ste. 100
                                                                                           Sacramento, CA 95825

       7.24 Watt Town Central Retail                            Breach of                  Sacramento County                      Pending
       .    Partners, LLC v. Pleasanton                         Contract                   Superior Court                       On appeal
               Fitness                                                                     720 Ninth St.
                                                                                                                                Concluded
               34-2019-00258724                                                            Sacramento, CA 95814

       7.25 Pleasanton Fitness v. Global                        Breach of Lease            Superior Crt. of CA. (Solano           Pending
       .    Management Corp.                                    and Covenant to            County)                              On appeal
               FCS 052516                                       Repair;
                                                                                                                                Concluded
                                                                declaratory relief;
                                                                relief based upon
                                                                rescission.

       7.26 Pleasanton Fitness v. Sean                          Unlawful Detainer          Sacramento County                    Pending
       .    Lively, et al.                                                                 Superior Court                       On appeal
               34-2018-00240337                                                            720 Ninth St.                          Concluded
                                                                                           Sacramento, CA 95814

       7.27 Rhonda Kiser v. Pleasanton                          Wrongful                   Alameda County Superior                Pending
       .    Fitness                                             Termination                Court                                On appeal
               RG19013903                                                                  24405 Amador Street
                                                                                                                                Concluded
                                                                                           Hayward, CA 94544

       7.28 Tashelle Tarver v. Pleasanton                       Wrongful                   Sacramento County                      Pending
       .    Fitness                                             Termination                Superior Court                       On appeal
               34-2019-00255792                                                            720 Ninth St.
                                                                                                                                Concluded
                                                                                           Sacramento, CA 95814

       7.29 312 Sunrise LLC v Pleasanton                        Breach of                  Sacramento County                      Pending
       .    Fitness, LLC dba Fitness                            Contract/Warranty          Superior                             On appeal
               Evolution; OM Fitness, LLC;                                                 720 Ninth St.
                                                                                                                                Concluded
               Monterey Fitness, LLC; Zeus                                                 Sacramento, CA 95814
               Fitness, LLC; Sanjiv Chopra
               34-2018-00245584

       7.30 Folsom Zinfandel Partners,                          Breach of                  Sacramento County                      Pending
       .    LLC v Pleasanton Fitness,                           Contract                   Superior Court                       On appeal
               LLC dba Fitness Evolution                                                   720 Ninth St.
                                                                                                                                Concluded
               and dba Fit Republic; Om                                                    Sacramento, CA 95814
               Fitness, LLC
               34-2019-00253688

       7.31 Pleasanton Fitness, Inc., a                                                    Superior Court of CA                   Pending
       .    California limited liability                                                   County of Sacramento                 On appeal
               company v. Sean D. Lively, et                                               720 Ninth Street
                                                                                                                                Concluded
               al.                                                                         Sacramento, CA 95814
               34-2019-00250429

       7.32 312 Sunrise LLC v.                                  Civil action re            Superior Court of CA                   Pending
       .    Pleasanton Fitness LLC et al.                       landlord.                                                       On appeal
               34-2018-00245584
                                                                                                                                Concluded




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               Case title                                       Nature of case             Court or agency's name and          Status of case
               Case number                                                                 address
       7.33 Pleasanton Fitness v. Sean                          Breach of Lease;           Superior Court of                      Pending
       .    Lively, et al.                                      Breach of                  California: Sacramento               On appeal
               34-2019-00250429                                 Guaranty of Lease
                                                                                                                                Concluded

       7.34 Cross-complainant Sean                              Allegations of:            Superior Crt of Ca -                 Pending
       .    Lively, Katie Lively et al v.                       Fraud, Negligent           Sacramento                           On appeal
               Cross-defendants Pleasanton                      Misrepresentation                                               Concluded
               Fitness LLC & Sandie Martin                      , Fraud by
               34-2018-00250429                                 Omission,
                                                                Promissory Fraud,
                                                                Breach of the
                                                                Covenant of Good
                                                                Faith and Fair
                                                                Dealing and
                                                                Violation of the
                                                                UCL

       7.35 Folsom Zinfandel Partners,                          Civl case w/               Sacramento Superior Court              Pending
       .    LLC v. Pleasanton Fitness et                        allegations of             720 Ninth St.                        On appeal
               al.                                              failure to payme           Sacramento, CA 95814
                                                                                                                                Concluded
               34-2019-00253688                                 min. rent,
                                                                common area
                                                                maintenance,
                                                                utilitiy charges etc

       7.36 Hernandon Village Center,                           Unlawful detainer.         Fresno Superior Court                Pending
       .    LLC v. Pleasanton Fitness                                                      1130 O Street                        On appeal
               LLC                                                                         Fresno, CA 93721-2220                  Concluded
               19CECG00407

       7.37 NCJVPT v. Pleasanton                                Breach of K, etc.          Superior Court of CA,                Pending
       .    Fitness LLC et al.                                                             Contra Costa                         On appeal
               MSC14-01680                                                                 725 Court Street                       Concluded
                                                                                           Martinez, CA 94553

       7.38 Terry Hernandez v.                                                             Superior Crt of CA, County           Pending
       .    Pleasanton Fitness                                                             of Santa Cruz                        On appeal
               17CV02844                                                                   701 Ocean Street                       Concluded
                                                                                           Santa Cruz, CA 95060

       7.39 Chavez v. Pleasanton Fitness                                                   Labor Commissoner, State             Pending
       .    CM 215178                                                                      of California                        On appeal
                                                                                                                                  Concluded

       7.40 Ashley Kamm v. Pleasanton                           Matter re wages.           Labor Commionser's Office              Pending
       .    Fitness LLC, AME Fitness,                                                      770 E. Shaw Ave, Ste 222             On appeal
               Fitness Evolution                                                           Fresno, CA 93710
                                                                                                                                Concluded
               WC-CM-597176

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions



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9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                     Description of the gifts or contributions                Dates given                          Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss           Value of property
       how the loss occurred                                                                                                                                  lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates              Total amount or
                the transfer?                                                                                                                              value
                Address
       11.1.    Macdonald Fernandez LLP
                221 Sansome Street, Third                                                                                      ($85,000)
                Floor                                                                                                          8/15/2019;
                San Francisco, CA                                                                                              ($15,000)
                94104-2323                                                                                                     8/26/2019             $100,000.00

                Email or website address
                www.macfern.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                 Dates transfers            Total amount or
                                                                                                                       were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

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               Who received transfer?                           Description of property transferred or                   Date transfer        Total amount or
               Address                                          payments received or debts paid in exchange              was made                      value
       13.1 Schools First
       .                                                        Strength Equipment                                       9/29/2017                  $2,500.00

               Relationship to debtor
               N/A


       13.2 John SanFilippo
       .                                                        Spin Bike                                                10/6/2017                    $500.00

               Relationship to debtor
               Member


       13.3 Unknown
       .                                                        Cardio Equipment                                         1/8/2018                   $2,000.00

               Relationship to debtor
               N/A


       13.4 Fitness 1080, Inc.
       .    2350 Marconi Place, #101
               San Diego, CA 92154                              Concord Equipment                                        4/9/2018                 $34,000.00

               Relationship to debtor
               N/A


       13.5 Fitness 1080, Inc.
       .    2350 Marconi Place, #101
               San Diego, CA 92154                              Florin Equipment                                         10/22/2018                 $8,500.00

               Relationship to debtor
               N/A


       13.6 Fitness 1080, Inc.
       .    2350 Marconi Place, #101
               San Diego, CA 92154                              Natomas Equipment                                        10/22/2018                 $8,500.00

               Relationship to debtor
               N/A


       13.7 Fitness 1080, Inc.
       .    2350 Marconi Place, #101
               San Diego, CA 92154                              Dale Road Equipment                                      11/13/2018                 $8,575.00

               Relationship to debtor
               N/A


       13.8 Fitness 1080, Inc.
       .    2350 Marconi Place, #101
               San Diego, CA 92154                              McHenry Equipment                                        11/13/2018               $11,000.00

               Relationship to debtor
               N/A




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               Who received transfer?                           Description of property transferred or                   Date transfer        Total amount or
               Address                                          payments received or debts paid in exchange              was made                      value
       13.9 Fitness 1080, Inc.
       .    2350 Marconi Place, #101
               San Diego, CA 92154                              Fair Oaks Equipment                                      12/11/2018               $20,000.00

               Relationship to debtor
               N/A


       13.1 Fitness 1080, Inc.
       0.   2350 Marconi Place, #101
               San Diego, CA 92154                              Milpitas Equipment                                       1/2/2019                 $15,000.00

               Relationship to debtor
               N/A


       13.1 Fitness 1080, Inc.
       1.   2350 Marconi Place, #101
               San Diego, CA 92154                              Antioch Equipment                                        1/8/2019                   $6,500.00

               Relationship to debtor
               N/A


       13.1 Fitness 1080, Inc.
       2.   2350 Marconi Place, #101
               San Diego, CA 92154                              Tahoe Equipment                                          1/25/2019                  $4,500.00

               Relationship to debtor
               N/A


       13.1 Fitness 1080, Inc.
       3.   2350 Marconi Place, #101
               San Diego, CA 92154                              Storage Equiment                                         1/31/2019                  $4,800.00

               Relationship to debtor
               N/A


       13.1 Fitness 1080, Inc.
       4.   2350 Marconi Place, #101
               San Diego, CA 92154                              Figarden Equipment                                       1/31/2019                  $4,800.00

               Relationship to debtor
               N/A


       13.1 Fitness 1080, Inc.
       5.   2350 Marconi Place, #101
               San Diego, CA 92154                              Madera Cleveland Equipment                               4/3/2019                   $4,500.00

               Relationship to debtor
               N/A


       13.1 Fitness 1080, Inc.
       6.   2350 Marconi Place, #101
               San Diego, CA 92154                              Sanger Equipment                                         4/3/2019                 $25,000.00

               Relationship to debtor
               N/A



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               Who received transfer?                           Description of property transferred or                   Date transfer        Total amount or
               Address                                          payments received or debts paid in exchange              was made                      value
       13.1 Fitness 1080, Inc.
       7.   2350 Marconi Place, #101
               San Diego, CA 92154                              Downtown San Jose Equipment                              4/17/2019                $39,500.00

               Relationship to debtor
               N/A


       13.1 Fitness 1080, Inc.
       8.   2350 Marconi Place, #101
               San Diego, CA 92154                              Florin Equipment                                         5/30/2019                $46,500.00

               Relationship to debtor
               N/A


       13.1 Fitness 1080, Inc.
       9.   2350 Marconi Place, #101
               San Diego, CA 92154                              Merced Equipment                                         6/10/2019                $26,000.00

               Relationship to debtor
               N/A


       13.2 Fitness 1080, Inc.
       0.   2350 Marconi Place, #101
               San Diego, CA 92154                              Blackstone Equipment                                     6/26/2019                $35,000.00

               Relationship to debtor
               N/A


       13.2 Fitness 1080, Inc.
       1.   2350 Marconi Place, #101
               San Diego, CA 92154                              Stockton Hammer Equipment                                7/5/2019                 $35,000.00

               Relationship to debtor
               N/A


       13.2 Fitness 1080, Inc.
       2.   2350 Marconi Place, #101
               San Diego, CA 92154                              Merced Equipment                                         7/8/2019                 $35,000.00

               Relationship to debtor
               N/A


       13.2 Fitness 1080, Inc.
       3.   2350 Marconi Place, #101
               San Diego, CA 92154                              Storage Equiment                                         8/12/2019                $10,000.00

               Relationship to debtor
               N/A


       13.2 Kendorline LLC
       4.   1723 Silver Ridge Drive
               Oakdale, CA 95361                                Oakdale Hoist                                            1/28/2019                  $1,000.00

               Relationship to debtor
               Purchaser of Clubs



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               Who received transfer?                           Description of property transferred or                   Date transfer        Total amount or
               Address                                          payments received or debts paid in exchange              was made                      value
       13.2 Kendorline LLC
       5.   1723 Silver Ridge Drive
               Oakdale, CA 95361                                Oakdale Hoist                                            6/26/2019                  $1,000.00

               Relationship to debtor
               Purchaser of Clubs


       13.2 Kendorline LLC
       6.   1723 Silver Ridge Drive
               Oakdale, CA 95361                                Oakdale Hoist                                            5/28/2019                  $1,000.00

               Relationship to debtor
               Purchaser of Clubs


       13.2 Kendorline LLC
       7.   1723 Silver Ridge Drive
               Oakdale, CA 95361                                Oakdale Hoist                                            4/23/2019                  $1,000.00

               Relationship to debtor
               Purchaser of Clubs


       13.2 Kendorline LLC
       8.   1723 Silver Ridge Drive
               Oakdale, CA 95361                                Oakdale Hoist                                            3/28/2019                  $1,000.00

               Relationship to debtor
               Purchaser of Clubs


       13.2 Kendorline LLC
       9.   1723 Silver Ridge Drive
               Oakdale, CA 95361                                Oakdale Hoist                                            2/28/2019                  $1,000.00

               Relationship to debtor
               Purchaser of Clubs


       13.3 Sargon Bahrami
       0.   1390 Harvest Drive
               Turlock, CA 95382                                Storage Equipment                                        2/28/2019                    $700.00

               Relationship to debtor
               Member


       13.3 M&S Health LLC
       1.   643 Arcadia Drive
               Hayward, CA 94541                                Santa Maria Equipment                                    5/28/2019                $50,000.00

               Relationship to debtor
               N/A


       13.3 M&S Health LLC
       2.   643 Arcadia Drive                                                                                            8/8/19, 8/20/19,
               Hayward, CA 94541                                Antioch/Carmichael/Monterey Equipment                    8/23/19                $275,000.00

               Relationship to debtor
               N/A



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               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value
       13.3 Christopher O'Sullivan
       3.                                                       Tanning Bed                                              5/4/2018                       $1,500.00

               Relationship to debtor
               N/A


       13.3 Quick Start
       4.                                                       Tanning Bed                                              6/5/2018                         $500.00

               Relationship to debtor
               N/A


       13.3 Michael Hurst
       5.                                                       Tanning Bed                                              6/5/2018                         $500.00

               Relationship to debtor
               Member


 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
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    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was            Last balance
                Address                                         account number            instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
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       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.                                                     Health Club Chain                                EIN:
             Pleasanton Fitness LLC                                                                                         XX-XXXXXXX
             101 E Vineyard Avenue, Suite
             201                                                                                               From-To      11/22/2010
             Livermore, CA 94550


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Farias Jett & Co.                                                                                                          October 2018
                    659 W Woodbury Rd.
                    Altadena, CA 91001
       26a.2.       Lisa Vega                                                                                                                  June 2018 -
                    1722 Dolphin Place                                                                                                         November 2018
                    Discovery Bay, CA 94505
       26a.3.       Rebecca Wall                                                                                                               October 2017 -
                    1903 Fairway Oaks Drive                                                                                                    October 2018
                    Ripon, CA 95366
       26a.4.       Jessica LaLuzerne                                                                                                          March 2017 -
                    4234 W Las Positas Blvd.                                                                                                   September 2017
                    Pleasanton, CA 94588

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Moland Associates PS                                                                                                       November 2018
                    104 S Freya St., Ste. 125
                    Spokane, WA 99202




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       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.2.       Sensiba San Filippo                                                                                                   July 2016 -
                    P.O. Box 11897                                                                                                        September 2018
                    Pleasanton, CA 94588
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.3.       Farias Jett & Co.                                                                                                     October 2018
                    659 W Woodbury Rd.
                    Altadena, CA 91001

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Farias Jett & Co.
                    659 W Woodbury Rd.
                    Altadena, CA 91001
       26c.2.       Lisa Vega
                    1722 Dolphin Place
                    Discovery Bay, CA 94505
       26c.3.       Rebecca Wall
                    1903 Fairway Oaks Drive
                    Ripon, CA 95366
       26c.4.       Jessica LaLuzerne
                    4234 W Las Positas Blvd.
                    Pleasanton, CA 94588

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address
       26d.1.  Bridgebank
                    1951 Webster Street
                    Oakland, CA 94612
       26d.2.       United Leasing, Inc.
                    3700 Morgan Avenue
                    Evansville, IN 47715
       26d.3.       Hitachi Capital America Corp
                    7808 Creekridge Circle, Ste 250
                    Edina, MN 55439
       26d.4.       Macrolease Corporation
                    185 Express Street, Suite 100
                    Plainview, NY 11803
       26d.5.       STORE Capital
                    8377 E Hartford Drive, Suite 100
                    Scottsdale, AZ 85255

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?



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           No
       Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Sanjiv Kumar Chopra                            101 E Vineyard Avenue, Suite 201                    Chief Executive Officer               50%
                                                      Livermore, CA 94550

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jon Wall                                       101 E Vineyard Avenue, Suite 201                    Chief Operations Officer              0%
                                                      Livermore, CA 94550

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Sheena N. Chopra                               319 Diablo Road, Suite 200                          Vice President                        50%
                                                      Danville, CA 94526



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
       Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value
       30.1 Sanjiv Kumar Chopra
       .    101 E Vineyard Avenue, Suite
               201
               Livermore, CA 94550                              Gross: $300,094.46; Net: $208,467.51                     Various            Salary

               Relationship to debtor
               Chief Executive Officer


       30.2 Sheena N. Chopra
       .    319 Diablo Road, Suite 200
               Danville, CA 94526                               Gross: $60,000.00 ; Net: $41,896.51                      Various            Salary

               Relationship to debtor
               Vice President




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               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.3 Jon Wall
       .    101 E Vineyard Avenue, Suite
               201
               Livermore, CA 94550                              Gross: $199,999.92 ; Net: $147,144.17                    Various           Salary

               Relationship to debtor
               Chief Operations Officer


       30.4 Rebecca Wall
       .    1903 Fairway Oaks Drive
               Ripon, CA 95366                                  Gross: $51,843.45 ; Net: $56,394.04                      Various           Salary

               Relationship to debtor
               Senior Vice President,
               Operations, Fit Republic


       30.5                                                                                                              1/14/19
       .                                                                                                                 ($9,600.00);
                                                                                                                         2/4/19            Reimbursement
               Rebecca Wall                                                                                              ($35,030.00);     for Arbitration
               1903 Fairway Oaks Drive                                                                                   4/4/19            Charge Paid;
               Ripon, CA 95366                                  $74,660 (as described below)                             ($30,030.00)      Loan Repayments

               Relationship to debtor
               Senior Vice President,
               Operations, Fit Republic


       30.6 OM Fitness LLC
       .    101 E Vineyard Ave., Suite
               201                                                                                                       10/25/2018;
               Livermore, CA 94550                              $10,000.00; $200.00                                      9/5/18

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         September 19, 2019

 /s/ Sanjiv Kumar Chopra                                                Sanjiv Kumar Chopra
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Chief Executive Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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